             Case 23-03036-MM7                    Filed 10/03/23           Entered 10/03/23 14:02:01                 Doc 1        Pg. 1 of 219


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Altamont Insurance Group, LLC

2.   All other names debtor
     used in the last 8 years     DBA Altamont Transporation and Insurance Brokerage
     Include any assumed          FKA Avant Brokerage Stockton LLC
     names, trade names and       DBA Altamont Insurance Brokerage
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  14203 Caminto Vistana                                           3830 Valley Centre Road
                                  San Diego, CA 92130                                             San Diego, CA 92130
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  San Diego                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       altamonttransportationinsurancebrokerage.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Altamont Insurance Group, LLC                                                                Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5242

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    Altamont Insurance Group, LLC                                                                   Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999


15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   Altamont Insurance Group, LLC                                              Case number (if known)
         Name

                             $50,001 - $100,000                         $10,000,001 - $50 million               $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million              $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million             More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          page 4
            Case 23-03036-MM7                   Filed 10/03/23            Entered 10/03/23 14:02:01                         Doc 1    Pg. 5 of 219

Debtor    Altamont Insurance Group, LLC                                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 3, 2023
                                                  MM / DD / YYYY


                             X /s/ Alan Shetzer                                                           Alan Shetzer
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President/Manager




18. Signature of attorney    X /s/ Jeffrey L. Brown                                                        Date October 3, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jeffrey L. Brown
                                 Printed name

                                 Attorney at Law
                                 Firm name

                                 7777 Alvarado Road
                                 Suite 622
                                 La Mesa, CA 91942
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (619) 461-6511                Email address      Jlb@brownfarmerlaw.com

                                 65321 CA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         Altamont Insurance Group, LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration    STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION.

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       October 3, 2023                 X /s/ Alan Shetzer
                                                           Signature of individual signing on behalf of debtor

                                                            Alan Shetzer
                                                            Printed name

                                                            President/Manager
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
           Case 23-03036-MM7                                     Filed 10/03/23                         Entered 10/03/23 14:02:01                                          Doc 1       Pg. 7 of 219

 Fill in this information to identify the case:

 Debtor name            Altamont Insurance Group, LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $              5,199.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $              5,199.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            12,098.20

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        8,466,678.62


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           8,478,776.82




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name         Altamont Insurance Group, LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     First Mid Bank                                    Premium trust account                                                          $3,898.00




          3.2.     First Mid Bank                                    Premium Trust Account                 4806                                     $1,301.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                      $5,199.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.



Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
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Debtor        Altamont Insurance Group, LLC                                          Case number (If known)
              Name

Part 4:       Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:       Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:       Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:       Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                       Net book value of         Valuation method used    Current value of
                                                                     debtor's interest         for current value        debtor's interest
                                                                     (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           altamonttransportationinsurancebrokerage.co
           m
           altamontins.com                                                    Unknown                                              Unknown



62.        Licenses, franchises, and royalties


Official Form 206A/B                             Schedule A/B Assets - Real and Personal Property                                       page 2
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Debtor        Altamont Insurance Group, LLC                                                Case number (If known)
              Name

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                            $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                          Current value of
                                                                                                                          debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities
           Risk Mangement Plus insurance policy (covers errors
           and omissions, theft, fraud, forgery, employee
           mismanagement)
           Travelers One Tower Square, Hartford, CT 06183; Mail
           claims: Travelers Bond & Specialty Insurance Claims,
           385 Washingon St., Mail Code 9275-NB03F, St. Paul, MN
           55102
           This coverage was for period April 29, 2020 to April 29,
           2021, during which time it is believed theft occured.                                                                      Unknown


           (2) State Farm insurance policies, effective period April
           29, 2023 to April 29, 2024. Each has $50,000 limit
           covering mismanagement by employeeand dishonest
           employee. starting in April 2021.
           File claims: Balance Partners, LLC, PO Box 2550,
           Huntington, NY 11743 and TransEleven Claims
           Managers, INc., 700 Central Expressway Saout, Suite
           200, Allen, TX 75013                                                                                                       Unknown




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 3
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Debtor      Altamont Insurance Group, LLC                                           Case number (If known)
            Name

          ( E & O ) with Fortegra Speciality Insurance Company,
         policy # MIPL 0105-01 effective 4-29-23 to 4-29-24. This
         is a claims made policy with a $1,000,000 lim                                                                       Unknown



74.      Causes of action against third parties (whether or not a lawsuit
         has been filed)
         Carolyn Rupp, who is CEO of Altamont Insurance Group
         misapproprated, stole, and mismanagement Altamonts
         premium trust account. The potential claim will total at
         least $1,018,142.
         A report with the San Joaquin County Sheriff office was
         filed on October 1, 2023, Case number is 23-17269. The
         report was take by Deputy Estrada, 209-817-6656
         1.breach of fiduciary service.
         2.Failure to supervise the business affairs and
         management of the premium trust fund account.
         3.Wrongfull act in the performance of professional
         services.
         4. Negligence mismanagement of the trust fund
         account.                                                                                                            Unknown
         Nature of claim          breach of fiduciary duty,
                                  embezzlement; mishandling
                                  trust fund account
         Amount requested                      $1,000,000.00



75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

78.      Total of Part 11.                                                                                                     $0.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                             page 4
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Debtor          Altamont Insurance Group, LLC                                                                       Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $5,199.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                                $5,199.00         + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                    $5,199.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 5
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Fill in this information to identify the case:

Debtor name       Altamont Insurance Group, LLC

United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.




Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                           page 1 of 1
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Fill in this information to identify the case:

Debtor name        Altamont Insurance Group, LLC

United States Bankruptcy Court for the:         SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                             $12,000.00         $12,000.00
          Franchise Tax Board                                  Check all that apply.
          PO Box 942867                                           Contingent
          Sacramento, CA 94267                                    Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
          2023                                                 taxers owed on premiums received
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.2       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                  $98.20        $98.20
          Tennessee Dept of Revenue                            Check all that apply.
          500 Deadrick Street                                     Contingent
          Andrew Jackson Office Bldg                              Unliquidated
          Nashville, TN 37242                                     Disputed

          Date or dates debt was incurred                      Basis for the claim:
          2022                                                 Franchise/Excise tax
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.1      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,675.00
         1 TEEM TRANSPORTERS LLC                                      Contingent
         35124 Heiskell Dr                                            Unliquidated
         Raymond, CA 93653
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,350.00
         1601 S UNION AVE                                             Contingent
         15504 STATE HIGHWAY 205                                      Unliquidated
         Terrell, TX 75160
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,700.00
         1716 BRIARCREST DRIVE                                        Contingent
         27710 CASCABEL LANE                                          Unliquidated
         San Antonio, TX 78260
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $17,650.00
         2 BEST LOADS INC                                             Contingent
         2542 AUGIBI WAY                                              Unliquidated
         Rancho Cordova, CA 95670
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $8,650.00
         3 SONS LOGISTICS INC                                         Contingent
         9533 W JJ RANCH ROAD                                         Unliquidated
         Peoria, AZ 85383
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,875.00
         48F TRANS INC                                                Contingent
         2345 W BELMONT AVE                                           Unliquidated
         Fresno, CA 93728
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $84,945.00
         6442 WINDY ROAD                                              Contingent
         117811 HORACE STREET                                         Unliquidated
         Granada Hills, CA 91344
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,700.00
         808 LOGISTICS LLC                                            Contingent
         2515 W SAN ANTONIO                                           Unliquidated
         Dallas, TX 75254
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         A & A TRUCKLINE INC                                          Contingent
         6247 E NORTH AVE                                             Unliquidated
         Fresno, CA 93725
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt 6316
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,269.00
         A & C COMMERCE SERVICES LLC                                  Contingent
         245 E VALLEY BLVD                                            Unliquidated
         Rialto, CA 92376
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,570.00
         A & M TRUCKING CO                                            Contingent
         726 W 6TH ST #3                                              Unliquidated
         Long Beach, CA 90802
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt `
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,230.00
         A M J TRANSPORTATION LLC                                     Contingent
         17500 SACRAMENTO VALLEY BLVD                                 Unliquidated
         Robbins, CA 95676
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,525.00
         A Star Truck Lines Inc                                       Contingent
         12000 Paxton St                                              Unliquidated
         Sylmar, CA 91342
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,700.00
         A TO B AUTO TRANSPORT LLC                                    Contingent
         55 SPRINGSTOWNE CTR STE 116                                  Unliquidated
         Vallejo, CA 94591
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $11,725.00
         A&A EXPEDITED                                                Contingent
         1015 S Maple Ave                                             Unliquidated
         Montebello, CA 90640
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,933.00
         A&D TRANS INC                                                Contingent
         10831 ROYCROFT ST UNIT 48                                    Unliquidated
         Sun Valley, CA 91352
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         A&L Insurance Services                                       Contingent
         10005 Marconi Dr. #3                                         Unliquidated
         San Diego, CA 92154
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         A.M.I.S. Andy Manukyan Ins                                   Contingent
         1254 S. Glendale Ave.                                        Unliquidated
         Glendale, CA 91205
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,675.00
         ABO TRUCKING INC                                             Contingent
         1862 KELLERTON DR                                            Unliquidated
         Hacienda Heights, CA 91745
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Ace Commercial Ins. Center                                   Contingent
         200 S. Main Street, Suite 130                                Unliquidated
         Corona, CA 92882
                                                                      Disputed
         Date(s) debt was incurred 2018-2023
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $23,172.00
         ACME AMERICA                                                 Contingent
         2550 W UNION HILLS DRIVE                                     Unliquidated
         Mesa, AZ 85207
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $15,856.00
         ACME AMERICAN INC                                            Contingent
         2662 NEVADA AVE                                              Unliquidated
         South El Monte, CA 91733
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Across America Ins. Svcs Inc                                 Contingent
         41689 Enterprise Circle North                                Unliquidated
         Suite 218
                                                                      Disputed
         Temecula, CA 92590
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2018-23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,300.00
         AD HAULERS INC                                               Contingent
         3640 W NELSON AVE                                            Unliquidated
         Fresno, CA 93706
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $17,005.00
         ADVANCE LOGISTICS, INC                                       Contingent
         1324 N. KNOX AVE                                             Unliquidated
         El Paso, TX 79917
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $42,849.00
         AEC TRUCKING, LLC                                            Contingent
         10230 LOS ALTOS DR                                           Unliquidated
         Hesperia, CA 92344
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Aether Insurance Services                                    Contingent
         2029 West Midwood Lane                                       Unliquidated
         Anaheim, CA 92804
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Agile Premium Finance                                        Contingent
         475 Half Day Rd. #550                                        Unliquidated
         Lincolnshire, IL 60069
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $100.00
         AIB Financial Services, Inc.                                 Contingent
         PO Box 66501                                                 Unliquidated
         Saint Louis, MO 63166
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $16,000.00
         AIRBOURNE LOGISTICS, INC                                     Contingent
         3291 BEACHWOOD DR                                            Unliquidated
         Merced, CA 95348
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $12,220.00
         AKAAL PURAKH TRANS INC                                       Contingent
         1219 TAHOE STREET                                            Unliquidated
         Merced, CA 95348
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $454,168.00
         Alan Shetzer                                                 Contingent
         3830 Valley Centre Drive #705                                Unliquidated
         PO Box 245
                                                                      Disputed
         San Diego, CA 92130
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2018-23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Alex Rue Insurance Agency                                    Contingent
         9815 Antelope Road                                           Unliquidated
         Roseville, CA 95747
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: `Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,666.00
         ALFONSO MONARREZ                                             Contingent
         1960 S DATE AVE                                              Unliquidated
         Bloomington, CA 92316
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,035.00
         ALI EXPRESS, INC                                             Contingent
         2132 MONTAUBAN CT                                            Unliquidated
         Stockton, CA 95210
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         All Solutions Insurance                                      Contingent
         A+B24:L24 Agency LLC                                         Unliquidated
         22364 Alessandro Blvd
                                                                      Disputed
         Moreno Valley, CA 92553
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2018-23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,815.00
         ALL STAR TRUCKING                                            Contingent
         3150 N WEBER AVE                                             Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,050.00
         Alpha Freight Lines                                          Contingent
         14398 Whittram Ave                                           Unliquidated
         Fontana, CA 92335
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         AMA United Transport Svcs LLC                                Contingent
         325 Old San Antnio Rd.                                       Unliquidated
         Mc Queeney, TX 78123
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $14,067.00
         AMANDEEP SINGH                                               Contingent
          DBA VIP EXPRESS                                             Unliquidated
         3771 N CORNELIA AVE
                                                                      Disputed
         Fresno, CA 93722
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2022
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,080.00
         AMANDEEP SINGH KHAIRA DBA KHAI                               Contingent
         5389 N VALENTINE AVE APT 111                                 Unliquidated
         Fresno, CA 93711
                                                                      Disputed
         Date(s) debt was incurred 202`
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,500.00
         AMARJIT SINGH DBA SAM TRANSPOR                               Contingent
         16234 MAGNOLIA WAY                                           Unliquidated
         Fontana, CA 92336
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,613.00
         AMDJ Logistics Inc                                           Contingent
         11475 Penrose St.                                            Unliquidated
         Sun Valley, CA 91352
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         American Continental Ins. Svcs                               Contingent
         11501 Dublin Blvd #200                                       Unliquidated
         Pleasanton, CA 94588
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $14,686.00
         AMERICAN STAR INTERMODAL INC                                 Contingent
         341 E MONTE VIST AVE APT 70                                  Unliquidated
         Turlock, CA 95382
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,150.00
         AMERICAN STAR LLC                                            Contingent
         5370 GUIDE MERIIAN RD                                        Unliquidated
         Bellingham, WA 98226
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $16,703.00
         AMERICAN TRANSPORT LOS ANGELES                               Contingent
         1202 E ANAHEIM ST                                            Unliquidated
         Wilmington, CA 90744
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         AMK Insurance, Inc.                                          Contingent
         6855 Via Del Oro                                             Unliquidated
         San Jose, CA 95119
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $27,610.00
         AMM EXPRESS INC                                              Contingent
         6059 Bradshaw Rd                                             Unliquidated
         Sacramento, CA 95829
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $8,915.00
         AMNA TRUCKING INC                                            Contingent
         14801 SLOVER AVE                                             Unliquidated
         Fontana, CA 92337
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,275.00
         AMRIK EXPRESS, LLC                                           Contingent
         283 TWIN RIVERS DRIVE                                        Unliquidated
         Yuba City, CA 95991
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,300.00
         AMS TRANSPORT INC                                            Contingent
         11475 Penrose St.                                            Unliquidated
         Sun Valley, CA 91352
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,200.00
         Ananik Grigoryan dba DSSY Truc                               Contingent
         6315 San Fernanado Rd                                        Unliquidated
         Glendale, CA 91205
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,893.00
         ANDREAS TRANSPORT LLC                                        Contingent
         10686 BANANA AVE                                             Unliquidated
         Fontana, CA 92335
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,750.00
         ANGELA GONZALEZ CLEMENTE                                     Contingent
         DBA GREEN PALMS GROWERS                                      Unliquidated
         82560 AIRPORT BLVD
                                                                      Disputed
         Thermal, CA 92274
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2022
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,325.00
         Ank Transportation, Inc.                                     Contingent
         1301 Richland Avenue #1                                      Unliquidated
         Modesto, CA 95351
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,100.00
         ANURAJ LLC                                                   Contingent
         5355 W PINE AVE                                              Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,548.00
         APS CARRIER INC                                              Contingent
         425 SUNDANCE ST                                              Unliquidated
         Livingston, CA 95334
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,500.00
         ARACELI'S TRUCKING INC                                       Contingent
         21136 S WILMINGTON AVE                                       Unliquidated
         Carson, CA 90745
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,557.00
         ARDASS TRUCKING. INC                                         Contingent
         3598 MACADAMIA LANE                                          Unliquidated
         Ceres, CA 95307
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $9,350.00
         ARMAN KARAPETYAN                                             Contingent
         DBA: URARTU TRUCKING                                         Unliquidated
         11475 Penrose St.
                                                                      Disputed
         Sun Valley, CA 91352
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2022
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,305.00
         ARMATA LINES INC                                             Contingent
         11475 Penrose St.                                            Unliquidated
         Sun Valley, CA 91352
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,875.00
         ART-ACT LOGISTICS, LLC                                       Contingent
         9831 STIBEHURST AVE                                          Unliquidated
         Sun Valley, CA 91352
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $12,075.00
         ARY LOGISTIC SYSTEM INC                                      Contingent
         2747 LINCOLN AVE                                             Unliquidated
         Clovis, CA 93611
                                                                      Disputed
         Date(s) debt was incurred 20221
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,368.00
         ASD TRUCKING INC                                             Contingent
         4648 TAYLOR COURT                                            Unliquidated
         Turlock, CA 95382
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $11,525.00
         ASEES TRANSPORT INC                                          Contingent
         3626 N BLYTHE AVE APRT 212                                   Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Aspen American Ins. Co                                       Contingent
         175 Capital Blvd. #300                                       Unliquidated
         Rocky Hill, CT 06067
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         AST EXPRESS INC                                              Contingent
         5350 N BRAWLEY AVE APT 124                                   Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt 2978
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Atlanta Premier Ins Agency                                   Contingent
         12 Powder Springs Street #270                                Unliquidated
         Marietta, GA 30064
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $45,962.00
         ATLANTIC RISK                                                Contingent
         6827 MELODY LANE APT 2724                                    Unliquidated
         Dallas, TX 75231
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $17,373.00
         ATLANTIC RISK                                                Contingent
         1716 BRIARCREST DR SUITE 300                                 Unliquidated
         Bryan, TX 77802
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Atlantis Insurance Brokerage                                 Contingent
         639 Channel Street #H                                        Unliquidated
         San Pedro, CA 90731
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $19,328.00
         ATM CHAP SERVICES LLC                                        Contingent
         9114 BUNGALOW WAY                                            Unliquidated
         Madison, AL 35758
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $10,713.00
         ATMA SANDHU DBA HPA TRUCKING                                 Contingent
         6077 E CORTLAND AVE                                          Unliquidated
         Fresno, CA 93727
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,150.00
         ATS TRANSPORT INC                                            Contingent
         600 N MARKS AVE                                              Unliquidated
         Fresno, CA 93728
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,548.00
         ATWAL TRANS LLC                                              Contingent
         7177 W DOVEWOOD LANE                                         Unliquidated
         Fresno, CA 93723                                             Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Avalon Risk Management                                       Contingent
         150 Northwest Pt. Blvd.                                      Unliquidated
         2nd Floor
                                                                      Disputed
         Elk Grove Village, IL 60007
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2018-23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Avian Premium Finance                                        Contingent
         PO Box 6606                                                  Unliquidated
         Burbank, CA 91510
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,940.00
         AWESOM TRANSPORTATION, LLC                                   Contingent
         3342 NORTH WEBBER AVE                                        Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Axis Insruance Svcs. LLC                                     Contingent
         795 Franklin Avenue #206                                     Unliquidated
         Franklin Lakes, NJ 07417
                                                                      Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,825.00
         B D S TRANSPORT INC                                          Contingent
         2301 W BELMONT AVE                                           Unliquidated
         Fresno, CA 93728
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,900.00
         BAAZ FREIGHT INC                                             Contingent
         3007 E ROSE AVE                                              Unliquidated
         Selma, CA 93662
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,563.00
         BABA MUNSHI TRANS INC                                        Contingent
         4688 W AMHERST AVE                                           Unliquidated
         93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,450.00
         BABA NANAK TRANSPORT INC                                     Contingent
         3661 W SHIELDS AVE APT 271                                   Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,650.00
         BACK ROAD EXPRESS INC                                        Contingent
         12000 PAXTON STREET                                          Unliquidated
         Sylmar, CA 91342
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,550.00
         BACK ROAD EXPRESS INC                                        Contingent
         13027 VICTORY BLVD #141                                      Unliquidated
         North Hollywood, CA 91606                                    Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $10,047.00
         BAJWA & SONS TRANSPORT INC                                   Contingent
         11191 VALLEJO ST                                             Unliquidated
         French Camp, CA 95231
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.88     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $8,335.00
         BAJWA CALI TRANSPORT INC                                     Contingent
         3692 MASSIMO CIRCLE`                                         Unliquidated
         Stockton, CA 95212
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.89     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,625.00
         BALA JI TRANSPORT INC                                        Contingent
         4760 E BUTLER AVE #102                                       Unliquidated
         Fresno, CA 93702
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.90     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $15,750.00
         BALJEET HEER                                                 Contingent
         3440 W CAPITOL AVE                                           Unliquidated
         West Sacramento, CA 95691
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.91     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $12,938.00
         BALJIT HEER                                                  Contingent
         2572 S UNION AVE                                             Unliquidated
         Bakersfield, CA 93307
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
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3.92     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Bankdirect Capital Finance
         PO Box 660448                                                Contingent
         Dallas, TX 75266                                             Unliquidated
         Date(s) debt was incurred provided she survives              Disputed
         Settlor for thirty (30) days. Should she fail to
                                                                   Basis for the claim: Business debt
         survive
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.93     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,845.00
         BARNALA EXPRESS INC                                          Contingent
         695 W SANTA ANA AVE APT 204                                  Unliquidated
         Markleeville, CA 96120
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.94     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Barragan Insurance Agency                                    Contingent
         1132 Suncast Lane #8                                         Unliquidated
         El Dorado Hills, CA 95762
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.95     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $9,335.00
         BASHIR AHMAD SIDDIQI                                         Contingent
         5909 BAMFORD DR                                              Unliquidated
         Sacramento, CA 95823                                         Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.96     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,564.00
         BASSI ROADLINES INC                                          Contingent
         139 LEBARON BLVD                                             Unliquidated
         Lodi, CA 95240
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.97     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $9,705.00
         BBS TRANSPORT INC                                            Contingent
         3661 W SHEILDS AVE APT 118                                   Unliquidated
         Fresno, CA 93727
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.98     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $36,925.00
         BDS TRUCKING INC                                             Contingent
         2427 W YOSEMITE AVE                                          Unliquidated
         Manteca, CA 95337
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.99     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,237.00
         BEANT SINGH DBA ATS TRANSPORT                                Contingent
         6291 W NORWICH AVE                                           Unliquidated
         Fresno, CA 93723
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.100    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,237.00
         BEANT SINGH DBA ATS TRANSPORT                                Contingent
         1310 TAHOW VALLEY LN                                         Unliquidated
         Sugar Land, TX 77479
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.101    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $19,328.00
         BERRIER INSURANCE                                            Contingent
         9114 BUNGALOW WAY                                            Unliquidated
         Elk Grove, CA 95758
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.102    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Best and Low Cost Ins Agency                                 Contingent
         2169 buena Vista Drive                                       Unliquidated
         Manteca, CA 95337
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.103    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,653.00
         BEST LOADS INC                                               Contingent
         135 S BELMONT ST APT 1                                       Unliquidated
         Glendale, CA 91205
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.104    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $454,168.00
         BGAL 1, LLC                                                  Contingent
         3830 Valley Centre Road                                      Unliquidated
         San Diego, CA 92130                                          Disputed
         Date(s) debt was incurred 2020-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.105    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $12,479.00
         BHANGU BROTHERS TRANSPORT INC                                Contingent
         7464 E SIMPSON AVE                                           Unliquidated
         Fresno, CA 93737
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.106    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,445.00
         BHANGU LOGISTICS, INC                                        Contingent
         20500 HOLLY DR                                               Unliquidated
         Fontana, CA 92335
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.107    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         BIA Insurance Agency                                         Contingent
         18653 Ventura Blvd #402                                      Unliquidated
         Tarzana, CA 91356
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.108    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         BIC, Berkley Fire & Marine                                   Contingent
         PO Box152180                                                 Unliquidated
         Irving, TX 75015
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.109    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Bico Insurance Services                                      Contingent
         2024 West 3rd Street                                         Unliquidated
         Los Angeles, CA 90057
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.110    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $7,775.00
         BIG BYRD TRANSPORTATION INC                                  Contingent
         3100 BEACHWOOD DR                                            Unliquidated
         Merced, CA 95348
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.111    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,680.00
         BLACK BULL CARRIER, INC                                      Contingent
         3602 W SAN JOSE AVE APT 215                                  Unliquidated
         Fresno, CA 93711
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.112    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,763.00
         BLING SINGH TRANSPORT INC                                    Contingent
         24040 POSTAL AVE                                             Unliquidated
         Moreno Valley, CA 92556
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.113    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $24,613.00
         BLUEMOON CARRIERS INC                                        Contingent
         18400 MALDEN UJNIT 3                                         Unliquidated
         Northridge, CA 91325
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.114    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,600.00
         BMJ TRANS INC                                                Contingent
         25631 LEWIS WAY                                              Unliquidated
         Stevenson Ranch, CA 91381
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.115    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,825.00
         BND TRANS CORP                                               Contingent
         15-05 CHANDLER DRIVE                                         Unliquidated
         Fair Lawn, NJ 07410
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.116    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $18,445.00
         Bob Logistic Inc                                             Contingent
         15810 Boyle Ave                                              Unliquidated
         Fontana, CA 92337
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.117    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $11,088.00
         BOBCAT EXPRESS INC                                           Contingent
         6738 N SANDRINI AVE                                          Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.118    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,725.00
         BOPARI BROTHERS TRUCKING INC                                 Contingent
         11616 HARLAN RD                                              Unliquidated
         Lathrop, CA 95330
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.119    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Border Insurance Services                                    Contingent
         2004 Dairy Mart Rd #114                                      Unliquidated
         San Ysidro, CA 92173
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.120    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Bossa Nova Insurance Svcs                                    Contingent
         10468-A San Pablo Ave                                        Unliquidated
         El Cerrito, CA 94530
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.121    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,550.00
         BRAULIO GARCIA VASQUEZ DBA FI                                Contingent
         1586 N VAN NESS AVE                                          Unliquidated
         Fresno, CA 93725
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.122    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,950.00
         BRIDGE TRANSPORT LLC                                         Contingent
         956 PONT DU GARD CT                                          Unliquidated
         Buford, GA 30518
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.123    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,750.00
         BROWN XPRESS INC.                                            Contingent
         3635 SOLEDAD AVENUE                                          Unliquidated
         Clovis, CA 93619
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.124    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Bruce Roberts Insurance Svcs                                 Contingent
         10907 Downey Abvenue #101                                    Unliquidated
         Downey, CA 90241
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.125    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,725.00
         BT TRUCKLINES, INC                                           Contingent
         3342 NORTH WEBBER AVE                                        Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.126    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,773.00
         BTI TRUCK LINES INC                                          Contingent
         435 WINTON PKWY                                              Unliquidated
         Livingston, CA 95334
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.127    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,225.00
         BTL FREIGHT INC                                              Contingent
         500 MESA CT                                                  Unliquidated
         Tracy, CA 95377                                              Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.128    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Bulldog Premium                                              Contingent
         6971 Sunrise Blvd #206                                       Unliquidated
         Fort Lauderdale, FL 33313
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.129    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $9,350.00
         C & A UNITED XPRESS, INC                                     Contingent
         2707 PARADISE POINT PL                                       Unliquidated
         Bakersfield, CA 93313
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.130    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,300.00
         CA 99 EXPRESS INC                                            Contingent
         7902 E BELMONT AVE                                           Unliquidated
         Fresno, CA 93737
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.131    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,215.00
         CALDWELL ENTERPRISE LLC                                      Contingent
         1444 FULTON ST                                               Unliquidated
         Fresno, CA 93721
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.132    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,220.00
         CALI DRAYAGE LLC                                             Contingent
         1651 FAIRVIEW DR                                             Unliquidated
         Ceres, CA 95307
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.133    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         California Dept of Insurane                                  Contingent
         300 Capital Mall #14000                                      Unliquidated
         Sacramento, CA 95814
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.134    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $8,645.00
         CALIFORNIA TRUCKLINE, INC                                    Contingent
         2301 W BELMONT AVE                                           Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.135    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $9,000.00
         CAN TRANSPORT INC                                            Contingent
         303 LINCOLN RD                                               Unliquidated
         Vallejo, CA 94590
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.136    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Cantrel Networks                                             Contingent
         1103 Val Gardens St.                                         Unliquidated
         Lodi, CA 95242
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.137    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $7,115.91
         Capital Premium Financing Inc                                Contingent
         PO Box 667180                                                Unliquidated
         Dallas, TX 75266
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.138    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $8,598.00
         CEDRIC STEWARD LLC                                           Contingent
         10808 6TH ST SUITE 14                                        Unliquidated
         Rancho Cucamonga, CA 91730
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.139    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,765.00
         CENCAL CARRIERS, INC                                         Contingent
         4131 E NORTH AVE                                             Unliquidated
         Fresno, CA 93725
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.140    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,250.00
         CHAHAL EXPRESS, INC                                          Contingent
         3025 W CHRISTOFFERSEN PKW D204                               Unliquidated
         Stockton, CA 95204
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.141    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $34,255.00
         CHAHAL TRANS INC                                             Contingent
         14203 S UNION AVE                                            Unliquidated
         Bakersfield, CA 93307
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.142    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $20,753.24
         Chase                                                        Contingent
         PO Box 94014                                                 Unliquidated
         Palatine, IL 60094                                           Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Business credit card
         Last 4 digits of account number 1728
                                                                   Is the claim subject to offset?     No       Yes

3.143    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         Chase Bank                                                   Contingent
         PO Box 6294                                                  Unliquidated
         Carol Stream, IL 60197                                       Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number 4590
                                                                   Is the claim subject to offset?     No       Yes

3.144    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,095.00
         CHAWAL EXPRESS INC                                           Contingent
         11205 CEDAR AVE                                              Unliquidated
         WILMINGTON, CA 92744
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.145    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Checkers Truck Insurance Inc                                 Contingent
         784 N. Waterman Ave.                                         Unliquidated
         San Bernardino, CA 92410
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.146    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,075.00
         CHEEMA FGS INC                                               Contingent
         2130 N MARKS AVE #127                                        Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.147    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,325.00
         Chester Franklin                                             Contingent
         dba Ogden & SONS TRANSPORTATIO                               Unliquidated
         Glendale, CA 91205
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.148    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $429,127.00
         Chesterfield Group                                           Contingent
         5th Floor F. 1 Mimster Ct                                    Unliquidated
         Mincing Lane
                                                                      Disputed
         London EC3R 7AA
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2022-23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.149    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,638.00
         CHP TECH INC                                                 Contingent
         6605 N. Indian Canyon Dr                                     Unliquidated
         North Palm Springs, CA 92258
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.150    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         CJG Insurance Corp                                           Contingent
         12525 W. Okeechobee Rd                                       Unliquidated
         Hialeah, FL 33018
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.151    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,175.00
         CK TRUCKING, INC                                             Contingent
         1949 OSBORN AVE                                              Unliquidated
         Phoenix, AZ 85016
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.152    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $11,380.00
         CKR TRANSPORT INC                                            Contingent
         14203 S UNION AVE                                            Unliquidated
         Bakersfield, CA 93307
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.153    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,213.00
         CL LOGISTICS, INC                                            Contingent
         1358 HOOPER AVE SUITE 102                                    Unliquidated
         Coachella, CA 92236
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.154    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,612.74
         Classic Plan Premium Finance                                 Contingent
         PO Box 5146                                                  Unliquidated
         Chino, CA 91708
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.155    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,000.00
         COLT MESSENGER SERVICE                                       Contingent
         770 S BREA BLVD #209                                         Unliquidated
         Brea, CA 92821
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.156    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Continental Insurance                                        Contingent
         800 N. Zaragosa Rd. #N                                       Unliquidated
         El Paso, TX 79907
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.157    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $9,000.00
         CONVOY TRUCKING AUTHORITY LLC                                Contingent
         2250 TIDELANDS AVE                                           Unliquidated
         National City, CA 91950
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.158    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,775.00
         COOL TRUCKING INC                                            Contingent
         14587 VALLEY BLVD                                            Unliquidated
         Fontana, CA 92335
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.159    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,620.00
         CTL TRANS INC                                                Contingent
         1761 NEW HORIZONS DR APT #1                                  Unliquidated
         Manteca, CA 95336
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.160    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Custom Insurance Agency                                      Contingent
         6107 Jovic Court                                             Unliquidated
         La Grange, IL 60525
                                                                      Disputed
         Date(s) debt was incurred 2018-2023
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.161    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,058.91
         Cypress Premium Funding                                      Contingent
         PO Box 3529                                                  Unliquidated
         Mission Viejo, CA 92690
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.162    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $8,316.00
         D & S ENTERPRISES, LLC                                       Contingent
         23090 TOKAYANA WAY                                           Unliquidated
         Colfax, CA 95713
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.163    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,700.00
         D&A LOGISTICS LLC                                            Contingent
         27406 N HIGUERA DRIVE                                        Unliquidated
         Peoria, AZ 85383
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.164    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,590.00
         DA TRANSPORTERZ INC                                          Contingent
         1116 LOUISE AVE                                              Unliquidated
         Torrance, CA 90503
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.165    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,955.00
         Daljit Singh dba AK Trucking                                 Contingent
         2010 Batson Ave #264                                         Unliquidated
         Rowland Heights, CA 91748
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.166    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,750.00
         DANIEL URQUIDEZ                                              Contingent
         DBA URQUIDEZ SON TRUCKING                                    Unliquidated
         20226 N H ST
                                                                      Disputed
         Oxnard, CA 93036
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.167    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Dark Insurance Agency Inc                                    Contingent
         PO Box 506                                                   Unliquidated
         Alexander City, AL 35010
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.168    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $7,070.00
         DASHMESH FREIGHT LINE LLC                                    Contingent
         1644 ROUNDHOUSE STREET                                       Unliquidated
         Tulare, CA 93274
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.169    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,400.00
         DCEE TRANZ                                                   Contingent
         1108 VILLA AVE APT 122A                                      Unliquidated
         Clovis, CA 93612
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.170    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $17,040.00
         DEEP LOGISTICS INC                                           Contingent
         5249 N COMELIA AVE                                           Unliquidated
         Fresno, CA 93722                                             Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.171    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Delta Premium Financing Inc                                  Contingent
         PO Box 66501                                                 Unliquidated
         Saint Louis, MO 63166
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.172    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Deluxe Insurance Agency                                      Contingent
         555 West 91st Street                                         Unliquidated
         Los Angeles, CA 90044
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.173    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,675.00
         Derenik Tosunyan dba Superson                                Contingent
         30821 East The Old Road                                      Unliquidated
         San Fernando, CA 91340
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.174    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,665.00
         DHADDA TRANSPORT INC                                         Contingent
         3241 INDUSTRIAL DRIVE                                        Unliquidated
         Yuba City, CA 95993
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.175    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,900.00
         DHAMI BROTHERS INC                                           Contingent
         1601 S UNION AVE                                             Unliquidated
         Bakersfield, CA 93307
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.176    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,157.00
         DHANJU TRUCK LINE INC DBA: DTL                               Contingent
         221 SPRINGFIELD DR                                           Unliquidated
         Manteca, CA 95337
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.177    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,850.00
         DHESI FREIGHTLINES, INC                                      Contingent
         2828 EL CENTRO ROAD                                          Unliquidated
         Sacramento, CA 95833
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.178    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Dillon Risk Management                                       Contingent
         B31:L31 Insuranc Services Inc                                Unliquidated
         4180 Douglas Blvd #100
                                                                      Disputed
         Granite Bay, CA 95746
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2018-23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.179    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Direct Deal Insurance                                        Contingent
         11803 Pierce Street #200                                     Unliquidated
         Riverside, CA 92505                                          Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.180    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $17,539.00
         DISPATCH CENTRAL INC                                         Contingent
         6752 DE MOSS DRIVE APT 217                                   Unliquidated
         Houston, TX 77074
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.181    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,340.00
         DJD TRUCKING INC                                             Contingent
         7614 IRON HORSE PL                                           Unliquidated
         Date(s) debt was incurred 2021                               Disputed
         Last 4 digits of account number                           Basis for the claim: Business debt

                                                                   Is the claim subject to offset?     No       Yes

3.182    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $12,429.29
         Dodge Insurance                                              Contingent
         dba Arroyo Insurance Service                                 Unliquidated
         225 E. Santya Clara St. #130
                                                                      Disputed
         Arcadia, CA 91006
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2018-23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.183    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,200.00
         Don Rose Logistics Inc                                       Contingent
         1218 S Glendale Ave Ste 67                                   Unliquidated
         Glendale, CA 91205
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.184    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,650.00
         DON ROSE LOGISTICS, INC                                      Contingent
         11475 PENROSE ST                                             Unliquidated
         Sun Valley, CA 91352
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.185    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Doyle & Ogden Insurance                                      Contingent
         3330 Broadmoor Ave. SE #E                                    Unliquidated
         Grand Rapids, MI 49512
                                                                      Disputed
         Date(s) debt was incurred 2018-2023
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.186    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,186.00
         DREAMLAND TRUCKING INC                                       Contingent
         3310 BEACHWOOD                                               Unliquidated
         Merced, CA 95348
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.187    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,060.00
         DS SANDHU TRANS                                              Contingent
         8312 LIBBY CT                                                Unliquidated
         Bakersfield, CA 93313
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.188    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $7,070.00
         DS SANDHU TRANS                                              Contingent
         1206 TORI LANE                                               Unliquidated
         Yuba City, CA 95993
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.189    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,788.00
         DSD EXPRESS INC                                              Contingent
         1712 GINGKO AVE                                              Unliquidated
         Modesto, CA 95354
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.190    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,275.00
         DSG EXPRESS INC                                              Contingent
         575 MATMOR RD APT 30                                         Unliquidated
         Woodland, CA 95776
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.191    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $11,825.00
         DSK TRUCKING INC                                             Contingent
         2120 S UNION AVE                                             Unliquidated
         Bakersfield, CA 93307
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.192    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,623,918.00
         E & R TRANSPORTATION, INC                                    Contingent
         DBA E & R TRUCKING                                           Unliquidated
         Mendota, CA 93640                                            Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.193    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $8,375.00
         E&E TRUCKING INC                                             Contingent
         3303 W Magnolia Blvd                                         Unliquidated
         Burbank, CA 91505
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.194    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $15,093.00
         EARTH BUSES, LLC                                             Contingent
         6442 WINDY ROAD                                              Unliquidated
         Las Vegas, NV 89119
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.195    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,005.00
         Earthtrade Inc                                               Contingent
         3424 3rd St                                                  Unliquidated
         Riverside, CA 92501
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.196    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $42,587.00
         EASY LIVING                                                  Contingent
         6685 QUINCE ROAD                                             Unliquidated
         Memphis, TN 38125
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.197    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Easy Truck Insurance Svcs Inc.                               Contingent
         7635 Clement Road                                            Unliquidated
         Vacaville, CA 95688
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.198    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,150.00
         EDGAR GARCIA                                                 Contingent
         DBA: LM & SONS TRUCKING                                      Unliquidated
         13600 NAPA ST
                                                                      Disputed
         Fontana, CA 92336
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2022
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.199    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $24,234.00
         EDMONDS XPRESS TRUCKING                                      Contingent
         24950 S MAIN STREET                                          Unliquidated
         Carson, CA 90745
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.200    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $9,212.00
         EK LOGISTICS INC                                             Contingent
         1565 SEKIO AVE                                               Unliquidated
         Rowland Heights, CA 91748
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.201    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,613.00
         ELIZA EXPRESS INC                                            Contingent
         13115 Oxnard St Apt 11                                       Unliquidated
         Van Nuys, CA 91401
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.202    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,450.00
         ELT TRANSPORTATION, LLC                                      Contingent
         9351 JACKSON RD                                              Unliquidated
         Sacramento, CA 95826
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.203    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Empire Transport Ins Svcs.                                   Contingent
         21500 Burbank Blvd. Unit 114                                 Unliquidated
         Woodland Hills, CA 91367
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.204    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,000.00
         ENIO ROJAS DBA: SONS OF ROJAS                                Contingent
         6400 VALLEY VIEW                                             Unliquidated
         Buena Park, CA 90620
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.205    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $9,931.00
         ERIC ALAN JOHNSTON II                                        Contingent
         DBA ENE TRUCKING                                             Unliquidated
         24701 ARTHUR ROAD
                                                                      Disputed
         Escalon, CA 95320
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.206    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,750.00
         ERIC TIMMOTHY ALFRED                                         Contingent
         DBA WEST COAST FREIGHTLINES                                  Unliquidated
         501 TAYLOR STREET APT 24
                                                                      Disputed
         Bakersfield, CA 93309
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.207    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Essessay Insurance Services                                  Contingent
         PO Box 3279                                                  Unliquidated
         Danville, CA 94526
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.208    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,450.00
         EXCLUSIVE TRUCKING INC                                       Contingent
         1004 WEST COVINA PKWY UNIT 217                               Unliquidated
         West Covina, CA 91790
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.209    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Executive Insruance Agency                                   Contingent
         PO Box 480                                                   Unliquidated
         Stockbridge, GA 30281
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.210    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $8,630.00
         EXTRA HAUL EXPRESS                                           Contingent
         1235 OSWALD RD                                               Unliquidated
         Yuba City, CA 95991
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.211    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $21,850.00
         F G F TRUCKING 2 LLC                                         Contingent
         2039 QUAIL PLACE DRIVE                                       Unliquidated
         Missouri City, TX 77489
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.212    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,175.00
         FAST & SAFE TRANSPORT                                        Contingent
         12000 PAXTON STREET                                          Unliquidated
         Sylmar, CA 91342
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.213    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $26,950.00
         FASTRACK FREIGHT INC                                         Contingent
         4193 FLATROCK DRIVE #200                                     Unliquidated
         Riverside, CA 92505
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.214    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Fidelity Truck & Auto Ins                                    Contingent
         115 N. Vineyard Avenue #200                                  Unliquidated
         Ontario, CA 91764
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.215    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Fino Services LLC                                            Contingent
         6193 Hwy Blvd.                                               Unliquidated
         Katy, TX 77494
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.216    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,260.00
         FIROZ THIND DBA MMA TRUCKING                                 Contingent
         5431 E PARLIER AVE                                           Unliquidated
         Fowler, CA 93625
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.217    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,000.00
         FIRST EAGLE TRUCKING                                         Contingent
         11475 Penrose St.                                            Unliquidated
         Sun Valley, CA 91352
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.218    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $41,200.47
         First Insurance Funding                                      Contingent
         PO Box 7000                                                  Unliquidated
         Carol Stream, IL 60197
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.219    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $388,700.00
         First Mid Bank                                               Contingent
         Elan Financial Services                                      Unliquidated
         PO Box 790408                                                Disputed
         Saint Louis, MO 63179
                                                                   Basis for the claim: Business debt : (2) loans
         Date(s) debt was incurred
         Last 4 digits of account number 2116                      Is the claim subject to offset?     No       Yes


3.220    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $12,000.00
         First Mid Bank                                               Contingent
         Elan Financial Services                                      Unliquidated
         PO Box 790408                                                Disputed
         Saint Louis, MO 63179
                                                                   Basis for the claim: Business debt (credit card)
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.221    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,700.00
         FIVE STAR DELIVERY SERVICES LL                               Contingent
         1630 SANTA MONICA ST                                         Unliquidated
         San Antonio, TX 78201
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.222    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $21,440.00
         FLEET MATCH, INC                                             Contingent
         11475 Penrose St.                                            Unliquidated
         Sun Valley, CA 91352
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.223    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Fortis Insurance Brokers                                     Contingent
         1212 S. Bristol Street #11                                   Unliquidated
         Santa Ana, CA 92704
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: 2018-23
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.224    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $10,775.00
         FRANCIS DOLORES GONZALEZ                                     Contingent
         DBA LOLY TRANSPORT                                           Unliquidated
         14320 SLOVER AVE
                                                                      Disputed
         Fontana, CA 92337
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2020
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.225    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,700.00
         FRIENDLY & SAFE TRANSPORT LLC                                Contingent
         1716 BRIARCREST DRIVE                                        Unliquidated
         Bryan, TX 77802                                              Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.226    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Fundamental Underwriters                                     Contingent
         28791 Network Place                                          Unliquidated
         Chicago, IL 60673
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.227    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $15,093.00
         FUTURE MEDICAL TRANSPORTATION,                               Contingent
         6442 WINDY ROAD                                              Unliquidated
         Las Vegas, NV 89119
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.228    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,145.00
         G & E TRUCKING, INC                                          Contingent
         9017 STATEN ISLAND DRIVE                                     Unliquidated
         Bakersfield, CA 93311                                        Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.229    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         G.M. Lawrence Brokerage                                      Contingent
         7746 Lorraine Ave #214                                       Unliquidated
         Stockton, CA 95210
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.230    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,205.00
         GA TRANSPORTATION INC                                        Contingent
         15825 ROXFORD ST                                             Unliquidated
         Sylmar, CA 91342
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.231    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,248.00
         GAGAN XPRESS INC                                             Contingent
         2572 S UNION AVE                                             Unliquidated
         Fresno, CA 93703                                             Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.232    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Gain Insurance Agency                                        Contingent
         1502 Cypress Avenue                                          Unliquidated
         Los Angeles, CA 90062
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.233    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,700.00
         GALVAN AND SONS TRANSPORT LLC                                Contingent
         11234 DUBLIN TRACE                                           Unliquidated
         Dallas, TX 75254
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.234    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $11,525.00
         GAMERZ LOGISTICS INC                                         Contingent
         1820 PENNEBAKER WAY APT 202                                  Unliquidated
         Manteca, CA 95336
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.235    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,383.00
         GAYLE'S TRANSPORTATION COMPANY                               Contingent
         14416 SLOVER AVE                                             Unliquidated
         Fontana, CA 92337
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.236    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $15,785.00
         Gazelle Logistics Inc                                        Contingent
         8261 Schaeffer Ave                                           Unliquidated
         Ontario, CA 91761
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.237    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         GBC Insurance Solutions Inc                                  Contingent
         110 East 9th St, Suite A-1126                                Unliquidated
         Los Angeles, CA 90079
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.238    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $136.15
         General Agents Acceptance Corp                               Contingent
         PO Box 1177                                                  Unliquidated
         Lake Forest, CA 92609
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.239    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,275.00
         GERMAN TRUCKING INC                                          Contingent
         4129 MERCER DRIVE                                            Unliquidated
         Modesto, CA 95356
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.240    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $11,545.00
         GGS TRUCKING INC                                             Contingent
         3150 N WEBER AVE                                             Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.241    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,422.00
         GHALIB TRUCKING INC                                          Contingent
         1513 ALAMO DRIVE APT 21                                      Unliquidated
         Vacaville, CA 95687
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.242    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,300.00
         Ghasem Nikjoo                                                Contingent
         dba Pacific Caravan Trucking                                 Unliquidated
         dba Pacific Cara
                                                                      Disputed
         Irvine, CA 92614
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2020
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.243    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $9,025.00
         GID TRANSPORT EXPRESS INC                                    Contingent
         5170 Steve Ave                                               Unliquidated
         Riverside, CA 92509
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.244    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $14,067.00
         GILSON XPRESS INC                                            Contingent
         1030 COTTONWOOD RD                                           Unliquidated
         Bakersfield, CA 93307
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.245    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         GIVDJ Valley Ins. Agency LLC                                 Contingent
         2350 W. Shaw Avenue #150                                     Unliquidated
         Fresno, CA 93711
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.246    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Givesurance Ins Servives LLC                                 Contingent
         21900 Burbank Blvd.                                          Unliquidated
         3rd Floor
                                                                      Disputed
         Woodland Hills, CA 91367
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2018-23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.247    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,763.00
         GLEN SAGASTUME GARCIA                                        Contingent
         14928 SLOVER ST                                              Unliquidated
         Fontana, CA 92337
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.248    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Glendale Best Insurance Svc                                  Contingent
         1236 S. Glendale Ave #A                                      Unliquidated
         Glendale, CA 91205
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.249    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         GLG, Inc.                                                    Contingent
         6332 S. Rainbow Blvd #100                                    Unliquidated
         Las Vegas, NV 89118
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.250    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $12,713.00
         GLOBAL STAR TRANS INC                                        Contingent
         3500 DATA DRIVE APT 262                                      Unliquidated
         Rancho Cordova, CA 95670
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.251    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,343.00
         GNTTC, INC                                                   Contingent
         19610 SERMAN WAY UNIT 1                                      Unliquidated
         Reseda, CA 91335
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.252    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Go To Premium Finance                                        Contingent
         PO Box 4312                                                  Unliquidated
         Woodland Hills, CA 91365
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.253    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,975.00
         GOLD CARRIERS, INC                                           Contingent
         5620 DISTRICK BLVD APT 1089331                               Unliquidated
         Bakersfield, CA 93313
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.254    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $7,125.00
         GOLDEN HAWK TRANSPORTATION INC                               Contingent
         3400 E ROSE ST                                               Unliquidated
         Compton, CA 90221
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.255    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Golden Pro Insurance Svcs, Inc                               Contingent
         28048 Bouquest Canyon Road                                   Unliquidated
         Suite #2
                                                                      Disputed
         Santa Clarita, CA 91350
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2018-23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.256    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Gomez Insurance Agency                                       Contingent
         3651 Mitchell Rd #D                                          Unliquidated
         Ceres, CA 95307
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.257    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $9,938.00
         GOMEZ TRANSPORTATION, LLC                                    Contingent
         25208 MC COY AVE                                             Unliquidated
         Harbor City, CA 90710
                                                                      Disputed
         Date(s) debt was incurred 2020b
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.258    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,350.00
         GR CARRIER, INC                                              Contingent
         2955 OATES STREET                                            Unliquidated
         West Sacramento, CA 95691
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.259    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Grandeza Ins Brokerage, Inc.                                 Contingent
         17791 Exa Court                                              Unliquidated
         Carson, CA 90746
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.260    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Granite Premium Finance Inc                                  Contingent
         PO Box 66501                                                 Unliquidated
         Saint Louis, MO 63166
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.261    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $12,749.00
         GREGORY MAGEE II                                             Contingent
         6327 MELODY LANE APT 2724                                    Unliquidated
         Dallas, TX 75231
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.262    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $10,860.00
         GREWAL FREIGHTWAY INC                                        Contingent
         3612 W SAN JOSE AVE APT 213                                  Unliquidated
         Fresno, CA 93711
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.263    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,250.00
         GULCHUCKS TRANSPORTATION SERVI                               Contingent
         2201 FOREST LAKE DRIVE                                       Unliquidated
         95670
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.264    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,071.00
         GURCHARANJIT SINGH                                           Contingent
         DBA: SANGER BROS                                             Unliquidated
         4231 E CLAYTON AVE
                                                                      Disputed
         Fresno, CA 93725
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2020
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.265    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,150.00
         GURMINDER SINGH                                              Contingent
         1700 N Tully Rd Apt E238                                     Unliquidated
         Turlock, CA 95380
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.266    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,070.00
         Gurnam Singh dba: NS Transport                               Contingent
         2301 W BELMONT AVE                                           Unliquidated
         Fresno, CA 93728
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.267    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,458.00
         Gurnam Transport, Inc                                        Contingent
         2396 South Golden Gate Blvd                                  Unliquidated
         Fowler, CA 93625
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.268    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,922.00
         GURPINDER SINGH                                              Contingent
         DBA SAMRA TRUCK LINE                                         Unliquidated
         Delhi, CA 95315
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.269    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $8,840.00
         GURPREET SINGH                                               Contingent
         DBA JAKARA TRAN                                              Unliquidated
         1916 WOODLAND DRIVE
                                                                      Disputed
         Yuba City, CA 95991
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.270    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,925.00
         GURPREET SINGH                                               Contingent
         DBA BAAZ TRUCK LINE                                          Unliquidated
         1740 REILLY ROAD
                                                                      Disputed
         Merced, CA 95341
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.271    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $8,840.00
         GURPREET SINGH DBA LIVE TRUCKI                               Contingent
         3032 N VAHE AVE                                              Unliquidated
         Fresno, CA 93737
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.272    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,584.00
         GURPREET SINGH DBA RED TRANSPO                               Contingent
         6082 N DELBERT AVE                                           Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.273    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,880.00
         GURPREET SINGH PADDA                                         Contingent
         DBA BLUE HORSE TRANSPORT                                     Unliquidated
         Fresno, CA 93711
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.274    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,513.00
         GURSEWAK S GILL                                              Contingent
         3469 W BENJAMIN HOLT DR #497                                 Unliquidated
         Stockton, CA 95219
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.275    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,063.00
         H LOMELI TRUCKING LLC                                        Contingent
         2093 FOOTHILLL AVE                                           Unliquidated
         San Bernardino, CA 92410
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.276    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $33,213.00
         H2B LOGISTICS LLC                                            Contingent
         1204 SUMMER LANE                                             Unliquidated
         McKinney, TX 75071
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.277    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,900.00
         HANJIE TRUCKING                                              Contingent
         7737 MEADOWCREST CT                                          Unliquidated
         Rancho Cucamonga, CA 91730
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.278    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,985.00
         HAR EXPRESS INC                                              Contingent
         7003 N SHIRAZ AVE                                            Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.279    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,125.00
         HAR TRANSPORT INC                                            Contingent
         14447 FIRESTONE BLVD                                         Unliquidated
         La Mirada, CA 90638
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.280    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,103.00
         HARBINDER SINGH DHALIWAL DBA D                               Contingent
         9245 STEPHENS ST                                             Unliquidated
         Delhi, CA 95315
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.281    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,761.00
         HARDEEP SINGH DBA CALI RYDAZ T                               Contingent
         762 SUGAR PINE DRIVE                                         Unliquidated
         Lathrop, CA 95330
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.282    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,000.00
         HARDIP SINGH DBA HARRY TRUCKIN                               Contingent
         1849 NELSON BLVD APT 144                                     Unliquidated
         Selma, CA 93662
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.283    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,468.00
         HARJINDER SINGH                                              Contingent
         2190 N SCHNOOR ST #124                                       Unliquidated
         Madera, CA 93637
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.284    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $8,275.00
         HARJOT SINGH MAAN                                            Contingent
         DBA SMS TRANSPORT                                            Unliquidated
         6838 W FALLON AVE
                                                                      Disputed
         Nashville, TN 37220
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.285    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,800.00
         HARMAN TRUCK LINE INC                                        Contingent
         7529 REESE RD                                                Unliquidated
         Sacramento, CA 95828
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.286    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,078.00
         HARMANDEEP SINGH KHANGURA DBA                                Contingent
         DBA PARAM TRUCKING                                           Unliquidated
         2306 AMANECER AVE
                                                                      Disputed
         Clovis, CA 93619
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2022
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.287    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,550.00
         HARMINDER SINGH DBA DTC                                      Contingent
         3111 S CHESTNUT AVE                                          Unliquidated
         Fresno, CA 93725
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.288    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         HARNOOR TRANSPORT INC                                        Contingent
         1545 JODI DRIVE                                              Unliquidated
         Yuba City, CA 95993
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt 4970
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.289    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,808.00
         HAROLD R CHANDRA                                             Contingent
         3594 CRISSWELL DRIVE                                         Unliquidated
         Elk Grove, CA 95624
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.290    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,890.00
         HARPREET SINGH VIRK DBA VIRK T                               Contingent
         4408 TRUXEL RD APT 38                                        Unliquidated
         Sacramento, CA 95834
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.291    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,225.00
         HARRY SUN TRUCKING LLC                                       Contingent
         5545 N MADELYN AVE                                           Unliquidated
         Fresno, CA 93723
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.292    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $8,525.00
         HARWINDER SINGH                                              Contingent
         4501 MARPLE CREST STREET                                     Unliquidated
         Sacramento, CA 95834
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.293    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,275.00
         HAUL LOGISTICS                                               Contingent
         4951 W JACQUELYN AVE                                         Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.294    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,020.00
         Haul Master Carriers LLC                                     Contingent
         33200 Rd 212                                                 Unliquidated
         Woodlake, CA 93286
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.295    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Heffernan Insurance Brokers                                  Contingent
         1350 Carlback Avenue                                         Unliquidated
         Walnut Creek, CA 94596
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.296    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,425.00
         HIGHWAY FREIGHT INC                                          Contingent
         1220 S CLOVER AVE                                            Unliquidated
         Fresno, CA 93727
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.297    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $207,130.00
         Hilltop Specialty Insurance Co                               Contingent
         Hudson Insurance Group                                       Unliquidated
         100 William Street 5th Floor
                                                                      Disputed
         New York, NY 10038
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2018-23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.298    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         HNI Risk Services LLC                                        Contingent
         16805 West Cleveland Ave                                     Unliquidated
         New Berlin, WI 53151                                         Disputed
         Date(s) debt was incurred 2018-2023
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.299    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,750.00
         HONEY BEE, Inc                                               Contingent
         2207 E CARSON ST                                             Unliquidated
         Long Beach, CA 90810
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.300    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,650.00
         HOWE TRANSPORT LLC                                           Contingent
         1140 CEDAR AVE                                               Unliquidated
         Bloomington, CA 92316
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.301    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $16,412.00
         HPH TRANSPORTATION INC                                       Contingent
         9250 TUJUNGA AVE                                             Unliquidated
         Sun Valley, CA 91352
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.302    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $10,025.00
         HSD CARRIER INC                                              Contingent
         4402 RIO VIEJO DRIVE                                         Unliquidated
         Bakersfield, CA 93313
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.303    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,575.00
         HSK CARRIERS INC                                             Contingent
         15543 Castellion Rd                                          Unliquidated
         Fontana, CA 92337
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.304    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Hub International Midwest Ltd                                Contingent
         PO Box 158                                                   Unliquidated
         Evansville, IN 47701
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.305    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $12,200.00
         HUDSONBYRD TRUCKING LLC                                      Contingent
         525 HIGHWAY 4 E                                              Unliquidated
         Ashland, MS 38603
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.306    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,049.00
         HUMBERTO ELIZALDE                                            Contingent
         1558 N ST                                                    Unliquidated
         Newman, CA 95360
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.307    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,025.00
         HUMBLE FREIGHT CARRIER INC                                   Contingent
         4225 W CAPTIOL AVE                                           Unliquidated
         Clovis, CA 93611
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.308    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,959.00
         HUNDAL BROS EXPRESS INC                                      Contingent
         10865 WALNUT DRIVE                                           Unliquidated
         Fontana, CA 92335
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.309    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,848.00
         HUSKY GROUP INC                                              Contingent
         11414 PENROSE AVE                                            Unliquidated
         Sun Valley, CA 91352
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.310    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $24,090.00
         HUSKY GROUP INC                                              Contingent
         11434 PENROSE ST                                             Unliquidated
         Sun Valley, CA 91352
                                                                      Disputed
         Date(s) debt was incurred 202
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.311    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,283.00
         I Truck Road LLC                                             Contingent
         291 Del Amo Fashion Ct #13114                                Unliquidated
         Torrance, CA 90503
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.312    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $15,500.00
         IAHORIA TRANS INC                                            Contingent
         1596 ALICIA WAY                                              Unliquidated
         Sacramento, CA 95835
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.313    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,250.00
         IBROKHIM KAYUMOV                                             Contingent
         1408 48TH AVE                                                Unliquidated
         San Francisco, CA 94122
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.314    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,655.00
         ICELAND EXPRESS INC                                          Contingent
         3661 W SHIELDS AVE APT 156                                   Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.315    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,075.00
         IHAR ZVERAU                                                  Contingent
         DBA CD MOVING & TRANSPORTATION                               Unliquidated
         11475 Penrose St.
                                                                      Disputed
         Sun Valley, CA 91352
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2020
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.316    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Inatellect Insurance Solutions                               Contingent
         417 West Arden Ave #121A                                     Unliquidated
         Glendale, CA 91203
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.317    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $246.48
         Inland Business Systems                                      Contingent
         PO Box 843760                                                Unliquidated
         Los Angeles, CA 90084
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.318    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Insurance Finance Company LLC                                Contingent
         PO Box 315                                                   Unliquidated
         Des Moines, IA 50306
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.319    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Insuremart, Inc.                                             Contingent
         265 S. Rainbow Blvd #310                                     Unliquidated
         Las Vegas, NV 89146
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.320    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Integrity Network Ins Group                                  Contingent
         1315 Grand Ave Pkwy#101                                      Unliquidated
         Pflugerville, TX 78660
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.321    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Inter Red Insurance Svcs                                     Contingent
         9765 Marconi Drive #105                                      Unliquidated
         San Diego, CA 92154
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.322    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Inzone Insurance Services                                    Contingent
         fka G.M. Lawrence Ins. Broker                                Unliquidated
         776 Lorraine Avenue #214
                                                                      Disputed
         Stockton, CA 95210
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2018-23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.323    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $40,161.85
         IPFS                                                         Contingent
         PO Box 412086                                                Unliquidated
         Kansas City, MO 64105
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.324    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $11,882.00
         ITZEL BIBIANO DBA M AND I TRAN                               Contingent
         1820 HARTMAN ROAD                                            Unliquidated
         Livermore, CA 94551
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.325    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Ivan Marquez Agency                                          Contingent
         801 15th Street #A                                           Unliquidated
         Burbank, CA 91506
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.326    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $9,112.00
         J & D TRANS, INC                                             Contingent
         1816 GOLDEN STATE AVE                                        Unliquidated
         `
                                                                      Disputed
         Bakersfield, CA 93301
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2022
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.327    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,793.00
         J & J TRUCKLINES INC                                         Contingent
         1002 FRONTAGE RD                                             Unliquidated
         Ripon, CA 95366
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.328    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,500.00
         J C LOGISTICS LLC                                            Contingent
         8631 LIVE OAK                                                Unliquidated
         Fontana, CA 92335
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.329    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         J&S Insurance Agency                                         Contingent
         18709 116th Avenue East                                      Unliquidated
         Puyallup, WA 98374
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.330    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,875.00
         JACKPOT EXPRESS INC                                          Contingent
         600 HOSKING AVE APT 540                                      Unliquidated
         Bakersfield, CA 93307
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.331    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Jagdeep Singh Ins Agency, Inc.                               Contingent
         4185 West Figarden Dr. #101                                  Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.332    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $10,095.00
         JAGDISH SINGH SRAN DBA APV TRA                               Contingent
         7601 SUNRISE BLVD SUITE 5                                    Unliquidated
         New York, NY 10095
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.333    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,999.00
         JAGDISH SINGH SRAN DBA APV TRA                               Contingent
         3175 SANKEY ROAD                                             Unliquidated
         Pleasant Grove, CA 95668                                     Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.334    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,790.00
         JAGJEET SINGH DBA: FAST EXPRE                                Contingent
         3965 W SHIELD AVE #23                                        Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.335    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $9,331.00
         JAN CARRIER, INC                                             Contingent
         701 ROOSTER DRIVE                                            Unliquidated
         Bakersfield, CA 93307
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt 1
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.336    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $661.00
         JARET PYE                                                    Contingent
         DBA BILL PYE TRUCKING LLC                                    Unliquidated
         4602 S BUDLONG AVE
                                                                      Disputed
         Los Angeles, CA 90037
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2020
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.337    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,875.00
         JARNAIL SINGH                                                Contingent
         DBA ON TIME TRUCKING                                         Unliquidated
         1301 RICHLAND AVE APT 141
                                                                      Disputed
         Modesto, CA 95351
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.338    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $8,175.00
         JARNAIL SINGH DHALIWAL                                       Contingent
         DBA DHALIWAL TRUCKING                                        Unliquidated
         600 HOSKING AVE APT 7D
                                                                      Disputed
         Bakersfield, CA 93307
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.339    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $16,195.00
         JASVINDER SINGH DBA NS TRANSPO                               Contingent
         6651 W KADOTA AVE                                            Unliquidated
         Fresno, CA 93723
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.340    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,725.00
         JASVIR KAUR DBA JAGAT TRANSPOR                               Contingent
         5187 W CARMEN AVE                                            Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.341    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $8,018.00
         JASWINDER KAUR                                               Contingent
         DBA GOLDEN STATE TRUCKING                                    Unliquidated
         1187 N WILLOW AVE STE 103 #814
                                                                      Disputed
         Clovis, CA 93611
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2020
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.342    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,460.00
         JATINDER SINGH DBA DHAILWAL                                  Contingent
         888 BETHEL AVE APT 130                                       Unliquidated
         Sanger, CA 93657
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.343    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,601.00
         JATINDERPAL SINGH GARCHA                                     Contingent
         DBA GARCHA EXPRESS                                           Unliquidated
         3880 MOUNTAIN VIEW ROAD,
                                                                      Disputed
         Turlock, CA 95382
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2020
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.344    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Javier Chavez Agency LLC                                     Contingent
         14531 Kentley Orchard Lane                                   Unliquidated
         Cypress, TX 77429
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.345    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Javier Insruance Services                                    Contingent
         12116 Garfield Avenue                                        Unliquidated
         South Gate, CA 90280
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.346    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,233.00
         Jawanda Express Inc                                          Contingent
         1595 Solistra CIR                                            Unliquidated
         Colton, CA 92324
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.347    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,725.00
         JBSN TRANSPORT INC                                           Contingent
         5414 E LAURITE AVE                                           Unliquidated
         Fresno, CA 93727
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.348    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $13,650.00
         JD SUKH EXPRESS                                              Contingent
         8700 ANTELOPE NORTH RD                                       Unliquidated
         Antelope, CA 95843
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.349    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,400.00
         Jesus Emmanuel Hernandez Meza                                Contingent
         dba J&M Transport                                            Unliquidated
         46155 DILLON ROAD
                                                                      Disputed
         Sylmar, CA 91342
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2022
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.350    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,113.00
         JHAND CARRIER, INC                                           Contingent
         5301 N VALENTINE AVE APT 157                                 Unliquidated
         Date(s) debt was incurred 2021                               Disputed
         Last 4 digits of account number                           Basis for the claim: Business debt

                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.351    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $36,214.00
         JNB LOGISTICS INC                                            Contingent
         15627 W BOTELHO AVE                                          Unliquidated
         Kerman, CA 93630
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.352    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,832.00
         JOGA SINGH DBA SGS TRANS INC                                 Contingent
         3075 W NIELSON AVE                                           Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.353    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Jones Trucking Ins. Agency Inc                               Contingent
         10100 Saddlecreek Road                                       Unliquidated
         Waco, TX 76708
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.354    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,667.00
         JONPAL SINGH                                                 Contingent
         2572 S UNION ROAD                                            Unliquidated
         Bakersfield, CA 93307
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.355    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Jordan A. Bremer                                             Contingent
         2530 P Street                                                Unliquidated
         Merced, CA 95340
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.356    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,550.00
         JOSE LUIS VASQUEZ                                            Contingent
         2538 S UNION AVE                                             Unliquidated
         Bakersfield, CA 93307
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.357    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,762.00
         JS SINGH                                                     Contingent
         4375 N GOLDEN STATE BLVD                                     Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.358    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $93,722.00
         JS SINGH                                                     Contingent
         4460 W SHAW AVE PMB 379                                      Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.359    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $8,082.00
         JS SINGH                                                     Contingent
         6103 SHINING SUNSET DRIVE                                    Unliquidated
         Sparks, NV 89436
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.360    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         JTC Insurance Agency                                         Contingent
         17800 Castleton Street                                       Unliquidated
         Rowland Heights, CA 91748
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.361    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,125.00
         JUAN A VELAZQUEZ                                             Contingent
         DBA JAM TRUCK                                                Unliquidated
         1109 KLEEMAN WAY                                             Disputed
         Arbuckle, CA 95912
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.362    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,970.00
         JUAN AMERICANO HERNANDEZ                                     Contingent
         DBA j&a TRUCKING                                             Unliquidated
         2850 LOOMIS RD
                                                                      Disputed
         Stockton, CA 95205
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.363    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,500.00
         JUAN LUNA CASTELLANOS                                        Contingent
         11392 SKY COUNTRY DRIVE                                      Unliquidated
         Mira Loma, CA 91752
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.364    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,390.00
         JUAN MANUEL AMEZCUA                                          Contingent
         14201 COSTAJO RD                                             Unliquidated
         Bakersfield, CA 93313
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.365    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $13,655.00
         JUJHAR SINGH DBA BINDRA EXPRES                               Contingent
         4101 E NORTH AVE                                             Unliquidated
         Fresno, CA 93725
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: `Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.366    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,925.00
         JULIO CESAR CORTEZ                                           Contingent
         9317 Bandera St                                              Unliquidated
         Los Angeles, CA 90002
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.367    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,875.00
         Julio Orellana Prieto                                        Contingent
         dba OP&J Trucking                                            Unliquidated
         14320 Soldedad Canyon
                                                                      Disputed
         Canyon Country, CA 91387
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2020
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.368    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,970.00
         K JOT TRUCKING INC                                           Contingent
         2881 E JENSON AVE                                            Unliquidated
         Fresno, CA 93706
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.369    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,763.00
         K&P Transportation LLC                                       Contingent
         1565 Sekio Ave                                               Unliquidated
         Rowland Heights, CA 91748
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.370    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $123,807.00
         KANGAROOFREIGHT LINES INC                                    Contingent
         DBA KFL INC.                                                 Unliquidated
         9881 ELDER CREEK RD
                                                                      Disputed
         Sacramento, CA 95829
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.371    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $723.00
         KANWALJIT SINGH                                              Contingent
         10322 W LINNE RD                                             Unliquidated
         Tracy, CA 95376
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.372    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,588.00
         KATERIN K KHACHIKYAN DBA WHITE                               Contingent
                                                                      Unliquidated
         Date(s) debt was incurred 2020
                                                                      Disputed
         Last 4 digits of account number
                                                                   Basis for the claim: Business debt

                                                                   Is the claim subject to offset?     No       Yes

3.373    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,850.00
         KAUFMAMNNS LLC                                               Contingent
         241 W. Rialto Ave Unit 805                                   Unliquidated
         Baker, CA 92309
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.374    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $16,118.00
         KAWALJIT SINGH BAJWA                                         Contingent
         11756 ROSE WIND CT                                           Unliquidated
         Rancho Cordova, CA 95742
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.375    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,998.00
         KAZZANOS TRUCKING INC                                        Contingent
         652 E 12TH STREET                                            Unliquidated
         Los Angeles, CA 90023
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.376    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $11,275.00
         KD TRANSIT INC                                               Contingent
         3565 W BARSTOW AVE APT 217                                   Unliquidated
         Fresno, CA 93711                                             Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.377    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Kemper CPA Group LLP                                         Contingent
         3031 W. March Lane #133 South                                Unliquidated
         Stockton, CA 95219
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.378    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $13,968.00
         KEVIN LOUIS HARRIS
         DBA HARRIS FAMILY TRUCKING                                   Contingent
         20030 CRESTVIEW DRIVER 134                                   Unliquidated
         Canyon Country, CA 91351                                     Disputed
         Date(s) debt was
                                                                   Basis for the claim: Business debt
         incurred 20030 CRESTVIEW DRIVER 134
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.379    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,550.00
         KEVIN POOLER DBA: POOLER TRUCK                               Contingent
         4236 SO HIGHWAY 99                                           Unliquidated
         Stockton, CA 95215
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.380    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,743.00
         KEVINDEEP SINGH BRAR DBA: CALI                               Contingent
         4231 N BAIN AVE                                              Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 93722
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.381    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,100.00
         Khachik Sahakyan dba GS 12                                   Contingent
         11475 Penrose St.                                            Unliquidated
         Sun Valley, CA 91352
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.382    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,345.00
         KHATTRA CARGO INC                                            Contingent
         5118 BLUE BROOK DRIVE                                        Unliquidated
         Bakersfield, CA 93313
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.383    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,150.00
         KHUSHWANT SINGH                                              Contingent
         596 ANNA DRIVE                                               Unliquidated
         Yuba City, CA 95993                                          Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.384    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $7,788.00
         KHUSHWANT SINGH                                              Contingent
         596 ANNA DRIVE                                               Unliquidated
         Yuba City, CA 95993
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.385    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,850.00
         KHUSHWANT SINGH                                              Contingent
         2730 W PRINCETON AVE                                         Unliquidated
         Fresno, CA 93705
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.386    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Kingpin Insurance Services                                   Contingent
         30545 Union City Blvd.                                       Unliquidated
         Union City, CA 94587
                                                                      Disputed
         Date(s) debt was incurred 2018-2023
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.387    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,548.00
         KKR TRANSPORTATION, INC                                      Contingent
         4259 W CAMBRIDGE AVE                                         Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.388    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,450.00
         KNIGHTAEH INC                                                Contingent
         144 N CEDAR ST                                               Unliquidated
         Glendale, CA 91206
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.389    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $10,225.00
         KRS LOGISTICS, INC                                           Contingent
         KRS LOGISTICS, INC                                           Unliquidated
         Fresno, CA 93723
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.390    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,900.00
         KS KHALSA TRANSPORT INC                                      Contingent
         6221 W SAN JOSE AVE                                          Unliquidated
         Fresno, CA 93723                                             Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.391    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,875.00
         KULWINDER SINGH DBA KS GILL                                  Contingent
         404 S WAVERLY LANE APT 117                                   Unliquidated
         Fresno, CA 93727
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.392    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Kunkel & Associates, Inc.                                    Contingent
         401 Data Court                                               Unliquidated
         Dubuque, IA 52003
                                                                      Disputed
         Date(s) debt was incurred 2018-2023
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.393    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $20,425.00
         L&J CARGO INC                                                Contingent
         14111 Soledad Canyon Rd                                      Unliquidated
         Canyon Country, CA 91387
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.394    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $45,000.00
         LA West Insurance Services                                   Contingent
         5177 W. Sunset Blvd                                          Unliquidated
         Los Angeles, CA 90027
                                                                      Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.395    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,575.00
         LAKHWINDER SINGH GILL DBA GHL                                Contingent
         6251E AMERICAN AVE                                           Unliquidated
         Date(s) debt was incurred 2021                               Disputed
         Last 4 digits of account number                           Basis for the claim: Business debt

                                                                   Is the claim subject to offset?     No       Yes

3.396    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Lancashire Insurance Company                                 Contingent
         20 Fenchurch Street                                          Unliquidated
         London , EC3M 3BY                                            Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.397    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $56,565.00
         LANCER TRANSPORT LLC                                         Contingent
         10961 LARCH AVE                                              Unliquidated
         Riverside, CA 92516
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.398    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $9,123.00
         LAZO TRANSPORTATION INC                                      Contingent
         9441 OPAL AVE                                                Unliquidated
         Mentone, CA 92359
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.399    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Leap Carpenter Kemp Insurance                                Contingent
         3187 Collins Drive                                           Unliquidated
         Merced, CA 95348
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.400    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,062.30
         Licensing Professionals                                      Contingent
         PO Box 566                                                   Unliquidated
         Lynden, WA 98264
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.401    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $9,810.00
         LINK FREIGHT LINE INC                                        Contingent
         20 W COLLEGE PKW APT 154 M                                   Unliquidated
         Carson City, NV 89706
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.402    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Links Insurance Services                                     Contingent
         6200 Village Parkway #203                                    Unliquidated
         Dublin, CA 94568
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.403    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,640.00
         LITTLE MAN MOVING SERVICES, LL                               Contingent
         3761 N 298TH DRIVE                                           Unliquidated
         Buckeye, AZ 85396
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.404    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,850.00
         LKW TRANSPORTATION                                           Contingent
         82560 AIRPORT BLVD                                           Unliquidated
         Sylmar, CA 91342
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.405    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $8,125.00
         LLX GROUP INC                                                Contingent
         8595 MILLIKEN AVE                                            Unliquidated
         Temple City, CA 91780
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.406    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $8,775.00
         LONDON EXPRESS, INC                                          Contingent
         3400 EAST 8 MILE                                             Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.407    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $26,033.00
         LONNIE DUANE HICKEY                                          Contingent
         DBA RENEGADE LOGISTICS                                       Unliquidated
         108 S LONGHORN DR
                                                                      Disputed
         Weatherford, TX 76085
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.408    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $10,448.00
         LPL TRANSPORT INC                                            Contingent
         519 4TH ST PMB 118                                           Unliquidated
         Clovis, CA 93612
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.409    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $12,946.00
         LU WAY TRANSPORTATION, LLC                                   Contingent
         6956 DUBLIN DR                                               Unliquidated
         Chino, CA 91710                                              Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.410    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Lubemer International Ins                                    Contingent
         11859 Inglewood Avenue                                       Unliquidated
         Hawthorne, CA 90250
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.411    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Lubin-Bergman Organization                                   Contingent
         5 Revere Drive #370                                          Unliquidated
         Northbrook, IL 60062
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.412    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Lucila's Insurance Services                                  Contingent
         12116 Garfield Avenue                                        Unliquidated
         South Gate, CA 90280
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.413    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $39,690.00
         LVL, LLC                                                     Contingent
         DBA STARDUST TRANSPORTATION                                  Unliquidated
         DBA STARDUST TRANSPOR                                        Disputed
         Las Vegas, NV 89103
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2022
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.414    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Lxtus Insurance Services                                     Contingent
         848 Clovis Avenue                                            Unliquidated
         Clovis, CA 93612
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.415    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $793.00
         M AND I TRANSPORT                                            Contingent
         898 HERMAN AVE APT 109                                       Unliquidated
         Livermore, CA 94551
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.416    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,980.00
         M G S TRUCKING                                               Contingent
         1200 ACACIA AVE                                              Unliquidated
         Sutter, CA 95982
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.417    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $16,238.00
         MAA LOGISTICS INC                                            Contingent
         2572 S UNION RD                                              Unliquidated
         Fresno, CA 93703
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.418    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $11,500.00
         MACHINERY TRANSPORT LLC                                      Contingent
         3397 HWY 259S                                                Unliquidated
         Henderson, TX 75653
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.419    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,350.00
         MAGMATUS, LLC                                                Contingent
         1133 JUSTIN AVE #214                                         Unliquidated
         Glendale, CA 91201
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.420    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $8,425.00
         MAHI LOGISTICS INC                                           Contingent
         6752 VINELAND RD                                             Unliquidated
         Bakersfield, CA 93307
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.421    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,380.00
         MAJ TRUCKING LLC                                             Contingent
         13500 MARLAY AVE                                             Unliquidated
         Fontana, CA 92337
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.422    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,375.00
         MAJHA EXPRESS INC                                            Contingent
         1346 EAST TAYLOR STREET                                      Unliquidated
         San Jose, CA 95133
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.423    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $12,625.00
         MALWA HAULIER INC                                            Contingent
         400 GANDY DANCER DR                                          Unliquidated
         Tracy, CA 95377
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.424    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $9,820.00
         MAND LOGISTICS INC                                           Contingent
         3602 W SAN JOSE AVE APT 140                                  Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.425    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,546.00
         MANJINDER SINGH DBA MANAK TRAN                               Contingent
         555 S ARGYLE AVE APT 122                                     Unliquidated
         Fresno, CA 93727                                             Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.426    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,915.00
         MANJIT SINGH                                                 Contingent
         DBA LOVEJOT TRANSPORT                                        Unliquidated
         19758 SANTA ANA AVE
                                                                      Disputed
         Bloomington, CA 92316
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.427    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $10,330.00
         MANPREET SINGH DBA M & M CARGO                               Contingent
         6428 GREEN GARDEN DR                                         Unliquidated
         Bakersfield, CA 93313
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.428    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,123.00
         MANUEL SALVADOR RODRIGUEZ                                    Contingent
          DBA SALS TRANSPORTATION                                     Unliquidated
         195 98TH AVE
                                                                      Disputed
         Oakland, CA 94603
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2020
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.429    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,112.00
         MARCO A RICO DBA IMPERIAL FREI                               Contingent
         2712 MEADOWBRROK DR                                          Unliquidated
         Imperial, CA 92251
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.430    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $11,850.00
         MARCOS A GONZALEZ CERROS DBA M                               Contingent
         1590 11TH ST                                                 Unliquidated
         Mendota, CA 93640
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.431    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Marquee Insurance Group LLC                                  Contingent
         1000 Holcomb Woods Pkwy #315A                                Unliquidated
         Roswell, GA 30076
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.432    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Marshall-Sutton & Associates                                 Contingent
         1209 N.Saginaw Blvd #G-251                                   Unliquidated
         Fort Worth, TX 76179
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.433    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,925.00
         MARTIN & DANIE MORALES                                       Contingent
         DBA MORALES TRUCKING                                         Unliquidated
         11405 DOWNEY AVE
                                                                      Disputed
         Downey, CA 90241
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2020
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.434    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $8,307.00
         MARVIN ANTONIO DIAZ MENDOZA                                  Contingent
         DBA AM TRANSPORT                                             Unliquidated
         31901 SAN VICENTE RD
                                                                      Disputed
         San Diego, CA 92121
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2022
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.435    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,475.00
         MASSEYS TRANS INC                                            Contingent
         15794 Boyle Ave                                              Unliquidated
         Fontana, CA 92334
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.436    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Matthew Hernandez                                            Contingent
         5410 Rainbow Lane                                            Unliquidated
         Atwater, CA 95301
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.437    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,230.00
         MBT TRANSPORT INC                                            Contingent
         3139S H STREET APT 20                                        Unliquidated
         Robbins, CA 95676
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.438    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,363.00
         MBT TRANSPORT INC                                            Contingent
         3139S H STREET APT 20                                        Unliquidated
         Bakersfield, CA 93304
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.439    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $13,794.00
         MCFARLAND LOGISTICS INC                                      Contingent
         8701 US 395                                                  Unliquidated
         Hesperia, CA 92344
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.440    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,650.00
         McGuire Transport LLC                                        Contingent
         9445 BELLEGRAVE AVE                                          Unliquidated
         Baker, CA 92309
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.441    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         McMillan Insurance Group                                     Contingent
         Division of World Ins. Assoc                                 Unliquidated
         656 Shrewsbury Avenue #200
                                                                      Disputed
         Red Bank, NJ 07701
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2018-23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.442    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         McMillan Insurance Group                                     Contingent
         5608 Malvey Ave #119                                         Unliquidated
         Fort Worth, TX 76107
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.443    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $33,950.00
         MDM TRANS, INC                                               Contingent
         11475 Penrose St.                                            Unliquidated
         Sun Valley, CA 91352
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.444    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,450.00
         Metro Express International LL                               Contingent
         6531 Rhodes Ave                                              Unliquidated
         North Hollywood, CA 91606
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.445    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $17,452.00
         MHOOPER TRANSPORTATION LLC                                   Contingent
         3525 ISLAND AVE #D                                           Unliquidated
         San Diego, CA 92102
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.446    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,970.00
         MIA EXPRESS LLC                                              Contingent
         27441 N BLACK CANYON HWY UNIT                                Unliquidated
         Stockton, CA 95205
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.447    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,230.00
         MIA EXPRESS LLC                                              Contingent
         27441 N BLACK CNYN HWY #T 107                                Unliquidated
         Phoenix, AZ 85085
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.448    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Michael Hasan, CPA                                           Contingent
         5927 Balfour Court 115                                       Unliquidated
         Carlsbad, CA 92008
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.449    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Michael Kennedy Ins Agency                                   Contingent
         2295 Fletcher Parkway #100                                   Unliquidated
         El Cajon, CA 92020
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.450    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,525.00
         Mickey and Sons Inc                                          Contingent
         11475 Penrose St.                                            Unliquidated
         Sun Valley, CA 91352
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.451    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Millennium Finance Corp                                      Contingent
         PO Box 66501                                                 Unliquidated
         Saint Louis, MO 63166
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.452    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $622.96
         Mitel                                                        Contingent
         PO Box 53230                                                 Unliquidated
         Phoenix, AZ 85072                                            Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.453    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $7,250.00
         MK TRUCKLINES INC                                            Contingent
         1405 S POST ROAD                                             Unliquidated
         Indianapolis, IN 46239
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.454    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,863.00
         MKS TRANS INC                                                Contingent
         2264 N MARKS AVE APT 234                                     Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.455    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,763.00
         MMH Transport LLC                                            Contingent
         4162 Mission BLVD                                            Unliquidated
         Montclair, CA 91763
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.456    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,375.00
         MNATSAKAN MIKE GRIGORYAN                                     Contingent
         11475 Penrose St.                                            Unliquidated
         Sun Valley, CA 91352
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.457    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,275.00
         MOHAMMAD BOOTA SHAHBAZ                                       Contingent
         DBA MAHER BROTHER                                            Unliquidated
         3645 EL DORADO ST
                                                                      Disputed
         Stockton, CA 95206
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.458    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,288.00
         Mohammad Ilkhani                                             Contingent
         dba Mozafari Trucking                                        Unliquidated
         115 S Wildwood Ave
                                                                      Disputed
         Glendora, CA 91741
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2020
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.459    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,565.00
         MOHAN SINGH DBA A&A TRUCK LINE                               Contingent
         2375 INDUSTRIAL ROWE                                         Unliquidated
         Turlock, CA 95380
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.460    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,275.00
         MOHI TRUCKING INC                                            Contingent
         6204 STINE RD APT C                                          Unliquidated
         Bakersfield, CA 93313                                        Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.461    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $14,250.00
         MPG TRANSPORTATION LLC                                       Contingent
         1030 COTTONWOOD ROAD                                         Unliquidated
         Bakersfield, CA 93307
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.462    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,305.00
         MSD TRANPSORTATION, LLC                                      Contingent
         9508 185TH STREET CT                                         Unliquidated
         PUYALLUP, WA 98735
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.463    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,137.00
         MST INS SVCS INC                                             Contingent
         5249 N CORNELIA AVE                                          Unliquidated
          CA 92722
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.464    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         MST Insurance Services, Inc.                                 Contingent
         2672 Amtchi Court                                            Unliquidated
         Tracy, CA 95304
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.465    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,920.00
         MT ON TIME, INC                                              Contingent
         11620 PEORIA ST                                              Unliquidated
         Sun Valley, CA 91352
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.466    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,500.00
         MTA Transport Inc                                            Contingent
         5140 W Ramsey St                                             Unliquidated
         Banning, CA 92220
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.467    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         MTG Insurance                                                Contingent
         106 East 12th Street                                         Unliquidated
         Benton, KY 42025
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.468    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $10,125.00
         MUHAMMAD ALI                                                 Contingent
         11582 QUARTZ DR                                              Unliquidated
         95602
                                                                      Disputed
         Auburn, CA 95602
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2022
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.469    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,275.00
         MUKHPAL SINGH                                                Contingent
         DBA MUKHPAL FREIIGHT CARRIERS                                Unliquidated
         2436 STAGECOACH RD
                                                                      Disputed
         Stockton, CA 95215
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.470    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $14,975.00
         MULTANI TRUCKING INC                                         Contingent
         4801 TULLY RD                                                Unliquidated
         Modesto, CA 95356
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.471    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,350.00
         Mustang Enterprise                                           Contingent
         8474 Coyote Trail                                            Unliquidated
         Hesperia, CA 92344
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.472    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $147.13
         MV Destiny Insurance                                         Contingent
         5629 N. Figarden Dr. #111                                    Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.473    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $10,312.00
         MVP LOGISTICS, LLC                                           Contingent
         4325 E GUASTI ROAD                                           Unliquidated
         Ontario, CA 91761
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.474    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $65,100.00
         MY NORTH ARROW, INC                                          Contingent
         185 CAJON BLVD                                               Unliquidated
         San Bernardino, CA 92407
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.475    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,450.00
         N & NB TRUCKING INC                                          Contingent
         2572 S UNION AVE                                             Unliquidated
         Bakersfield, CA 93307
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.476    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $62,475.00
         N S K FREIGHTLINES INC                                       Contingent
         619 EMERALD PLACE                                            Unliquidated
         Manteca, CA 95336
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.477    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,273.00
         NARWAL BROTHERS, INC                                         Contingent
         4449 N BRAWLEY AVE                                           Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.478    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,200.00
         NATAN TRUCKING LLC                                           Contingent
         9221 AMBERTON PARKWAY #140                                   Unliquidated
         Dallas, TX 75243
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.479    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         National Insurance Agency                                    Contingent
         7120 Minstrel Way #205                                       Unliquidated
         Columbia, MD 21045
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.480    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,058.00
         NAVJOT SINGH DBA GURNAV TRANSP                               Contingent
         3661 W SHIELDS AVE                                           Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.481    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $9,931.00
         NETWORK                                                      Contingent
         24701 ARTHUR ROAD                                            Unliquidated
         Escalon, CA 95320
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.482    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Network Truck Ins Svcs, Inc.                                 Contingent
         120 Main Street                                              Unliquidated
         Roseville, CA 95678
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.483    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $7,400.00
         NEW ERA LOGISTICS INC                                        Contingent
         11475 Penrose St.                                            Unliquidated
         Sun Valley, CA 91352
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt b
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.484    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         New Ray Insurance Brokers                                    Contingent
         780 West Grand Ave #C                                        Unliquidated
         Oakland, CA 94612
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.485    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,375.00
         NEW RENAISSANCE ENTERPRISE, IN                               Contingent
         11475 Penrose St.                                            Unliquidated
         Sun Valley, CA 91352
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.486    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Newfront Insurance Svc Inc                                   Contingent
         101 2nd Street #525                                          Unliquidated
         San Francisco, CA 94105
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.487    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $9,263.00
         NEXT LEVEL LOGISTICS, INC                                    Contingent
         1108 E PALMER AVE APT 19                                     Unliquidated
         Glendale, CA 91205
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.488    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,010.00
         NIJJAR BROTHERS INC                                          Contingent
         2733 W PRINCETON AVE                                         Unliquidated
         Fresno, CA 93705
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.489    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $10,050.00
         NIRMAL SINGH AUJLA DBA SSA TRU                               Contingent
         2733 PRINCETON AVE                                           Unliquidated
         Meadow Vista, CA 95722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.490    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Noble West Insurance                                         Contingent
         205 Natoma Street                                            Unliquidated
         Folsom, CA 95630
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.491    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,520.00
         NORTH TRANS, INC                                             Contingent
         10322 W LINNE RD                                             Unliquidated
         Tracy, CA 95376
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.492    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,500.00
         NORTHERN VALLEY TRUCKING INC                                 Contingent
         1651 E WHITMORE AVE                                          Unliquidated
         Ceres, CA 95307
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.493    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,080.00
         NOW TRANSPORTATION, LLC                                      Contingent
         5330 WHEATON ST                                              Unliquidated
         La Mesa, CA 91942
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.494    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,500.00
         NW TRANSPORTATION, LLC                                       Contingent
         5327 S RIMPAU BLVD                                           Unliquidated
         Los Angeles, CA 90043
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.495    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,450.00
         OBAN TRANSPORTATION, INC                                     Contingent
         11475 PENROSE ST                                             Unliquidated
         Sun Valley, CA 91352
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.496    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Old Kentucky Insurance Inc                                   Contingent
         915 Lily Creek Road                                          Unliquidated
         Blakenbaker Office Park
                                                                      Disputed
         Louisville, KY 40243
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2018-23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.497    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         On the Road Insurance Services                               Contingent
         16225 Devonshire Street                                      Unliquidated
         Granada Hills, CA 91344
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.498    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,475.00
         On Time Freight, Inc.                                        Contingent
         1607 DUSTY MILLER LANE                                       Unliquidated
         Ceres, CA 95307
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.499    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,175.00
         ONKAR FREIGHT INC                                            Contingent
         3640 W NIELSEN AVE                                           Unliquidated
         Fresno, CA 93706
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.500    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $12,175.00
         ONKAR TRANSPORT INC                                          Contingent
         3150 N. WEBER AVE                                            Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.501    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,913.00
         ORBIT TRNSPORT INC                                           Contingent
         8215 Beech Ave                                               Unliquidated
         Fontana, CA 92335
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.502    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,950.00
         ORE LOGISTICS, LLC                                           Contingent
         6149 E BRICK DRIVE                                           Unliquidated
         Fresno, CA 93727
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.503    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,278.00
         ORFILIA E LOPEZ DE OCHOA                                     Contingent
         DBA: KILL TRANSPORT                                          Unliquidated
         8589 ETIWANDA AVE
                                                                      Disputed
         Rancho Cucamonga, CA 91739
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2022
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.504    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,275.00
         ORNELAS TRANSPORT COMPANY                                    Contingent
         430 N SACRAMENTO ST                                          Unliquidated
         Lodi, CA 95240
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: `Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.505    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,375.00
         OSP LOGISTICS INC                                            Contingent
         5925 MOONWOOD WAY                                            Unliquidated
         Bakersfield, CA 93313
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.506    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Ovia Insurance Services                                      Contingent
         1809 Banks Road                                              Unliquidated
         Pompano Beach, FL 33063                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.507    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,350.00
         OVSANNA KARAPETIAN DBA XTRA RO                               Contingent
         10865 WALNUT DRIVE                                           Unliquidated
         Sunland, CA 91040
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.508    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,093.00
         P GAT TRUCKING INC                                           Contingent
         2733 W PRINCETON AVE                                         Unliquidated
         Fresno, CA 93705
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.509    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Pacific Coast Premium Finance                                Contingent
         627 W. College Street                                        Unliquidated
         Grapevine, TX 76051
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.510    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Pacific Coast Truck Ins Svcs                                 Contingent
         18340 Yorba Linda Blvd                                       Unliquidated
         Suite 107-454
                                                                      Disputed
         Yorba Linda, CA 92886
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2018-23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.511    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,375.00
         PACO MORALES PEREZ                                           Contingent
          DBA CHABELAS TRUCKING                                       Unliquidated
         2440 E IMPERIAL HWY
                                                                      Disputed
         Selma, CA 93662
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.512    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,350.00
         PAL GILL TRUCKING                                            Contingent
         2572 S Union Ave                                             Unliquidated
         Bakersfield, CA 93313
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.513    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,795.00
         PAL GILL TRUCKING INC                                        Contingent
         2572 S UNION AVE                                             Unliquidated
         Bakersfield, CA 93313
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.514    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,025.00
         PALMA TRUCKING LLC                                           Contingent
         525 FLINT AVE                                                Unliquidated
         Wilmington, CA 90744
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.515    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,003.00
         PANNU CARGO INC                                              Contingent
         16900 Chatworth St Apt 102                                   Unliquidated
         Granada Hills, CA 91344
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.516    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,300.00
         Paracorp, Inc.                                               Contingent
         dba Parasec                                                  Unliquidated
         PO Box 160568
                                                                      Disputed
         Sacramento, CA 95816
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2018-23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.517    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,675.00
         PARAMJIT SINGH BARRING                                       Contingent
         5888 S CHERRY AVE                                            Unliquidated
         Fresno, CA 93706
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.518    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,475.00
         PARMINDERJEET SINGH DBA J&J TR                               Contingent
         1717 SHAFT ST                                                Unliquidated
         Selma, CA 93662
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.519    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,440.00
         PATIALA TRUCKLINE INC                                        Contingent
         5510 N MILBURN AVE APT 146                                   Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.520    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,885.00
         PAUL XPRESS, INC                                             Contingent
         1568 N DILBERT AVE                                           Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.521    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,125.00
         PAVEL DOROSHUK                                               Contingent
         9815 ANTELOPE ROAD                                           Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.522    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Peck & Peck Insruance Brokers                                Contingent
         1724 Laurel Street                                           Unliquidated
         San Carlos, CA 94070
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.523    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,464.00
         PELIA MULTANI TRANSPORT INC                                  Contingent
         3535S H STREET APT 51                                        Unliquidated
         Bakersfield, CA 93304
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.524    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,500.00
         PERFECT TRANSPORT LLC                                        Contingent
         1227 Stricker Ave #100                                       Unliquidated
         Sacramento, CA 95834
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.525    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,500.00
         PETRO TOPOV                                                  Contingent
         4147 SIERRA GOLD DRIVE                                       Unliquidated
         Antelope, CA 95843
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.526    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,218.00
         PLATINUM FREIGHT LINES, INC                                  Contingent
         1816 GOLDEN STATE AVE                                        Unliquidated
         Bakersfield, CA 93301
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.527    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Platinum Premium Finance                                     Contingent
         PO Box 66501                                                 Unliquidated
         Saint Louis, MO 63166
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.528    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $17,373.00
         PMSB SERVICES LLC                                            Contingent
         1716 BRIARCREST DRIVE SUITE 30                               Unliquidated
         Bryan, TX 77802
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.529    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,700.00
         PMSB SERVICES LLC                                            Contingent
         1716 BRIARCREST DRIVE                                        Unliquidated
         Bryan, TX 77802
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.530    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $16,150.00
         POTATO EXPRESS, INC                                          Contingent
         1791 SCHULTE DRIVE                                           Unliquidated
         San Jose, CA 95133
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.531    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $12,919.00
         POWAR TRANSPORT INC                                          Contingent
         2095 E SAINT ANDREW DRIVE                                    Unliquidated
         Fresno, CA 93730
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.532    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $10,795.00
         POWER PROS HOT SHOT LLC                                      Contingent
         8742 HELMS AVE                                               Unliquidated
         Rancho Cucamonga, CA 91730
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.533    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,742.00
         PRAB KIRPA                                                   Contingent
         8700 ANTELOPE NORTH ROAD                                     Unliquidated
         Antelope, CA 95843
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.534    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,879.00
         PRABHNOOR TRUCKING INC                                       Contingent
         2739 W PRINCETON AVE                                         Unliquidated
         Fresno, CA 93705
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.535    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Preferred Transportation Ins.                                Contingent
         12443 Lewis Street #102                                      Unliquidated
         Garden Grove, CA 92840
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.536    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Premco Financial Corp                                        Contingent
         P Box 19367                                                  Unliquidated
         Kalamazoo, MI 49019
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.537    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,718.00
         Premier Express                                              Contingent
         11461 Bartlett Way                                           Unliquidated
         Fontana, CA 92337
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.538    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Prestige Insurance Group Inc                                 Contingent
         12750 SW 128th St. #210                                      Unliquidated
         Memphis, TN 38186
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.539    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Prime Time Insurance Services                                Contingent
         651 K Avenue                                                 Unliquidated
         Plano, TX 75074
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.540    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,450.00
         PRIME TRUCKLINES                                             Contingent
         15603 LUCILLE CT                                             Unliquidated
         Canyon Country, CA 91387
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.541    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,550.00
         PRIORITY LOGISTICS INC                                       Contingent
         3640 W NIELSEN AVE                                           Unliquidated
         Fresno, CA 93706
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.542    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,025.00
         PRK TRANS INC                                                Contingent
         6105 W CLINTON AVE                                           Unliquidated
         Fresno, CA 93723
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.543    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Promaster                                                    Contingent
         dba Discovery Pro Insurance                                  Unliquidated
         5050 Shatto Place #201
                                                                      Disputed
         Los Angeles, CA 90020
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2018-23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.544    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Promminent Services Inc.                                     Contingent
         6912 NW 72 Avenue                                            Unliquidated
         Miami, FL 33166
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.545    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,025.00
         Proper Trucking Inc                                          Contingent
         11475 Penrose St.                                            Unliquidated
         Sun Valley, CA 91352
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.546    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,793.00
         PTL TRANSPORTATION                                           Contingent
         8840 GLACIER POINT DRIVE                                     Unliquidated
         Stockton, CA 95212
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.547    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $10,200.00
         QANAT RASUL                                                  Contingent
         24831 SOLVANG LANE                                           Unliquidated
         Menifee, CA 92584
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.548    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,850.00
         QUSAI SAAD ALBALAWI                                          Contingent
         140 EAST EL NORTE PKY 52                                     Unliquidated
         Sacramento, CA 95833
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.549    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $9,245.00
         R & R TRUCK LINES LLC                                        Contingent
         DBA R & R TRUCK LINES                                        Unliquidated
         34755 SANDBURG CT
                                                                      Disputed
         Union City, CA 94587
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2020
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.550    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $8,082.00
         R BROTHERS TRANS INC                                         Contingent
         6753 W ALLUVIAL AVE                                          Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.551    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $13,050.00
         R&B TRUCKLINES INC                                           Contingent
         4236 HWY 99                                                  Unliquidated
         Stockton, CA 95215
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.552    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $27,425.00
         R13 TRANSPORT INC                                            Contingent
         6701 E PITT AVE                                              Unliquidated
         Fresno, CA 93727
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.553    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $17,889.00
         R7 TRUCKING LLC                                              Contingent
         70 EQUESTRIAN DRIVE                                          Unliquidated
         Burlington, NJ 08016
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.554    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,885.00
         RAIYA TRANSPORT INC                                          Contingent
         3661 W SHEILDS AVE APT 194                                   Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.555    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,425.00
         RAJ KUMAR DBA KAMBOZ TRUCKING                                Contingent
         5777 E ALTA AVE APT 216                                      Unliquidated
         Fresno, CA 93727
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.556    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,964.00
         RAJINDER SINGH DHAMI DBA DHAMI                               Contingent
         3716 COLUMBIA STREET                                         Unliquidated
         Selma, CA 93662
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.557    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,275.00
         RAJPURA TRANSPORTATION INC                                   Contingent
         15740 SHERMAN WAY APT 207                                    Unliquidated
         Van Nuys, CA 91406
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.558    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Ram Commercial Ins. Svcs.                                    Contingent
         15 West 5th St.                                              Unliquidated
         Morgan Hill, CA 95037
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.559    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Ramirez Insurane Services                                    Contingent
         600 E. Market St. #105                                       Unliquidated
         Salinas, CA 93905
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.560    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $13,725.00
         RANA CARRIER INC                                             Contingent
         2735 MOSSY CREEK STREET                                      Unliquidated
         Rowland Heights, CA 91748
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.561    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,348.00
         RANJIT SINGH DBA SINGH TRUCKIN                               Contingent
         600 HOSKING AVE #71B                                         Unliquidated
         Bakersfield, CA 93307
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.562    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,875.00
         RANPINE TROKIN INC                                           Contingent
         531 FLINT AVE                                                Unliquidated
         Wilmington, CA 90744
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.563    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $16,950.00
         RAPID AUTOS LLC                                              Contingent
         4225 W. Capital Ave                                          Unliquidated
         West Sacramento, CA 95691
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.564    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Rapid Insurance Services Inc                                 Contingent
         2319 North San Fernando Blvd.                                Unliquidated
         Burbank, CA 91504
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.565    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $8,650.00
         RATHI TRANSPORT INC                                          Contingent
         1446 E SUMNER AVE                                            Unliquidated
         Fowler, CA 93625
                                                                      Disputed
         Date(s) debt was incurred 9021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.566    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,475.00
         RATHONE TRUCKING INC                                         Contingent
         4417 N BRAWLEY AVE                                           Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.567    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,930.00
         RAVI KANT SINGH BHULLAR                                      Contingent
         DBA B & N CARRIERS                                           Unliquidated
         8113 SLIDER DR
                                                                      Disputed
         Bakersfield, CA 93313
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.568    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Red Dog Underwriting LLC                                     Contingent
         4952 East Tudor Rose Glen                                    Unliquidated
         Stockton, CA 95212
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.569    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Reindeer Insurance Services                                  Contingent
         14037 Pioneer Blvd                                           Unliquidated
         Norwalk, CA 90650
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.570    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $17,880.00
         RELATION INSURANCE SERVICES                                  Contingent
         70 EQUESTRIAN DRIVE                                          Unliquidated
         Bethlehem, PA 18016
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.571    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $31,650.00
         RENEGADE LOGISTICS, INC                                      Contingent
         11475 PENROSE ST                                             Unliquidated
         Sun Valley, CA 91352
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.572    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $14,223.00
         RG TRUCKLINES INC                                            Contingent
         2832 GOLDEN STATE BLVD                                       Unliquidated
         Madera, CA 93637
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.573    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $9,650.00
         RICARDO RODRIGUEZ                                            Contingent
         DBA JR&J TRUCKING                                            Unliquidated
         Woodland, CA 95776
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.574    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         River Valley Capital Insurance                               Contingent
         14868 West Ridge Lane #200                                   Unliquidated
         Dubuque, IA 52003
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.575    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,584.00
         RJ7 TRANS INC                                                Contingent
         1931 W SUNNYVIEW AVE                                         Unliquidated
         Visalia, CA 93291
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.576    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,500.00
         ROAD 66 TRUCKING INC                                         Contingent
         11475 Penrose St.                                            Unliquidated
         Sun Valley, CA 91352
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.577    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $15,938.00
         ROAD CROWN INC                                               Contingent
         3506 W NIELSEN AVE                                           Unliquidated
         Fresno, CA 93706
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.578    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Road Guard Insurance Svc                                     Contingent
         1110 S. Glendale Avenue, #F                                  Unliquidated
         Glendale, CA 91205
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.579    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Road Star Insurance Service                                  Contingent
         10716 East Avenue R                                          Unliquidated
         Littlerock, CA 93543
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.580    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,125.00
         ROAD VISION EXPRESS INC                                      Contingent
         11475 Penrose St.                                            Unliquidated
         Sun Valley, CA 91352
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.581    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,488.00
         ROADLINK CARRIER                                             Contingent
         32665 BRENDA WAY APT 4                                       Unliquidated
         Union City, CA 94587
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.582    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Roadways Commercial Ins. Svcs                                Contingent
         3941 Holly Drive                                             Unliquidated
         Tracy, CA 95304
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.583    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Roanoke Insruance Group Inc                                  Contingent
         35079 Eagle Way                                              Unliquidated
         Chicago, IL 60678
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.584    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,125.00
         ROBERT ALLEN GREGORY                                         Contingent
         DBA NO PROBLEM MOVIERS                                       Unliquidated
         Campbell, CA 95008
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.585    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $16,462.00
         ROCK 10                                                      Contingent
         3525 ISLAND AVE #D                                           Unliquidated
         San Diego, CA 92102
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.586    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Rodriguez Insurance Agency LLC                               Contingent
         901 Waterfall way #301                                       Unliquidated
         Richardson, TX 75080
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.587    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,420.00
         ROYAL KING TRUCK LINE INC                                    Contingent
         3661 W SHEILDS AVE APT 247                                   Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.588    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Royalty Truck Insuranc Svcs                                  Contingent
         14545 Victory Blvd #3072                                     Unliquidated
         Woodland Hills, CA 91367
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.589    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $7,328.00
         S SIDHU FREIGHT INC                                          Contingent
         3390 Country Village Rd #2117                                Unliquidated
         Riverside, CA 92509
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.590    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,375.00
         S&T TRUCKLINES INC                                           Contingent
         1207 7TH STREET                                              Unliquidated
         Modesto, CA 95354
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.591    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $7,265.00
         S&Z TRANSPORTATION INC                                       Contingent
         10681 PRODUCTION AVE                                         Unliquidated
         Alhambra, CA 91801
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.592    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Safeline Truck Insurance                                     Contingent
         2009 W. Burbank Blvd                                         Unliquidated
         Burbank, CA 91506
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.593    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $9,820.00
         SAHIB TRUCK LINE INC                                         Contingent
         4768 W BURLINGAME AVE                                        Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.594    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,225.00
         SAHOTA CARGO INC                                             Contingent
         6722 JERNO DR STE A                                          Unliquidated
         Bakersfield, CA 93313
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.595    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,925.00
         SAMRATH TRUCKING INC                                         Contingent
         2787 S WILLOW VE                                             Unliquidated
         Fresno, CA 93725
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.596    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,230.00
         SANDHU BROS                                                  Contingent
         2323 N OXNARD BLVD                                           Unliquidated
         Date(s) debt was incurred 2022                               Disputed
         Last 4 digits of account number                           Basis for the claim: Business debt

                                                                   Is the claim subject to offset?     No       Yes

3.597    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Sandhu Bros Ins. Agency Inc.                                 Contingent
         4337 No. Golden State Blvd.                                  Unliquidated
         Suite #104
                                                                      Disputed
         Fresno, CA 93722
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2018-23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.598    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $12,764.00
         SANGHA ROADKING INC                                          Contingent
         4375 N GOLDEN STATE BLVD                                     Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.599    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,500.00
         SAPPHIRE CARGO INC                                           Contingent
         1709 S WILLOW AVE                                            Unliquidated
         Rialto, CA 92376
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.600    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,777.00
         SATBIR SINGH BRAR DBA PRITAM R                               Contingent
         445 S ARGYLE AVE APT 226                                     Unliquidated
         Mendota, CA 93640
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.601    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,385.00
         SATNAM SINGH DBA NAGRA TRANSPO                               Contingent
         5249 N CORNELIA AVE                                          Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.602    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,500.00
         SERVERIANO PUENTE HERNANDEZ                                  Contingent
         9108 SUNLAND BLVD                                            Unliquidated
         Sun Valley, CA 91353
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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                                                                        219
Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.603    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,333.00
         SESTIAGIA GONZALEZ TRANSPORT L                               Contingent
         1720 W 25TH DRIVE                                            Unliquidated
         Glendale, CA 91201
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.604    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $14,508.00
         SEVEN STAR CARGO INC                                         Contingent
         4594 W PALO ALTO AVE APT 103                                 Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.605    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $10,500.00
         SGK EXPRESS, INC                                             Contingent
         8900 ELDER CREEK ROAD                                        Unliquidated
         Sacramento, CA 95828
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.606    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,000.00
         SHAMINDER PAL SINGH DBA CAT C                                Contingent
         4453 N BRENT AVE                                             Unliquidated
         Fresno, CA 93723
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.607    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $11,450.00
         SHANG YUN TRADING INC                                        Contingent
         1801 HIGHLAND AVE                                            Unliquidated
         Duarte, CA 91010
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.608    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,595.00
         SHERAZ BAIG                                                  Contingent
         10105 TIZIANO DR                                             Unliquidated
         Stockton, CA 95212
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.609    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,191.00
         SIERRA CARGO, INC                                            Contingent
         3626 N BLYTHE AVE APT 214                                    Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.610    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,350.00
         SILVERLINE TEAM,LLC                                          Contingent
         4900 CALIFORNIA AVE 210 B                                    Unliquidated
         Bakersfield, CA 93309
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.611    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,270.00
         SIMAR TRANSPORT INC                                          Contingent
         3715 W BARSTOW AVE APT 139                                   Unliquidated
         Fresno, CA 93711
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.612    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Singh Best Insurance Agency                                  Contingent
         944 West 6th Street #113                                     Unliquidated
         Corona, CA 92882
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.613    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,955.00
         SINGH LAND CARRIER                                           Contingent
         877 E D STREET                                               Unliquidated
         Lemoore, CA 93245
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.614    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Skar Insurance Group LLC                                     Contingent
         1000 3-Mile Road NW #G                                       Unliquidated
         Marietta, GA 30064
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.615    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,675.00
         Snapeee Corp                                                 Contingent
         13039 Garris Ave                                             Unliquidated
         Granada Hills, CA 91344
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.616    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,780.00
         SODHI SINGH KAUR                                             Contingent
         3640 W NIELSEN AVE                                           Unliquidated
         Fresno, CA 93706
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.617    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,295.00
         SOGI TRANSPORT CORPORATION DBA                               Contingent
         42633 NICKELINE LANE                                         Unliquidated
         Chantilly, VA 20152
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.618    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         SOHAL EXPRESS INC                                            Contingent
         3632 CORAZON AVENUE                                          Unliquidated
         Clovis, CA 93619
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.619    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Southern Truck Ins Svcs Inc                                  Contingent
         PO Box 1368                                                  Unliquidated
         Monroe, NC 28111
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.620    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,680.00
         SPS TRANSPORT INC                                            Contingent
         1601 S UNION AVE                                             Unliquidated
         Bakersfield, CA 93307
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.621    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,125.00
         SRAN LOGISTICS, INC                                          Contingent
         11401 GREENSTONE AVE                                         Unliquidated
         Santa Fe Springs, CA 90670
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.622    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,075.00
         SRD EXPRESS INC                                              Contingent
         11475 Penrose St.                                            Unliquidated
         Sun Valley, CA 91352
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.623    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,703.00
         SRG TRANSPORT INC                                            Contingent
         15825 ROXFORD ST                                             Unliquidated
         Bakersfield, CA 93313
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
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3.624    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,723.00
         SSB XPRESS, INC                                              Contingent
         1848 ST IVES AVE                                             Unliquidated
         Long Barn, CA 95335
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt 5723
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.625    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Standard Premium Finance                                     Contingent
         PO Box 522941                                                Unliquidated
         Miami, FL 33152
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.626    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         State Comptroller                                            Contingent
         PO Box 149356                                                Unliquidated
         Austin, TX 78714
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.627    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,320.00
         State Controllers Office                                     Contingent
         300 Capitol Mall #1600                                       Unliquidated
         Sacramento, CA 95814
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.628    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         State Farm Insurance                                         Contingent
         Insurance Support Center                                     Unliquidated
         PO Box 680001
                                                                      Disputed
         Dallas, TX 75368
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2018-23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.629    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         State of California                                          Contingent
         Enforcmnt Div 50561, MC 9999                                 Unliquidated
         PO Box 12030
                                                                      Disputed
         Austin, TX 78711
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2018-23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.630    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,206.50
         Stonemark, Inc.                                              Contingent
         8501 Wade Blvd #620                                          Unliquidated
         Frisco, TX 75034                                             Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
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3.631    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Stoneroad Insurance Brokerage                                Contingent
         6829 Lanershim Blvd                                          Unliquidated
         North Hollywood, CA 91605
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.632    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Stratton, Wright & Ziemer                                    Contingent
         Insurance & Rish Mgt, Inc.                                   Unliquidated
         4587 FM 67                                                   Disputed
         Grandview, TX 76050
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 92882
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.633    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Strong Tie Insurance Services                                Contingent
         8135 Florence Ave #201                                       Unliquidated
         Downey, CA 90240
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.634    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,590.00
         SUKCHAIN SINGH DBA DTC LOGISTI                               Contingent
         1320 BURTON ROAD                                             Unliquidated
         Manteca, CA 95337
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.635    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,451.00
         SUKHDARSHAN SINGH BRAR DBA DB                                Contingent
         5238 E GARRETT AVE                                           Unliquidated
         Fresno, CA 93725
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.636    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,085.00
         SUKHMINDER SINGH DBA GSR EXPRE                               Contingent
         2901 REDINGTON AVE                                           Unliquidated
         Clovis, CA 93619
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.637    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,375.00
         SUKHWINDER SINGH AUJLA                                       Contingent
         DBA NEW ERA TRANSPORT                                        Unliquidated
         1732 CLEVELAND ST
                                                                      Disputed
         Selma, CA 93662
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.638    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,300.00
         SUPER KOI LOGISTICS INC                                      Contingent
         1935 BATSON AVE APT 89                                       Unliquidated
         Date(s) debt was incurred 2022                               Disputed
         Last 4 digits of account number                           Basis for the claim: Business debt

                                                                   Is the claim subject to offset?     No       Yes

3.639    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Sure Tec                                                     Contingent
         2103 City West Blvd. #1300                                   Unliquidated
         Houston, TX 77042
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.640    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         SURETEC INSURANCE COMPANY                                    Contingent
         2103 CITY WEST BLVD.                                         Unliquidated
         Houston, TX 77042
                                                                      Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.641    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,483.00
         SURJEET SINGH                                                Contingent
         DBA KAMBOJ EXPRE                                             Unliquidated
         155 S ARGYLE AVE APT 204
                                                                      Disputed
         Fresno, CA 93722
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.642    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Surplus Line Assoc of Illinois                               Contingent
         222 S. Riverside Plaza #2220                                 Unliquidated
         Chicago, IL 60606
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.643    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Surplus Lines Stamping Office                                Contingent
         805 Las Cimas Pkwy #300                                      Unliquidated
         Austin, TX 78746
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.644    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Susan Bremer                                                 Contingent
         5410 Rainbow Lane                                            Unliquidated
         Atwater, CA 95301
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
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3.645    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Synerprise Ins. Group LLC                                    Contingent
         dba Rev Ins Div of Volaris Grp                               Unliquidated
         3747 Foothll blvd. #D526
                                                                      Disputed
         La Crescenta, CA 91214
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2018-23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.646    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         T/H SERVICES INC                                             Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.647    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,493.00
         TAB Transport Inc                                            Contingent
         1436 W Washington Blvd                                       Unliquidated
         Montebello, CA 90640
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.648    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,355.00
         TAMBER EXPRESS INC DBA TJ EXPR                               Contingent
         5480 BUCKWOOD WAY                                            Unliquidated
         Sacramento, CA 95835
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.649    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Tansrisk LLC                                                 Contingent
         PO Box 966                                                   Unliquidated
         Troy, AL 36081
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.650    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,200.00
         TARA TRUCKING INC                                            Contingent
         9005 STACEY CT                                               Unliquidated
         Stockton, CA 95209
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.651    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,900.00
         TARIKU KEBEDE                                                Contingent
         215 W MACARTHER BLVD APT 249                                 Unliquidated
         Oakland, CA 94611
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.652    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,600.00
         TEAM JESUS TRUCKING, LLC                                     Contingent
         1803 KIMBERLY ROAD                                           Unliquidated
         Amarillo, TX 79111
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.653    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Ted J. Schultz Ins Agency                                    Contingent
         3014 N. Hayden Road #121                                     Unliquidated
         Scottsdale, AZ 85251
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.654    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $49,545.00
         TESLA TRUCKING INC                                           Contingent
         5425 VISTA DEL MAR AVE                                       Unliquidated
         Bakersfield, CA 93311
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.655    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Texas Comp of Puplic Accounts                                Contingent
         805 Las Cimas Pkwy #300                                      Unliquidated
         78746
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.656    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Texas Dept of Insurance                                      Contingent
         Enforcmnt Div 560851, AO 9999                                Unliquidated
         PO Box 12939
                                                                      Disputed
         Austin, TX 78711
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2018-23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.657    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Texas Dept of Insurance,                                     Contingent
         Regist Division 50561, MC 9999                               Unliquidated
         PO Box 12030
                                                                      Disputed
         Austin, TX 78711
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2018-23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.658    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,600.00
         TGD TRUCKING INC                                             Contingent
         11475 Penrose St.                                            Unliquidated
         Sun Valley, CA 91352
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.659    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $11,490.00
         THAIRA TRANSPORT INC                                         Contingent
         2417 DUNN RD                                                 Unliquidated
         Hayward, CA 94545
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.660    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         The Hays Group Inc.                                          Contingent
         80 South St. #700                                            Unliquidated
         Date(s) debt was incurred 2018-2023                          Disputed
         Last 4 digits of account number                           Basis for the claim: Business debt

                                                                   Is the claim subject to offset?     No       Yes

3.661    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         The Hilb Grou of NC                                          Contingent
         dba Charlotte Insurance                                      Unliquidated
         6400-B South Blvd
                                                                      Disputed
         Charlotte, NC 28217
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2018-23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.662    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         The Licona Insurance Group                                   Contingent
         5927 Gateway Blvd. West #B                                   Unliquidated
         El Paso, TX 79925
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.663    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         The Surplus LIne Assoc of AZ                                 Contingent
         14747 N. Northsight Blvd                                     Unliquidated
         Suite #111-449
                                                                      Disputed
         Scottsdale, AZ 85260
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2018-23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.664    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         The Surplus Line Assoc of CA                                 Contingent
         12667 Alcosta Blvd                                           Unliquidated
         San Ramon, CA 94583
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.665    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,538.00
         THIND TRANS INC                                              Contingent
         7102 DOWNING AVE                                             Unliquidated
         Bakersfield, CA 93307
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
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3.666    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $11,060.00
         THOMAS BAKER                                                 Contingent
         1925 ENTERPRISE BLVD                                         Unliquidated
         West Sacramento, CA 95691
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.667    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,025.00
         THOMSONS LOGISTICS, INC                                      Contingent
         6808 W PARR AVE                                              Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.668    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Timothy Staphanic                                            Contingent
         30985 Prestwick Avenu                                        Unliquidated
         Hayward, CA 94544
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.669    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $10,673.00
         TIRATH PAL SINGH DBA MATTU BRO                               Contingent
         4317 N CRESTA AVE                                            Unliquidated
         Fresno, CA 93723
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.670    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,500.00
         TITAN TRANS LOGISTICS INC                                    Contingent
         1930 S ROCHESTER AVE                                         Unliquidated
         ONTARIO, CA 92761
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.671    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $13,794.00
         TIWANA & SONS TRUCKING INC                                   Contingent
         1125 TALARA DRIVE                                            Unliquidated
         Livingston, CA 95334
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.672    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Tiwana Insurance Solutions Inc                               Contingent
         dba Golden Land Transport Ins.                               Unliquidated
         2459 Prescott Ave PO Box 662
                                                                      Disputed
         Del Rey, CA 93616
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2018-23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
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3.673    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,212.00
         TIWANA TRUCKING INC                                          Contingent
         26577 BANTA ROAD                                             Unliquidated
         Tracy, CA 95304
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.674    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $24,062.39
         Top Premium Finance                                          Contingent
         PO Box 2277                                                  Unliquidated
         Chatsworth, CA 91311
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.675    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $10,050.00
         TOPWAY TRANSPORTATION LLC                                    Contingent
         13047 WATERLILY WAY                                          Unliquidated
         Chino, CA 91710
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.676    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Toste Insurance Services                                     Contingent
         1501 F Street                                                Unliquidated
         Modesto, CA 95354
                                                                      Disputed
         Date(s) debt was incurred 92882
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.677    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,925.00
         TOTAL NATIONAL EXPRESS                                       Contingent
         710 E D STREET                                               Unliquidated
         Wilmington, CA 90744
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.678    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Trans Risk Insurance Services                                Contingent
         660 N. Diamond Bar Blvd. #203                                Unliquidated
         Diamond Bar, CA 91765
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.679    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $89,400.00
         TRANSCORP                                                    Contingent
         6569 N RIVERSIDE DR. SUITE 102                               Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
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3.680    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Transit Insurance Services Inc                               Contingent
         1155 S. Milliken Avenue                                      Unliquidated
         Ontario, CA 91761
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.681    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Transportation Ins. Advisors                                 Contingent
         113 Bellagio Circle                                          Unliquidated
         Sanford, FL 32771
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.682    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Transwide Insurance Brokerage                                Contingent
         3400 Inland Empire Blvd #120                                 Unliquidated
         Ontario, CA 91764
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.683    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $671.30
         Triangle Transportation Agency                               Contingent
         PO Box 1189                                                  Unliquidated
         Enid, OK 73702
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.684    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,298.00
         TRU LAND EXPRESS LTC                                         Contingent
         3165 W SHIELDS AVE APT 267                                   Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.685    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Truck Smart Insurance Services                               Contingent
         420 S. Grand Avenue                                          Unliquidated
         Covina, CA 91724
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.686    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Trucking Specialistts LLC                                    Contingent
         3330 Southgate Court SW #172                                 Unliquidated
         Cedar Rapids, IA 52404
                                                                      Disputed
         Date(s) debt was incurred 2018-2023
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
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3.687    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $10,560.00
         TS CARGO INC                                                 Contingent
         4594 W PALO ALTO AVE APT 103                                 Unliquidated
         Date(s) debt was incurred 2021                               Disputed
         Last 4 digits of account number                           Basis for the claim: Business debt

                                                                   Is the claim subject to offset?     No       Yes

3.688    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,300.00
         TSH TRUCKING INC                                             Contingent
         11475 Penrose St.                                            Unliquidated
         Sun Valley, CA 91352
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.689    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,400.00
         TURBO LOGISTICS                                              Contingent
         150 S GLENOAKS BLVD #8050                                    Unliquidated
         Burbank, CA 91502
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.690    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         U.S. Premium Finance                                         Contingent
         PO Box 924647                                                Unliquidated
         Norcross, GA 30010
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.691    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,800.00
         UNIFIED EXPRESS INC                                          Contingent
         3354 E AMERICAN AVE                                          Unliquidated
         Fresno, CA 93727
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.692    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,565.00
         UNITED CORE, INC                                             Contingent
         8455 SCHAEFER AVE                                            Unliquidated
         Ontario, CA 91761
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.693    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,888.00
         UNITED STAR INC                                              Contingent
         175 S LINCOLN AVE UNIT 123                                   Unliquidated
         Addison, IL 60101
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
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3.694    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,830.00
         UPPAL FREIGHT                                                Contingent
         2955 OATES STREET                                            Unliquidated
         West Sacramento, CA 95691
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.695    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,300.00
         US EAGLE TRANSPORT INC                                       Contingent
         250S CLOVIS AVE APT 136                                      Unliquidated
         Fresno, CA 93727                                             Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.696    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,438.00
         US WEST TRUCKING INC                                         Contingent
         10825 S UNION AVE                                            Unliquidated
         Bakersfield, CA 93307
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.697    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,785.00
         V4U TRANSPORT INC                                            Contingent
         3342 NORTH WEBBER AVE                                        Unliquidated
         Fresno, CA 93722
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.698    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Valdez Insurance Agency Inc                                  Contingent
         dba BMV Insurance Services                                   Unliquidated
         3342 N. Texas St. #A2
                                                                      Disputed
         Fairfield, CA 94533
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2018-23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.699    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,888.00
         VALENTIN ALONSO CASTRO HERRER                                Contingent
         DBA C VASTRO TRANSPORT                                       Unliquidated
         822 MACKILHAFFY DRIVE
                                                                      Disputed
         Patterson, CA 95363
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.700    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $16,356.00
         VALENTIN CASTRO                                              Contingent
         DBA V CASTRO                                                 Unliquidated
         822 MACKILHAFFY DRIVE
                                                                      Disputed
         Patterson, CA 95363
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
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3.701    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Valiant General Ins Solutions                                Contingent
         848 Clovis Avenue                                            Unliquidated
         Clovis, CA 93612
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.702    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,798.00
         VANESSA'S TRUCKING SERVICES, I                               Contingent
         3462 HARRISON ST                                             Unliquidated
         Riverside, CA 92503
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.703    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,400.00
         VANTAGE INC                                                  Contingent
         2201 FORESTLAKE DR                                           Unliquidated
         Rancho Cordova, CA 95670
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.704    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,100.00
         VAS EXPRESS, INC                                             Contingent
         11475 PENROSE ST                                             Unliquidated
         Sun Valley, CA 91352
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.705    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Venbrook Insurance Services                                  Contingent
         63250 Canoga Avenue                                          Unliquidated
         12th Floor
                                                                      Disputed
         Woodland Hills, CA 91367
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2018-23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.706    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Veracity Insurance Solutions                                 Contingent
         260 S. 2500 West #303                                        Unliquidated
         Pleasant Grove, UT 84062
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.707    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Virginia Dept. of Taxation                                   Contingent
         1957 Westmoreland Street                                     Unliquidated
         Richmond, VA 23230                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
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3.708    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,400.00
         VIRK AND SONS TRANSPORTATION I                               Contingent
         DBA dhv FREIGHTLINES                                         Unliquidated
         8442 24TH AVE
                                                                      Disputed
         Sacramento, CA 95826
                                                                   Basis for the claim: Business debt 1400
         Date(s) debt was incurred 2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.709    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,000.00
         VISTA TRANSPORT LLC                                          Contingent
         2300 W Sahara Ave                                            Unliquidated
         Las Vegas, NV 89102
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.710    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,200.00
         VL TRUCKING INC                                              Contingent
         11475 Penrose St.                                            Unliquidated
         Sun Valley, CA 91352
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.711    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Vortex Pro Insurance Services                                Contingent
         17628 Chatsworth Street                                      Unliquidated
         Granada Hills, CA 91344
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.712    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         W.I.S.E Underwriting Agency                                  Contingent
         Sean Bradshaw                                                Unliquidated
         28 Lime Street
                                                                      Disputed
         Lonson, WX3M &HR
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2018-23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.713    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,805.00
         WALIA TRANSPORT INC                                          Contingent
         1651 W WHITMORE AVE                                          Unliquidated
         Ceres, CA 95307
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.714    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,899.00
         WAMENGS SONS TRANSPORTATION, I                               Contingent
         2301 W BELMONT AVE                                           Unliquidated
         Fresno, CA 93728
                                                                      Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.715    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Warriner & Associates Ins. Inc                               Contingent
         11111 Wilcrest Green #101                                    Unliquidated
         Houston, TX 77042
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.716    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,888.00
         WARYAM TRUCKLINES, INC                                       Contingent
         1791 SCHULTE DRIVE                                           Unliquidated
         San Jose, CA 95133
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.717    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,358.00
         WB TRUCKING INC                                              Contingent
         3750 W SAN JOSE APT 101                                      Unliquidated
         Fresno, CA 93711
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.718    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,250.00
         WEIGH TO GO TRANSPORT, INC                                   Contingent
         3129 MITCHELL ROAD                                           Unliquidated
         Ceres, CA 95307
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.719    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $35,245.00
         WHITE HORSES TRUCKLINE INC                                   Contingent
         7203 NEW BOND CT                                             Unliquidated
         Bakersfield, CA 93311
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.720    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Whiterock Insurance Agency LLC                               Contingent
         221 N. Kansas Street #700                                    Unliquidated
         El Paso, TX 79901                                            Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.721    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Wilson, Elser, Moskowitz,                                    Contingent
         Elderman & Dicker Acct. Rec.                                 Unliquidated
         150 East 42nd Street
                                                                      Disputed
         New York, NY 10017
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2018-23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Altamont Insurance Group, LLC                                                   Case number (if known)
            Name

3.722    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Wylie Insurance Services LLC                                 Contingent
         1729 Tully Rd #6                                             Unliquidated
         Modesto, CA 95350
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.723    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,200.00
         YAPAYAO TRUCKKING INC                                        Contingent
         1856 N. BROADWAY AVE                                         Unliquidated
         Stockton, CA 95205
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.724    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $11,250.00
         YASH TRUCKLINE INC                                           Contingent
         7091 W SAN BRUNO AVE                                         Unliquidated
         Fresno, CA 93723
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.725    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $10,500.00
         YDKD INC                                                     Contingent
         13461 12 St                                                  Unliquidated
         Chino, CA 91710
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.726    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         You Safety Insurance Svcs.                                   Contingent
         230 S. Garfield Avenue #202C                                 Unliquidated
         Monterey Park, CA 91754
                                                                      Disputed
         Date(s) debt was incurred 2018-23
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.727    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $56,678.00
         ZAMORA TRANSPORT LOGISTICS INC                               Contingent
         2 STONY BROOK CIRCLE                                         Unliquidated
         `
                                                                      Disputed
         Salinas, CA 93906
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred 2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.728    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,368.00
         ZESHAN ALI KHAN                                              Contingent
         1835 GREENHEAD COURT                                         Unliquidated
         Gridley, CA 95948
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor       Altamont Insurance Group, LLC                                                          Case number (if known)
             Name

3.729     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $49,043.00
          ZIRA TRANSPORT INC                                                   Contingent
          66240 7TH STREET                                                     Unliquidated
          Desert Hot Springs, CA 92240
                                                                               Disputed
          Date(s) debt was incurred 2021
                                                                           Basis for the claim: Business debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?      No       Yes

3.730     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $39,625.00
          ZIRA TRANSPORT INC                                                   Contingent
          66240 7TH STREET                                                     Unliquidated
          Desert Hot Springs, CA 92240
                                                                               Disputed
          Date(s) debt was incurred 2021
                                                                           Basis for the claim: Business debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?      No       Yes

3.731     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          Zoom Imaging Solutionss                                              Contingent
          PO Box 846898                                                        Unliquidated
          Los Angeles, CA 90084
                                                                               Disputed
          Date(s) debt was incurred 2018-23
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?      No       Yes

3.732     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $4,022.00
          ZYP TRUCKING INC                                                     Contingent
          2144 E JAMES AVE                                                     Unliquidated
          West Covina, CA 91791
                                                                               Disputed
          Date(s) debt was incurred 2022
                                                                           Basis for the claim: Business debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?      No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       Balance Partners LLC
          PO Box 2550                                                                               Line     3.80
          Huntington, NY 11743
                                                                                                           Not listed. Explain

4.2       IRA Frankel
          Prof Underwriting Group                                                                   Line     3.80
          5300 West Atlantic Ave #610
                                                                                                           Not listed. Explain
          Delray Beach, FL 33484

4.3       LA West Insurance Services
          11306 W. Ventura Blvd.                                                                    Line     3.394
          Studio City, CA 91604
                                                                                                           Not listed. Explain

4.4       Melissa DeKove
          2710 Gateway Oaks Dr Ste 150N                                                             Line     3.640
          Sacramento, CA 95833
                                                                                                           Not listed. Explain




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Debtor      Altamont Insurance Group, LLC                                              Case number (if known)
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                       related creditor (if any) listed?              account number, if
                                                                                                                                      any
4.5       State of California Controller
          PO Box 1918                                                                  Line     3.627
          Sacramento, CA 95812
                                                                                              Not listed. Explain

4.6       TransEleven Claims Mgrs.
          700 Central Expressway S. #200                                               Line     3.80
          Allen, TX 75013
                                                                                              Not listed. Explain

4.7       Virgina Dept of Taxation
          PO Box 1777                                                                  Line     3.707
          Richmond, VA 23218
                                                                                              Not listed. Explain


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                           Total of claim amounts
5a. Total claims from Part 1                                                              5a.          $                     12,098.20
5b. Total claims from Part 2                                                              5b.    +     $                  8,466,678.62

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.          $                    8,478,776.82




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Fill in this information to identify the case:

Debtor name       Altamont Insurance Group, LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            lease for Xerox copier
           lease is for and the nature of        lease and maintenance
           the debtor's interest                 agreeement; $528.80
                                                 per month, 19 months
                                                 remaining
               State the term remaining          19 months
                                                                                    Inland Business Systems
           List the contract number of any                                          1326 North Market Blvd.
                 government contract                                                Sacramento, CA 95834


2.2.       State what the contract or            telephone equipment
           lease is for and the nature of        lease
           the debtor's interest

               State the term remaining          month to month
                                                                                    Mitel
           List the contract number of any                                          PO Box 53230
                 government contract                                                Phoenix, AZ 85072




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Altamont Insurance Group, LLC

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:
   2.1                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.2                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.3                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.4                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code




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Fill in this information to identify the case:

Debtor name         Altamont Insurance Group, LLC

United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      For prior year:                                                                     Operating a business                               $297,670.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other    insurance brokerage


      For year before that:                                                               Operating a business                               $465,904.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other    insurance brokerage

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




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Debtor      Altamont Insurance Group, LLC                                                       Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:     Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:     Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address              Description of the gifts or contributions                 Dates given                             Value


Part 5:     Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None




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      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).
      fraud/theft/embezzlement by                                                                                 2020-2023                  $1,030,142.00
      employee


Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    Jeffrey L. Brown
               Brown & Farmer
               7777 Alvarado Road #622                                                                                 September
               La Mesa, CA 91942                                                                                       5, 2023                   $10,000.00

               Email or website address
               jlb@brownfarmerlaw.com

               Who made the payment, if not debtor?
               Alan Shetzer



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                             Dates of occupancy
                                                                                                                   From-To

Part 8:       Health Care Bankruptcies
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15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
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Debtor      Altamont Insurance Group, LLC                                                       Case number (if known)



    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed
   25.1.    Altamont Insurance Group,                insurance wholesale broker                        EIN:         XX-XXXXXXX
            LLC
            14203 Caminito Vistana                                                                     From-To      May 8, 2018 to present
            San Diego, CA 92130


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
            None


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Debtor      Altamont Insurance Group, LLC                                                       Case number (if known)



      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26a.1.        Carolyn Rupp                                                                                                    2018 to present
                    4952 Tudor Rose Glenn
                    Stockton, CA 95212
      26a.2.        Number Runners                                                                                                  2018-23
                    5927 Balfour Ct. #115
                    Carlsbad, CA 92008

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Carolyn Rupp
                    4952 Tudor Rose Glenn
                    Stockton, CA 95212

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        Carolyn Rupp
                    4952 Tudor Rose Glenn
                    Stockton, CA 95212
      26d.2.        Alan Shetzer
                    3830 Valley Centre Drive #705
                    PO Box 245
                    San Diego, CA 92130

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Alan Shetzer                            3830 Valley Centre Drive #705                       President
                                              PO Box 245
                                              San Diego, CA 92130


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?



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Debtor       Altamont Insurance Group, LLC                                                      Case number (if known)




           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient             Amount of money or description and value of               Dates              Reason for
                                                       property                                                                     providing the value
      30.1                                                                                                                          Withdrawal for
      .                                                                                                                             service paid to
             Carolyn Rupp                                                                                                           Manager to
             4952 Tudor Rose Glenn                                                                                                  herself for
             Stockton, CA 95212                        $41,467.00                                                2023               services.

             Relationship to debtor
             Bookkeeper/Manager


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:     Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         October 3, 2023

/s/ Alan Shetzer                                                Alan Shetzer
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor    President/Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                            Southern District of California
 In re       Altamont Insurance Group, LLC                                                                    Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 10,000.00
             Prior to the filing of this statement I have received                                        $                 10,000.00
             Balance Due                                                                                  $                       0.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
             reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
             522(f)(2)(A) for avoidance of liens on household goods.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
             any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     October 3, 2023                                                          /s/ Jeffrey L. Brown
     Date                                                                     Jeffrey L. Brown
                                                                              Signature of Attorney
                                                                              Attorney at Law
                                                                              7777 Alvarado Road
                                                                              Suite 622
                                                                              La Mesa, CA 91942
                                                                              (619) 461-6511 Fax: (619) 698-2957
                                                                              Jlb@brownfarmerlaw.com
                                                                              Name of law firm
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Revised: 1/24/13
Name, Address, Telephone No. & I.D. No.
Jeffrey L. Brown
7777 Alvarado Road
Suite 622
La Mesa, CA 91942
(619) 461-6511
65321 CA

              UNITED STATES BANKRUPTCY COURT
                 SOUTHERN DISTRICT OF CALIFORNIA
             325 West "F" Street, San Diego, California 92101-6991


In Re
Altamont Insurance Group, LLC                                              BANKRUPTCY NO.
Tax I.D. / S.S. #: XX-XXXXXXX
                                                        Debtor.



                                UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF CALIFORNIA
                        RIGHTS AND RESPONSIBILITIES OF CHAPTER 7 DEBTORS
                                      AND THEIR ATTORNEY
In order for debtors and their attorneys to understand their rights and responsibilities in the bankruptcy process,
the following terms of engagement are hereby agreed to by the parties.

Nothing in this agreement should be construed to excuse an attorney from any ethical duties or responsibilities
under Federal Rule of Bankruptcy Procedure 9011 and the Local Bankruptcy Rules.

                                                        I.
                                  Services Included in the Initial Fee Charged
The following are services that an attorney must provide as part of the initial fee charged for representation in a
Chapter 7 case:
1.      Meet with the debtor to review the debtor’s assets, liabilities, income and expenses.
2.      Analyze the debtor’s financial situation, and render advice to the debtor in determining whether to file a
        petition in bankruptcy.
3.      Describe the purpose, benefits, and costs of the Chapters the debtor may file, counsel the debtor
        regarding the advisability of filing either a Chapter 7, 11, or 13 case, and answer the debtor’s questions.
4.      Advise the debtor of the requirement to attend the Section 341(a) Meeting of Creditors, and instruct the
        debtor as to the date, time and place of the meeting.
5.      Advise the debtor of the necessity of maintaining liability, collision and comprehensive insurance on
        vehicles securing loans or leases.
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6.     Timely prepare, file and serve, as required, the debtor's petition, schedules, Statement of Financial
       Affairs, and any necessary amendments to Schedule C.
7.     Provide documents pursuant to the Trustee Guidelines and any other information requested by the
       Chapter 7 Trustee or the Office of the United State Trustee.
8.     Provide an executed copy of the Rights and Responsibilities of Chapter 7 Debtors and their Attorneys to
       the debtor.
9.     Appear and represent the debtor at the Section 341(a) Meeting of Creditors, and any continued meeting,
       except as further set out in Section II.
10.    File the Certificate of Debtor Education if completed by the debtor and provided to the attorney before
       the case is closed.
11.    Attorney shall have a continuing obligation to assist the debtor by returning telephone calls, answering
       questions and reviewing and sending correspondence.
12.    Respond to and defend objections to claim(s) of exemption arising from attorney error(s) in Schedule C.

                                                II.
                      Services Included as Part of Chapter 7 Representation,
                                   Subject to an Additional Fee
The following are services, included as part of the representation of the debtor, but for which the attorney may
charge additional fees.
1.     Representation at any continued meeting of creditors due to client’s failure to appear or failure to
       provide required documents or acceptable identification;
2.     Amendments, except that no fee shall be charged for any amendment to Schedule C that may be
       required as a result of attorney error;
3.     Opposing Motions for Relief from Stay;
4.     Reaffirmation Agreements and hearings on Reaffirmation Agreements;
5.     Redemption Motions and hearings on Redemption Motions;
6.     Preparing, filing, or objecting to Proofs of Claims, when appropriate, and if applicable;
7.     Representation in a Motion to Dismiss or Convert debtor’s case;
8.     Motions to Reinstate or Extend the Automatic Stay;
9.     Negotiations with Chapter 7 Trustee in aid of resolving nonexempt asset, turnover or asset
       administration issues.

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                                             III.
           Additional Services Not Included in the Initial Fee Which Will Require a
                                   Separate Fee Agreement
The following services are not included as part of the representation in a Chapter 7 case, unless the attorney and
debtor negotiate representation in these post-filing matters at mutually agreed upon terms in advance of any
obligation of the attorney to render services. Unless a new fee agreement is negotiated between debtor and
attorney, attorney will not be required to represent the debtor in these matters:
1.     Defense of Complaint to Determine Non-Dischargeability of a Debt or filing Complaint to determine
       Dischargeability of Debt;
2.     Defense of a Complaint objecting to discharge;
3.     Objections to Claim of Exemption, except where an objection arises due to an error on Schedule C;
4.     Sheriff levy releases;
5.     Section 522(f) Lien Avoidance Motions;
6.     Opposing a request for, or appearing at a 2004 examination;
7.     All other Motions or Applications in the case, including to Buy, Sell, or Refinance Real or other
       Property;
8.     Motions or other proceedings to enforce the automatic stay or discharge injunction;
9.     Filing or responding to an appeal;
10.    An audit of the debtor's case conducted by a contract auditor pursuant to 28 U.S.C. Section 586(f).

                                                 IV.
                                Duties and Responsibilities of the Debtor
As the debtor filing for a Chapter 7 bankruptcy, you must:
1.     Fully disclose everything you own, lease, or otherwise believe you have a right or interest in prior to
       filing the case;
2.     List everyone to whom you owe money, including your friends, relatives or someone you want to repay
       after the bankruptcy is filed;
3.     Provide accurate and complete financial information;
4.     Provide all requested information and documentation in a timely manner, in accordance with the
       Chapter 7 Trustee Guidelines;
5.     Cooperate and communicate with your attorney;

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6.       Discuss the objectives of the case with your attorney before you file;
7.       Keep the attorney updated with any changes in contact information, including email address;
8.       Keep the attorney updated on any and all collection activities by any creditor, including lawsuits,
         judgments, garnishments, levies and executions on debtor’s property;
9.       Keep the attorney updated on any changes in the household income and expenses;
10.      Timely file all statutorily required tax returns;
11.      Inform the attorney if there are any pending lawsuits or rights to pursue any lawsuits;
12.      Appear at the Section 341(a) Meeting of Creditors, and any continued Meeting of Creditors;
13.      Bring proof of social security number and government issued photo identification to the Section 341(a)
         Meeting of Creditors;
14.      Provide date-of-filing bank statements to the attorney no later than 7 days after filing of your case;
15.      Pay all required fees prior to the filing of the case;
16.      Promptly pay all required fees in the event post filing fees are incurred;
17.      Debtors must not direct, compel or demand their attorney to take a legal position or oppose a motion in
         violation of any Ethical Rule, any Rule of Professional Conduct, or Federal Rule that is not well
         grounded in fact or law.
Dated:    October 3, 2023                                    /s/ Alan Shetzer
                                                             Alan Shetzer
                                                             Debtor

Dated:    October 3, 2023                                    /s/ Jeffrey L. Brown
                                                             Jeffrey L. Brown
                                                             Attorney for Debtor(s)




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CSD 1008 [08/21/00]
Name, Address, Telephone No. & I.D. No.
Jeffrey L. Brown
7777 Alvarado Road
Suite 622
La Mesa, CA 91942
(619) 461-6511
65321 CA

                  UNITED STATES BANKRUPTCY COURT
                   SOUTHERN DISTRICT OF CALIFORNIA
        325 West "F" Street, San Diego, California 92101-6991


In Re
Altamont Insurance Group, LLC
                                                                                        BANKRUPTCY NO.



                                                                       Debtor.

                                                VERIFICATION OF CREDITOR MATRIX

PART I (check and complete one):

    New petition filed. Creditor diskette required.                                                         TOTAL NO. OF CREDITORS: 739

    Conversion filed on               . See instructions on reverse side.
             Former Chapter 13 converting. Creditor diskette required.                                      TOTAL NO. OF CREDITORS:
             Post-petition creditors added. Scannable matrix required.
             There are no post-petition creditors. No matrix required.

    Amendment or Balance of Schedules filed concurrently with this original scannable matrix affecting Schedule of Debts and/or Schedule of
    Equity Security Holders. See instructions on reverse side.
                       Names and addresses are being ADDED.
                       Names and addresses are being DELETED.
                       Names and addresses are being CORRECTED.

PART II (check one):

    The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my (our) knowledge.

    The above-named Debtor(s) hereby verifies that there are no post-petition creditors affected by the filing of the conversion of this case and that
    the filing of a matrix is not required.




Date:    October 3, 2023                                    /s/ Alan Shetzer
                                                            Alan Shetzer/President/Manager
                                                            Signer/Title




                                               REFER TO INSTRUCTIONS ON REVERSE SIDE
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                                                             INSTRUCTIONS

1)    Full compliance with Special Requirements for Mailing Addresses (CSD 1007) is required.

2)    A creditors matrix with Verification is required whenever the following occurs:

      a)       A new petition is filed. Diskette required.

      b)       A case is converted on or after SEPTEMBER 1, 2000. (See paragraph 4b concerning post-petition creditors.)

      c)       An amendment to a case on or after SEPTEMBER 1, 2000, which adds, deletes or changes creditor address information on the
               debtor's Schedule of Debts and/or Schedule of Equity Security Holders. Scannable matrix format required.

3)    The scannable matrix must be originally typed or printed. It may not be a copy.

4)    CONVERSIONS:

      a)       When converting a Chapter 13 case filed before SEPTEMBER 1, 2000, to another chapter, ALL creditors must be listed on the
               mailing matrix at the time of filing and accompanied by a Verification. Diskette required.

      b)       For Chapter 7, 11, or 12 cases converted on or after SEPTEMBER 1, 2000, only post-petition creditors need be listed on the
               mailing matrix. The matrix and Verification must be filed with the post-petition schedule of debts and/or schedule of equity
               security holders. If there are no post-petition creditors, only the verification form is required. Scannable matrix format required.

5)    AMENDMENTS AND BALANCE OF SCHEDULES:

      a)       Scannable matrix format required.

      b)       The matrix with Verification is a document separate from the amended schedules and may not be used to substitute for any
               portion of the schedules. IT MUST BE SUBMITTED WITH THE AMENDMENT/BALANCE OF SCHEDULES.

      c)       Prepare a separate page for each type of change required: ADDED, DELETED, or CORRECTED. On the REVERSE side of
               each matrix page, indicate which category that particular page belongs in. Creditors falling in the same category should be placed
               on the same page in alphabetical order.

6)    Please refer to CSD 1007 for additional information on how to avoid matrix-related problems.




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                        1 TEEM TRANSPORTERS LLC
                        35124 Heiskell Dr
                        Raymond, CA 93653



                        1601 S UNION AVE
                        15504 STATE HIGHWAY 205
                        Terrell, TX 75160



                        1716 BRIARCREST DRIVE
                        27710 CASCABEL LANE
                        San Antonio, TX 78260



                        2 BEST LOADS INC
                        2542 AUGIBI WAY
                        Rancho Cordova, CA 95670



                        3 SONS LOGISTICS INC
                        9533 W JJ RANCH ROAD
                        Peoria, AZ 85383



                        48F TRANS INC
                        2345 W BELMONT AVE
                        Fresno, CA 93728



                        6442 WINDY ROAD
                        117811 HORACE STREET
                        Granada Hills, CA 91344



                        808 LOGISTICS LLC
                        2515 W SAN ANTONIO
                        Dallas, TX 75254



                        A & A TRUCKLINE INC
                        6247 E NORTH AVE
                        Fresno, CA 93725
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                    A & C COMMERCE SERVICES LLC
                    245 E VALLEY BLVD
                    Rialto, CA 92376



                    A & M TRUCKING CO
                    726 W 6TH ST #3
                    Long Beach, CA 90802



                    A M J TRANSPORTATION LLC
                    17500 SACRAMENTO VALLEY BLVD
                    Robbins, CA 95676



                    A Star Truck Lines Inc
                    12000 Paxton St
                    Sylmar, CA 91342



                    A TO B AUTO TRANSPORT LLC
                    55 SPRINGSTOWNE CTR STE 116
                    Vallejo, CA 94591



                    A&A EXPEDITED
                    1015 S Maple Ave
                    Montebello, CA 90640



                    A&D TRANS INC
                    10831 ROYCROFT ST UNIT 48
                    Sun Valley, CA 91352



                    A&L Insurance Services
                    10005 Marconi Dr. #3
                    San Diego, CA 92154



                    A.M.I.S. Andy Manukyan Ins
                    1254 S. Glendale Ave.
                    Glendale, CA 91205
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                    ABO TRUCKING INC
                    1862 KELLERTON DR
                    Hacienda Heights, CA 91745



                    Ace Commercial Ins. Center
                    200 S. Main Street, Suite 130
                    Corona, CA 92882



                    ACME AMERICA
                    2550 W UNION HILLS DRIVE
                    Mesa, AZ 85207



                    ACME AMERICAN INC
                    2662 NEVADA AVE
                    South El Monte, CA 91733



                    Across America Ins. Svcs Inc
                    41689 Enterprise Circle North
                    Suite 218
                    Temecula, CA 92590



                    AD HAULERS INC
                    3640 W NELSON AVE
                    Fresno, CA 93706



                    ADVANCE LOGISTICS, INC
                    1324 N. KNOX AVE
                    El Paso, TX 79917



                    AEC TRUCKING, LLC
                    10230 LOS ALTOS DR
                    Hesperia, CA 92344



                    Aether Insurance Services
                    2029 West Midwood Lane
                    Anaheim, CA 92804
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                    Agile Premium Finance
                    475 Half Day Rd. #550
                    Lincolnshire, IL 60069



                    AIB Financial Services, Inc.
                    PO Box 66501
                    Saint Louis, MO 63166



                    AIRBOURNE LOGISTICS, INC
                    3291 BEACHWOOD DR
                    Merced, CA 95348



                    AKAAL PURAKH TRANS INC
                    1219 TAHOE STREET
                    Merced, CA 95348



                    Alan Shetzer
                    3830 Valley Centre Drive #705
                    PO Box 245
                    San Diego, CA 92130



                    Alex Rue Insurance Agency
                    9815 Antelope Road
                    Roseville, CA 95747



                    ALFONSO MONARREZ
                    1960 S DATE AVE
                    Bloomington, CA 92316



                    ALI EXPRESS, INC
                    2132 MONTAUBAN CT
                    Stockton, CA 95210



                    All Solutions Insurance
                    A+B24:L24 Agency LLC
                    22364 Alessandro Blvd
                    Moreno Valley, CA 92553
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                    ALL STAR TRUCKING
                    3150 N WEBER AVE
                    Fresno, CA 93722



                    Alpha Freight Lines
                    14398 Whittram Ave
                    Fontana, CA 92335



                    AMA United Transport Svcs LLC
                    325 Old San Antnio Rd.
                    Mc Queeney, TX 78123



                    AMANDEEP SINGH
                     DBA VIP EXPRESS
                    3771 N CORNELIA AVE
                    Fresno, CA 93722



                    AMANDEEP SINGH KHAIRA DBA KHAI
                    5389 N VALENTINE AVE APT 111
                    Fresno, CA 93711



                    AMARJIT SINGH DBA SAM TRANSPOR
                    16234 MAGNOLIA WAY
                    Fontana, CA 92336



                    AMDJ Logistics Inc
                    11475 Penrose St.
                    Sun Valley, CA 91352



                    American Continental Ins. Svcs
                    11501 Dublin Blvd #200
                    Pleasanton, CA 94588



                    AMERICAN STAR INTERMODAL INC
                    341 E MONTE VIST AVE APT 70
                    Turlock, CA 95382
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                    AMERICAN STAR LLC
                    5370 GUIDE MERIIAN RD
                    Bellingham, WA 98226



                    AMERICAN TRANSPORT LOS ANGELES
                    1202 E ANAHEIM ST
                    Wilmington, CA 90744



                    AMK Insurance, Inc.
                    6855 Via Del Oro
                    San Jose, CA 95119



                    AMM EXPRESS INC
                    6059 Bradshaw Rd
                    Sacramento, CA 95829



                    AMNA TRUCKING INC
                    14801 SLOVER AVE
                    Fontana, CA 92337



                    AMRIK EXPRESS, LLC
                    283 TWIN RIVERS DRIVE
                    Yuba City, CA 95991



                    AMS TRANSPORT INC
                    11475 Penrose St.
                    Sun Valley, CA 91352



                    Ananik Grigoryan dba DSSY Truc
                    6315 San Fernanado Rd
                    Glendale, CA 91205



                    ANDREAS TRANSPORT LLC
                    10686 BANANA AVE
                    Fontana, CA 92335
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                    ANGELA GONZALEZ CLEMENTE
                     DBA GREEN PALMS GROWERS
                    82560 AIRPORT BLVD
                    Thermal, CA 92274



                    Ank Transportation, Inc.
                    1301 Richland Avenue #1
                    Modesto, CA 95351



                    ANURAJ LLC
                    5355 W PINE AVE
                    Fresno, CA 93722



                    APS CARRIER INC
                    425 SUNDANCE ST
                    Livingston, CA 95334



                    ARACELI'S TRUCKING INC
                    21136 S WILMINGTON AVE
                    Carson, CA 90745



                    ARDASS TRUCKING. INC
                    3598 MACADAMIA LANE
                    Ceres, CA 95307



                    ARMAN KARAPETYAN
                    DBA: URARTU TRUCKING
                    11475 Penrose St.
                    Sun Valley, CA 91352



                    ARMATA LINES INC
                    11475 Penrose St.
                    Sun Valley, CA 91352



                    ART-ACT LOGISTICS, LLC
                    9831 STIBEHURST AVE
                    Sun Valley, CA 91352
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                    ARY LOGISTIC SYSTEM INC
                    2747 LINCOLN AVE
                    Clovis, CA 93611



                    ASD TRUCKING INC
                    4648 TAYLOR COURT
                    Turlock, CA 95382



                    ASEES TRANSPORT INC
                    3626 N BLYTHE AVE APRT 212
                    Fresno, CA 93722



                    Aspen American Ins. Co
                    175 Capital Blvd. #300
                    Rocky Hill, CT 06067



                    AST EXPRESS INC
                    5350 N BRAWLEY AVE APT 124
                    Fresno, CA 93722



                    Atlanta Premier Ins Agency
                    12 Powder Springs Street #270
                    Marietta, GA 30064



                    ATLANTIC RISK
                    6827 MELODY LANE APT 2724
                    Dallas, TX 75231



                    ATLANTIC RISK
                    1716 BRIARCREST DR SUITE 300
                    Bryan, TX 77802



                    Atlantis Insurance Brokerage
                    639 Channel Street #H
                    San Pedro, CA 90731
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                    ATM CHAP SERVICES LLC
                    9114 BUNGALOW WAY
                    Madison, AL 35758



                    ATMA SANDHU DBA HPA TRUCKING
                    6077 E CORTLAND AVE
                    Fresno, CA 93727



                    ATS TRANSPORT INC
                    600 N MARKS AVE
                    Fresno, CA 93728



                    ATWAL TRANS LLC
                    7177 W DOVEWOOD LANE
                    Fresno, CA 93723



                    Avalon Risk Management
                    150 Northwest Pt. Blvd.
                    2nd Floor
                    Elk Grove Village, IL 60007



                    Avian Premium Finance
                    PO Box 6606
                    Burbank, CA 91510



                    AWESOM TRANSPORTATION, LLC
                    3342 NORTH WEBBER AVE
                    Fresno, CA 93722



                    Axis Insruance Svcs. LLC
                    795 Franklin Avenue #206
                    Franklin Lakes, NJ 07417



                    B D S TRANSPORT INC
                    2301 W BELMONT AVE
                    Fresno, CA 93728
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                    BAAZ FREIGHT INC
                    3007 E ROSE AVE
                    Selma, CA 93662



                    BABA MUNSHI TRANS INC
                    4688 W AMHERST AVE
                    93722



                    BABA NANAK TRANSPORT INC
                    3661 W SHIELDS AVE APT 271
                    Fresno, CA 93722



                    BACK ROAD EXPRESS INC
                    12000 PAXTON STREET
                    Sylmar, CA 91342



                    BACK ROAD EXPRESS INC
                    13027 VICTORY BLVD #141
                    North Hollywood, CA 91606



                    BAJWA & SONS TRANSPORT INC
                    11191 VALLEJO ST
                    French Camp, CA 95231



                    BAJWA CALI TRANSPORT INC
                    3692 MASSIMO CIRCLE`
                    Stockton, CA 95212



                    BALA JI TRANSPORT INC
                    4760 E BUTLER AVE #102
                    Fresno, CA 93702



                    Balance Partners LLC
                    PO Box 2550
                    Huntington, NY 11743
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                    BALJEET HEER
                    3440 W CAPITOL AVE
                    West Sacramento, CA 95691



                    BALJIT HEER
                    2572 S UNION AVE
                    Bakersfield, CA 93307



                    Bankdirect Capital Finance
                    PO Box 660448
                    Dallas, TX 75266



                    BARNALA EXPRESS INC
                    695 W SANTA ANA AVE APT 204
                    Markleeville, CA 96120



                    Barragan Insurance Agency
                    1132 Suncast Lane #8
                    El Dorado Hills, CA 95762



                    BASHIR AHMAD SIDDIQI
                    5909 BAMFORD DR
                    Sacramento, CA 95823



                    BASSI ROADLINES INC
                    139 LEBARON BLVD
                    Lodi, CA 95240



                    BBS TRANSPORT INC
                    3661 W SHEILDS AVE APT 118
                    Fresno, CA 93727



                    BDS TRUCKING INC
                    2427 W YOSEMITE AVE
                    Manteca, CA 95337
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                    BEANT SINGH DBA ATS TRANSPORT
                    6291 W NORWICH AVE
                    Fresno, CA 93723



                    BEANT SINGH DBA ATS TRANSPORT
                    1310 TAHOW VALLEY LN
                    Sugar Land, TX 77479



                    BERRIER INSURANCE
                    9114 BUNGALOW WAY
                    Elk Grove, CA 95758



                    Best and Low Cost Ins Agency
                    2169 buena Vista Drive
                    Manteca, CA 95337



                    BEST LOADS INC
                    135 S BELMONT ST APT 1
                    Glendale, CA 91205



                    BGAL 1, LLC
                    3830 Valley Centre Road
                    San Diego, CA 92130



                    BHANGU BROTHERS TRANSPORT INC
                    7464 E SIMPSON AVE
                    Fresno, CA 93737



                    BHANGU LOGISTICS, INC
                    20500 HOLLY DR
                    Fontana, CA 92335



                    BIA Insurance Agency
                    18653 Ventura Blvd #402
                    Tarzana, CA 91356
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                    BIC, Berkley Fire & Marine
                    PO Box152180
                    Irving, TX 75015



                    Bico Insurance Services
                    2024 West 3rd Street
                    Los Angeles, CA 90057



                    BIG BYRD TRANSPORTATION INC
                    3100 BEACHWOOD DR
                    Merced, CA 95348



                    BLACK BULL CARRIER, INC
                    3602 W SAN JOSE AVE APT 215
                    Fresno, CA 93711



                    BLING SINGH TRANSPORT INC
                    24040 POSTAL AVE
                    Moreno Valley, CA 92556



                    BLUEMOON CARRIERS INC
                    18400 MALDEN UJNIT 3
                    Northridge, CA 91325



                    BMJ TRANS INC
                    25631 LEWIS WAY
                    Stevenson Ranch, CA 91381



                    BND TRANS CORP
                    15-05 CHANDLER DRIVE
                    Fair Lawn, NJ 07410



                    Bob Logistic Inc
                    15810 Boyle Ave
                    Fontana, CA 92337
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                    BOBCAT EXPRESS INC
                    6738 N SANDRINI AVE
                    Fresno, CA 93722



                    BOPARI BROTHERS TRUCKING INC
                    11616 HARLAN RD
                    Lathrop, CA 95330



                    Border Insurance Services
                    2004 Dairy Mart Rd #114
                    San Ysidro, CA 92173



                    Bossa Nova Insurance Svcs
                    10468-A San Pablo Ave
                    El Cerrito, CA 94530



                    BRAULIO GARCIA VASQUEZ DBA FI
                    1586 N VAN NESS AVE
                    Fresno, CA 93725



                    BRIDGE TRANSPORT LLC
                    956 PONT DU GARD CT
                    Buford, GA 30518



                    BROWN XPRESS INC.
                    3635 SOLEDAD AVENUE
                    Clovis, CA 93619



                    Bruce Roberts Insurance Svcs
                    10907 Downey Abvenue #101
                    Downey, CA 90241



                    BT TRUCKLINES, INC
                    3342 NORTH WEBBER AVE
                    Fresno, CA 93722
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                    BTI TRUCK LINES INC
                    435 WINTON PKWY
                    Livingston, CA 95334



                    BTL FREIGHT INC
                    500 MESA CT
                    Tracy, CA 95377



                    Bulldog Premium
                    6971 Sunrise Blvd #206
                    Fort Lauderdale, FL 33313



                    C & A UNITED XPRESS, INC
                    2707 PARADISE POINT PL
                    Bakersfield, CA 93313



                    CA 99 EXPRESS INC
                    7902 E BELMONT AVE
                    Fresno, CA 93737



                    CALDWELL ENTERPRISE LLC
                    1444 FULTON ST
                    Fresno, CA 93721



                    CALI DRAYAGE LLC
                    1651 FAIRVIEW DR
                    Ceres, CA 95307



                    California Dept of Insurane
                    300 Capital Mall #14000
                    Sacramento, CA 95814



                    CALIFORNIA TRUCKLINE, INC
                    2301 W BELMONT AVE
                    Fresno, CA 93722
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                    CAN TRANSPORT INC
                    303 LINCOLN RD
                    Vallejo, CA 94590



                    Cantrel Networks
                    1103 Val Gardens St.
                    Lodi, CA 95242



                    Capital Premium Financing Inc
                    PO Box 667180
                    Dallas, TX 75266



                    CEDRIC STEWARD LLC
                    10808 6TH ST SUITE 14
                    Rancho Cucamonga, CA 91730



                    CENCAL CARRIERS, INC
                    4131 E NORTH AVE
                    Fresno, CA 93725



                    CHAHAL EXPRESS, INC
                    3025 W CHRISTOFFERSEN PKW D204
                    Stockton, CA 95204



                    CHAHAL TRANS INC
                    14203 S UNION AVE
                    Bakersfield, CA 93307



                    Chase
                    PO Box 94014
                    Palatine, IL 60094



                    Chase Bank
                    PO Box 6294
                    Carol Stream, IL 60197
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                    CHAWAL EXPRESS INC
                    11205 CEDAR AVE
                    WILMINGTON, CA 92744



                    Checkers Truck Insurance Inc
                    784 N. Waterman Ave.
                    San Bernardino, CA 92410



                    CHEEMA FGS INC
                    2130 N MARKS AVE #127
                    Fresno, CA 93722



                    Chester Franklin
                    dba Ogden & SONS TRANSPORTATIO
                    Glendale, CA 91205



                    Chesterfield Group
                    5th Floor F. 1 Mimster Ct
                    Mincing Lane
                    London EC3R 7AA



                    CHP TECH INC
                    6605 N. Indian Canyon Dr
                    North Palm Springs, CA 92258



                    CJG Insurance Corp
                    12525 W. Okeechobee Rd
                    Hialeah, FL 33018



                    CK TRUCKING, INC
                    1949 OSBORN AVE
                    Phoenix, AZ 85016



                    CKR TRANSPORT INC
                    14203 S UNION AVE
                    Bakersfield, CA 93307
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                    CL LOGISTICS, INC
                    1358 HOOPER AVE SUITE 102
                    Coachella, CA 92236



                    Classic Plan Premium Finance
                    PO Box 5146
                    Chino, CA 91708



                    COLT MESSENGER SERVICE
                    770 S BREA BLVD #209
                    Brea, CA 92821



                    Continental Insurance
                    800 N. Zaragosa Rd. #N
                    El Paso, TX 79907



                    CONVOY TRUCKING AUTHORITY LLC
                    2250 TIDELANDS AVE
                    National City, CA 91950



                    COOL TRUCKING INC
                    14587 VALLEY BLVD
                    Fontana, CA 92335



                    CTL TRANS INC
                    1761 NEW HORIZONS DR APT #1
                    Manteca, CA 95336



                    Custom Insurance Agency
                    6107 Jovic Court
                    La Grange, IL 60525



                    Cypress Premium Funding
                    PO Box 3529
                    Mission Viejo, CA 92690
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                    D & S ENTERPRISES, LLC
                    23090 TOKAYANA WAY
                    Colfax, CA 95713



                    D&A LOGISTICS LLC
                    27406 N HIGUERA DRIVE
                    Peoria, AZ 85383



                    DA TRANSPORTERZ INC
                    1116 LOUISE AVE
                    Torrance, CA 90503



                    Daljit Singh dba AK Trucking
                    2010 Batson Ave #264
                    Rowland Heights, CA 91748



                    DANIEL URQUIDEZ
                    DBA URQUIDEZ SON TRUCKING
                    20226 N H ST
                    Oxnard, CA 93036



                    Dark Insurance Agency Inc
                    PO Box 506
                    Alexander City, AL 35010



                    DASHMESH FREIGHT LINE LLC
                    1644 ROUNDHOUSE STREET
                    Tulare, CA 93274



                    DCEE TRANZ
                    1108 VILLA AVE APT 122A
                    Clovis, CA 93612



                    DEEP LOGISTICS INC
                    5249 N COMELIA AVE
                    Fresno, CA 93722
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                    Delta Premium Financing Inc
                    PO Box 66501
                    Saint Louis, MO 63166



                    Deluxe Insurance Agency
                    555 West 91st Street
                    Los Angeles, CA 90044



                    Derenik Tosunyan dba Superson
                    30821 East The Old Road
                    San Fernando, CA 91340



                    DHADDA TRANSPORT INC
                    3241 INDUSTRIAL DRIVE
                    Yuba City, CA 95993



                    DHAMI BROTHERS INC
                    1601 S UNION AVE
                    Bakersfield, CA 93307



                    DHANJU TRUCK LINE INC DBA: DTL
                    221 SPRINGFIELD DR
                    Manteca, CA 95337



                    DHESI FREIGHTLINES, INC
                    2828 EL CENTRO ROAD
                    Sacramento, CA 95833



                    Dillon Risk Management
                    B31:L31 Insuranc Services Inc
                    4180 Douglas Blvd #100
                    Granite Bay, CA 95746



                    Direct Deal Insurance
                    11803 Pierce Street #200
                    Riverside, CA 92505
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                    DISPATCH CENTRAL INC
                    6752 DE MOSS DRIVE APT 217
                    Houston, TX 77074



                    DJD TRUCKING INC
                    7614 IRON HORSE PL



                    Dodge Insurance
                    dba Arroyo Insurance Service
                    225 E. Santya Clara St. #130
                    Arcadia, CA 91006



                    Don Rose Logistics Inc
                    1218 S Glendale Ave Ste 67
                    Glendale, CA 91205



                    DON ROSE LOGISTICS, INC
                    11475 PENROSE ST
                    Sun Valley, CA 91352



                    Doyle & Ogden Insurance
                    3330 Broadmoor Ave. SE #E
                    Grand Rapids, MI 49512



                    DREAMLAND TRUCKING INC
                    3310 BEACHWOOD
                    Merced, CA 95348



                    DS SANDHU TRANS
                    8312 LIBBY CT
                    Bakersfield, CA 93313



                    DS SANDHU TRANS
                    1206 TORI LANE
                    Yuba City, CA 95993
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                    DSD EXPRESS INC
                    1712 GINGKO AVE
                    Modesto, CA 95354



                    DSG EXPRESS INC
                    575 MATMOR RD APT 30
                    Woodland, CA 95776



                    DSK TRUCKING INC
                    2120 S UNION AVE
                    Bakersfield, CA 93307



                    E & R TRANSPORTATION, INC
                     DBA E & R TRUCKING
                    Mendota, CA 93640



                    E&E TRUCKING INC
                    3303 W Magnolia Blvd
                    Burbank, CA 91505



                    EARTH BUSES, LLC
                    6442 WINDY ROAD
                    Las Vegas, NV 89119



                    Earthtrade Inc
                    3424 3rd St
                    Riverside, CA 92501



                    EASY LIVING
                    6685 QUINCE ROAD
                    Memphis, TN 38125



                    Easy Truck Insurance Svcs Inc.
                    7635 Clement Road
                    Vacaville, CA 95688
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                    EDGAR GARCIA
                    DBA: LM & SONS TRUCKING
                    13600 NAPA ST
                    Fontana, CA 92336



                    EDMONDS XPRESS TRUCKING
                    24950 S MAIN STREET
                    Carson, CA 90745



                    EK LOGISTICS INC
                    1565 SEKIO AVE
                    Rowland Heights, CA 91748



                    ELIZA EXPRESS INC
                    13115 Oxnard St Apt 11
                    Van Nuys, CA 91401



                    ELT TRANSPORTATION, LLC
                    9351 JACKSON RD
                    Sacramento, CA 95826



                    Empire Transport Ins Svcs.
                    21500 Burbank Blvd. Unit 114
                    Woodland Hills, CA 91367



                    ENIO ROJAS DBA: SONS OF ROJAS
                    6400 VALLEY VIEW
                    Buena Park, CA 90620



                    ERIC ALAN JOHNSTON II
                    DBA ENE TRUCKING
                    24701 ARTHUR ROAD
                    Escalon, CA 95320



                    ERIC TIMMOTHY ALFRED
                    DBA WEST COAST FREIGHTLINES
                    501 TAYLOR STREET APT 24
                    Bakersfield, CA 93309
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                    Essessay Insurance Services
                    PO Box 3279
                    Danville, CA 94526



                    EXCLUSIVE TRUCKING INC
                    1004 WEST COVINA PKWY UNIT 217
                    West Covina, CA 91790



                    Executive Insruance Agency
                    PO Box 480
                    Stockbridge, GA 30281



                    EXTRA HAUL EXPRESS
                    1235 OSWALD RD
                    Yuba City, CA 95991



                    F G F TRUCKING 2 LLC
                    2039 QUAIL PLACE DRIVE
                    Missouri City, TX 77489



                    FAST & SAFE TRANSPORT
                    12000    PAXTON STREET
                    Sylmar, CA 91342



                    FASTRACK FREIGHT INC
                    4193 FLATROCK DRIVE #200
                    Riverside, CA 92505



                    Fidelity Truck & Auto Ins
                    115 N. Vineyard Avenue #200
                    Ontario, CA 91764



                    Fino Services LLC
                    6193 Hwy Blvd.
                    Katy, TX 77494
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                    FIROZ THIND DBA MMA TRUCKING
                    5431 E PARLIER AVE
                    Fowler, CA 93625



                    FIRST EAGLE TRUCKING
                    11475 Penrose St.
                    Sun Valley, CA 91352



                    First Insurance Funding
                    PO Box 7000
                    Carol Stream, IL 60197



                    First Mid Bank
                    Elan Financial Services
                    PO Box 790408
                    Saint Louis, MO 63179



                    FIVE STAR DELIVERY SERVICES LL
                    1630 SANTA MONICA ST
                    San Antonio, TX 78201



                    FLEET MATCH, INC
                    11475 Penrose St.
                    Sun Valley, CA 91352



                    Fortis Insurance Brokers
                    1212 S. Bristol Street #11
                    Santa Ana, CA 92704



                    Franchise Tax Board
                    PO Box 942867
                    Sacramento, CA 94267



                    FRANCIS DOLORES GONZALEZ
                    DBA LOLY TRANSPORT
                    14320 SLOVER AVE
                    Fontana, CA 92337
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                    FRIENDLY & SAFE TRANSPORT LLC
                    1716 BRIARCREST DRIVE
                    Bryan, TX 77802



                    Fundamental Underwriters
                    28791 Network Place
                    Chicago, IL 60673



                    FUTURE MEDICAL TRANSPORTATION,
                    6442 WINDY ROAD
                    Las Vegas, NV 89119



                    G & E TRUCKING, INC
                    9017 STATEN ISLAND DRIVE
                    Bakersfield, CA 93311



                    G.M. Lawrence Brokerage
                    7746 Lorraine Ave #214
                    Stockton, CA 95210



                    GA TRANSPORTATION INC
                    15825 ROXFORD ST
                    Sylmar, CA 91342



                    GAGAN XPRESS INC
                    2572 S UNION AVE
                    Fresno, CA 93703



                    Gain Insurance Agency
                    1502 Cypress Avenue
                    Los Angeles, CA 90062



                    GALVAN AND SONS TRANSPORT LLC
                    11234 DUBLIN TRACE
                    Dallas, TX 75254
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                    GAMERZ LOGISTICS INC
                    1820 PENNEBAKER WAY APT 202
                    Manteca, CA 95336



                    GAYLE'S TRANSPORTATION COMPANY
                    14416 SLOVER AVE
                    Fontana, CA 92337



                    Gazelle Logistics Inc
                    8261 Schaeffer Ave
                    Ontario, CA 91761



                    GBC Insurance Solutions Inc
                    110 East 9th St, Suite A-1126
                    Los Angeles, CA 90079



                    General Agents Acceptance Corp
                    PO Box 1177
                    Lake Forest, CA 92609



                    GERMAN TRUCKING INC
                    4129 MERCER DRIVE
                    Modesto, CA 95356



                    GGS TRUCKING INC
                    3150 N WEBER AVE
                    Fresno, CA 93722



                    GHALIB TRUCKING INC
                    1513 ALAMO DRIVE APT 21
                    Vacaville, CA 95687



                    Ghasem Nikjoo
                    dba Pacific Caravan Trucking
                    dba Pacific Cara
                    Irvine, CA 92614
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                    GID TRANSPORT EXPRESS INC
                    5170 Steve Ave
                    Riverside, CA 92509



                    GILSON XPRESS INC
                    1030 COTTONWOOD RD
                    Bakersfield, CA 93307



                    GIVDJ Valley Ins. Agency LLC
                    2350 W. Shaw Avenue #150
                    Fresno, CA 93711



                    Givesurance Ins Servives LLC
                    21900 Burbank Blvd.
                    3rd Floor
                    Woodland Hills, CA 91367



                    GLEN SAGASTUME GARCIA
                    14928 SLOVER ST
                    Fontana, CA 92337



                    Glendale Best Insurance Svc
                    1236 S. Glendale Ave #A
                    Glendale, CA 91205



                    GLG, Inc.
                    6332 S. Rainbow Blvd #100
                    Las Vegas, NV 89118



                    GLOBAL STAR TRANS INC
                    3500 DATA DRIVE APT 262
                    Rancho Cordova, CA 95670



                    GNTTC, INC
                    19610 SERMAN WAY UNIT 1
                    Reseda, CA 91335
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                    Go To Premium Finance
                    PO Box 4312
                    Woodland Hills, CA 91365



                    GOLD CARRIERS, INC
                    5620 DISTRICK BLVD APT 1089331
                    Bakersfield, CA 93313



                    GOLDEN HAWK TRANSPORTATION INC
                    3400 E ROSE ST
                    Compton, CA 90221



                    Golden Pro Insurance Svcs, Inc
                    28048 Bouquest Canyon Road
                    Suite #2
                    Santa Clarita, CA 91350



                    Gomez Insurance Agency
                    3651 Mitchell Rd #D
                    Ceres, CA 95307



                    GOMEZ TRANSPORTATION, LLC
                    25208 MC COY AVE
                    Harbor City, CA 90710



                    GR CARRIER, INC
                    2955 OATES STREET
                    West Sacramento, CA 95691



                    Grandeza Ins Brokerage, Inc.
                    17791 Exa Court
                    Carson, CA 90746



                    Granite Premium Finance Inc
                    PO Box 66501
                    Saint Louis, MO 63166
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                    GREGORY MAGEE II
                    6327 MELODY LANE APT 2724
                    Dallas, TX 75231



                    GREWAL FREIGHTWAY INC
                    3612 W SAN JOSE AVE APT 213
                    Fresno, CA 93711



                    GULCHUCKS TRANSPORTATION SERVI
                    2201 FOREST LAKE DRIVE
                    95670



                    GURCHARANJIT SINGH
                    DBA: SANGER BROS
                    4231 E CLAYTON AVE
                    Fresno, CA 93725



                    GURMINDER SINGH
                    1700 N Tully Rd Apt E238
                    Turlock, CA 95380



                    Gurnam Singh dba: NS Transport
                    2301 W BELMONT AVE
                    Fresno, CA 93728



                    Gurnam Transport, Inc
                    2396 South Golden Gate Blvd
                    Fowler, CA 93625



                    GURPINDER SINGH
                    DBA SAMRA TRUCK LINE
                    Delhi, CA 95315



                    GURPREET SINGH
                     DBA JAKARA TRAN
                    1916 WOODLAND DRIVE
                    Yuba City, CA 95991
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                    GURPREET SINGH
                    DBA BAAZ TRUCK LINE
                    1740 REILLY ROAD
                    Merced, CA 95341



                    GURPREET SINGH DBA LIVE TRUCKI
                    3032 N VAHE AVE
                    Fresno, CA 93737



                    GURPREET SINGH DBA RED TRANSPO
                    6082 N DELBERT AVE
                    Fresno, CA 93722



                    GURPREET SINGH PADDA
                     DBA BLUE HORSE TRANSPORT
                    Fresno, CA 93711



                    GURSEWAK S GILL
                    3469 W BENJAMIN HOLT DR        #497
                    Stockton, CA 95219



                    H LOMELI TRUCKING LLC
                    2093 FOOTHILLL AVE
                    San Bernardino, CA 92410



                    H2B LOGISTICS LLC
                    1204 SUMMER LANE
                    McKinney, TX 75071



                    HANJIE TRUCKING
                    7737 MEADOWCREST CT
                    Rancho Cucamonga, CA 91730



                    HAR EXPRESS INC
                    7003 N SHIRAZ AVE
                    Fresno, CA 93722
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                    HAR TRANSPORT INC
                    14447 FIRESTONE BLVD
                    La Mirada, CA 90638



                    HARBINDER SINGH DHALIWAL DBA D
                    9245 STEPHENS ST
                    Delhi, CA 95315



                    HARDEEP SINGH DBA CALI RYDAZ T
                    762 SUGAR PINE DRIVE
                    Lathrop, CA 95330



                    HARDIP SINGH DBA HARRY TRUCKIN
                    1849 NELSON BLVD APT 144
                    Selma, CA 93662



                    HARJINDER SINGH
                    2190 N SCHNOOR ST #124
                    Madera, CA 93637



                    HARJOT SINGH MAAN
                     DBA SMS TRANSPORT
                    6838 W FALLON AVE
                    Nashville, TN 37220



                    HARMAN TRUCK LINE INC
                    7529 REESE RD
                    Sacramento, CA 95828



                    HARMANDEEP SINGH KHANGURA DBA
                    DBA PARAM TRUCKING
                    2306 AMANECER AVE
                    Clovis, CA 93619



                    HARMINDER SINGH DBA DTC
                    3111 S CHESTNUT AVE
                    Fresno, CA 93725
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                    HARNOOR TRANSPORT INC
                    1545 JODI DRIVE
                    Yuba City, CA 95993



                    HAROLD R CHANDRA
                    3594 CRISSWELL DRIVE
                    Elk Grove, CA 95624



                    HARPREET SINGH VIRK DBA VIRK T
                    4408 TRUXEL RD APT 38
                    Sacramento, CA 95834



                    HARRY SUN TRUCKING LLC
                    5545 N MADELYN AVE
                    Fresno, CA 93723



                    HARWINDER SINGH
                    4501 MARPLE CREST STREET
                    Sacramento, CA 95834



                    HAUL LOGISTICS
                    4951 W JACQUELYN AVE
                    Fresno, CA 93722



                    Haul Master Carriers LLC
                    33200 Rd 212
                    Woodlake, CA 93286



                    Heffernan Insurance Brokers
                    1350 Carlback Avenue
                    Walnut Creek, CA 94596



                    HIGHWAY FREIGHT INC
                    1220 S CLOVER AVE
                    Fresno, CA 93727
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                    Hilltop Specialty Insurance Co
                    Hudson Insurance Group
                    100 William Street 5th Floor
                    New York, NY 10038



                    HNI Risk Services LLC
                    16805 West Cleveland Ave
                    New Berlin, WI 53151



                    HONEY BEE, Inc
                    2207 E CARSON ST
                    Long Beach, CA 90810



                    HOWE TRANSPORT LLC
                    1140 CEDAR AVE
                    Bloomington, CA 92316



                    HPH TRANSPORTATION INC
                    9250 TUJUNGA AVE
                    Sun Valley, CA 91352



                    HSD CARRIER INC
                    4402 RIO VIEJO DRIVE
                    Bakersfield, CA 93313



                    HSK CARRIERS INC
                    15543 Castellion Rd
                    Fontana, CA 92337



                    Hub International Midwest Ltd
                    PO Box 158
                    Evansville, IN 47701



                    HUDSONBYRD TRUCKING LLC
                    525 HIGHWAY 4 E
                    Ashland, MS 38603
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                    HUMBERTO ELIZALDE
                    1558 N ST
                    Newman, CA 95360



                    HUMBLE FREIGHT CARRIER INC
                    4225 W CAPTIOL AVE
                    Clovis, CA 93611



                    HUNDAL BROS EXPRESS INC
                    10865 WALNUT DRIVE
                    Fontana, CA 92335



                    HUSKY GROUP INC
                    11414 PENROSE AVE
                    Sun Valley, CA 91352



                    HUSKY GROUP INC
                    11434 PENROSE ST
                    Sun Valley, CA 91352



                    I Truck Road LLC
                    291 Del Amo Fashion Ct #13114
                    Torrance, CA 90503



                    IAHORIA TRANS INC
                    1596 ALICIA WAY
                    Sacramento, CA 95835



                    IBROKHIM KAYUMOV
                    1408 48TH AVE
                    San Francisco, CA 94122



                    ICELAND EXPRESS INC
                    3661 W SHIELDS AVE APT 156
                    Fresno, CA 93722
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                    IHAR ZVERAU
                    DBA CD MOVING & TRANSPORTATION
                    11475 Penrose St.
                    Sun Valley, CA 91352



                    Inatellect Insurance Solutions
                    417 West Arden Ave #121A
                    Glendale, CA 91203



                    Inland Business Systems
                    PO Box 843760
                    Los Angeles, CA 90084



                    Inland Business Systems
                    1326 North Market Blvd.
                    Sacramento, CA 95834



                    Insurance Finance Company LLC
                    PO Box 315
                    Des Moines, IA 50306



                    Insuremart, Inc.
                    265 S. Rainbow Blvd #310
                    Las Vegas, NV 89146



                    Integrity Network Ins Group
                    1315 Grand Ave Pkwy#101
                    Pflugerville, TX 78660



                    Inter Red Insurance Svcs
                    9765 Marconi Drive #105
                    San Diego, CA 92154



                    Inzone Insurance Services
                    fka G.M. Lawrence Ins. Broker
                    776 Lorraine Avenue #214
                    Stockton, CA 95210
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                    IPFS
                    PO Box 412086
                    Kansas City, MO 64105



                    IRA Frankel
                    Prof Underwriting Group
                    5300 West Atlantic Ave #610
                    Delray Beach, FL 33484



                    ITZEL BIBIANO DBA M AND I TRAN
                    1820 HARTMAN ROAD
                    Livermore, CA 94551



                    Ivan Marquez Agency
                    801 15th Street #A
                    Burbank, CA 91506



                    J & D TRANS, INC
                    1816 GOLDEN STATE AVE
                    `
                    Bakersfield, CA 93301



                    J & J TRUCKLINES INC
                    1002 FRONTAGE RD
                    Ripon, CA 95366



                    J C LOGISTICS LLC
                    8631 LIVE OAK
                    Fontana, CA 92335



                    J&S Insurance Agency
                    18709 116th Avenue East
                    Puyallup, WA 98374



                    JACKPOT EXPRESS INC
                    600 HOSKING AVE APT 540
                    Bakersfield, CA 93307
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                    Jagdeep Singh Ins Agency, Inc.
                    4185 West Figarden Dr. #101
                    Fresno, CA 93722



                    JAGDISH SINGH SRAN DBA APV TRA
                    7601 SUNRISE BLVD SUITE 5
                    New York, NY 10095



                    JAGDISH SINGH SRAN DBA APV TRA
                    3175 SANKEY ROAD
                    Pleasant Grove, CA 95668



                    JAGJEET SINGH DBA: FAST EXPRE
                    3965 W SHIELD AVE #23
                    Fresno, CA 93722



                    JAN CARRIER, INC
                    701 ROOSTER DRIVE
                    Bakersfield, CA 93307



                    JARET PYE
                    DBA BILL PYE TRUCKING LLC
                    4602 S BUDLONG AVE
                    Los Angeles, CA 90037



                    JARNAIL SINGH
                    DBA ON TIME TRUCKING
                    1301 RICHLAND AVE APT 141
                    Modesto, CA 95351



                    JARNAIL SINGH DHALIWAL
                    DBA DHALIWAL TRUCKING
                    600 HOSKING AVE APT 7D
                    Bakersfield, CA 93307



                    JASVINDER SINGH DBA NS TRANSPO
                    6651 W KADOTA AVE
                    Fresno, CA 93723
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                    JASVIR KAUR DBA JAGAT TRANSPOR
                    5187 W CARMEN AVE
                    Fresno, CA 93722



                    JASWINDER KAUR
                    DBA GOLDEN STATE TRUCKING
                    1187 N WILLOW AVE STE 103 #814
                    Clovis, CA 93611



                    JATINDER SINGH DBA DHAILWAL
                    888 BETHEL AVE APT 130
                    Sanger, CA 93657



                    JATINDERPAL SINGH GARCHA
                    DBA GARCHA EXPRESS
                    3880 MOUNTAIN VIEW ROAD,
                    Turlock, CA 95382



                    Javier Chavez Agency LLC
                    14531 Kentley Orchard Lane
                    Cypress, TX 77429



                    Javier Insruance Services
                    12116 Garfield Avenue
                    South Gate, CA 90280



                    Jawanda Express Inc
                    1595 Solistra CIR
                    Colton, CA 92324



                    JBSN TRANSPORT INC
                    5414 E LAURITE AVE
                    Fresno, CA 93727



                    JD SUKH EXPRESS
                    8700 ANTELOPE NORTH RD
                    Antelope, CA 95843
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                    Jesus Emmanuel Hernandez Meza
                    dba J&M Transport
                    46155 DILLON ROAD
                    Sylmar, CA 91342



                    JHAND CARRIER, INC
                    5301 N VALENTINE AVE APT 157



                    JNB LOGISTICS INC
                    15627 W BOTELHO AVE
                    Kerman, CA 93630



                    JOGA SINGH DBA SGS TRANS INC
                    3075 W NIELSON AVE
                    Fresno, CA 93722



                    Jones Trucking Ins. Agency Inc
                    10100 Saddlecreek Road
                    Waco, TX 76708



                    JONPAL SINGH
                    2572 S UNION ROAD
                    Bakersfield, CA 93307



                    Jordan A. Bremer
                    2530 P Street
                    Merced, CA 95340



                    JOSE LUIS VASQUEZ
                    2538 S UNION AVE
                    Bakersfield, CA 93307



                    JS SINGH
                    4375 N GOLDEN STATE BLVD
                    Fresno, CA 93722
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                    JS SINGH
                    4460 W SHAW AVE PMB 379
                    Fresno, CA 93722



                    JS SINGH
                    6103 SHINING SUNSET DRIVE
                    Sparks, NV 89436



                    JTC Insurance Agency
                    17800 Castleton Street
                    Rowland Heights, CA 91748



                    JUAN A VELAZQUEZ
                    DBA JAM TRUCK
                    1109 KLEEMAN WAY
                    Arbuckle, CA 95912



                    JUAN AMERICANO HERNANDEZ
                    DBA j&a TRUCKING
                    2850 LOOMIS RD
                    Stockton, CA 95205



                    JUAN LUNA CASTELLANOS
                    11392 SKY COUNTRY DRIVE
                    Mira Loma, CA 91752



                    JUAN MANUEL AMEZCUA
                    14201 COSTAJO RD
                    Bakersfield, CA 93313



                    JUJHAR SINGH DBA BINDRA EXPRES
                    4101 E NORTH AVE
                    Fresno, CA 93725



                    JULIO CESAR CORTEZ
                    9317 Bandera St
                    Los Angeles, CA 90002
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                    Julio Orellana Prieto
                    dba OP&J Trucking
                    14320 Soldedad Canyon
                    Canyon Country, CA 91387



                    K JOT TRUCKING INC
                    2881 E JENSON AVE
                    Fresno, CA 93706



                    K&P Transportation LLC
                    1565 Sekio Ave
                    Rowland Heights, CA 91748



                    KANGAROOFREIGHT LINES INC
                    DBA KFL INC.
                    9881 ELDER CREEK RD
                    Sacramento, CA 95829



                    KANWALJIT SINGH
                    10322 W LINNE RD
                    Tracy, CA 95376



                    KATERIN K KHACHIKYAN DBA WHITE




                    KAUFMAMNNS LLC
                    241 W. Rialto Ave Unit 805
                    Baker, CA 92309



                    KAWALJIT SINGH BAJWA
                    11756 ROSE WIND CT
                    Rancho Cordova, CA 95742



                    KAZZANOS TRUCKING INC
                    652 E 12TH STREET
                    Los Angeles, CA 90023
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                    KD TRANSIT INC
                    3565 W BARSTOW AVE APT 217
                    Fresno, CA 93711



                    Kemper CPA Group LLP
                    3031 W. March Lane #133 South
                    Stockton, CA 95219



                    KEVIN LOUIS HARRIS
                    DBA HARRIS FAMILY TRUCKING
                    20030 CRESTVIEW DRIVER 134
                    Canyon Country, CA 91351



                    KEVIN POOLER DBA: POOLER TRUCK
                    4236 SO HIGHWAY 99
                    Stockton, CA 95215



                    KEVINDEEP SINGH BRAR DBA: CALI
                    4231 N BAIN AVE
                    Fresno, CA 93722



                    Khachik Sahakyan dba GS 12
                    11475 Penrose St.
                    Sun Valley, CA 91352



                    KHATTRA CARGO INC
                    5118 BLUE BROOK DRIVE
                    Bakersfield, CA 93313



                    KHUSHWANT SINGH
                    596 ANNA DRIVE
                    Yuba City, CA 95993



                    KHUSHWANT SINGH
                    2730 W PRINCETON AVE
                    Fresno, CA 93705
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                    Kingpin Insurance Services
                    30545 Union City Blvd.
                    Union City, CA 94587



                    KKR TRANSPORTATION, INC
                    4259 W CAMBRIDGE AVE
                    Fresno, CA 93722



                    KNIGHTAEH INC
                    144 N CEDAR ST
                    Glendale, CA 91206



                    KRS LOGISTICS, INC
                    KRS LOGISTICS, INC
                    Fresno, CA 93723



                    KS KHALSA TRANSPORT INC
                    6221 W SAN JOSE AVE
                    Fresno, CA 93723



                    KULWINDER SINGH DBA KS GILL
                    404 S WAVERLY LANE APT 117
                    Fresno, CA 93727



                    Kunkel & Associates, Inc.
                    401 Data Court
                    Dubuque, IA 52003



                    L&J CARGO INC
                    14111 Soledad Canyon Rd
                    Canyon Country, CA 91387



                    LA West Insurance Services
                    5177 W. Sunset Blvd
                    Los Angeles, CA 90027
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                    LA West Insurance Services
                    11306 W. Ventura Blvd.
                    Studio City, CA 91604



                    LAKHWINDER SINGH GILL DBA GHL
                    6251E AMERICAN AVE



                    Lancashire Insurance Company
                    20 Fenchurch Street
                    London , EC3M 3BY



                    LANCER TRANSPORT LLC
                    10961 LARCH AVE
                    Riverside, CA 92516



                    LAZO TRANSPORTATION INC
                    9441 OPAL AVE
                    Mentone, CA 92359



                    Leap Carpenter Kemp Insurance
                    3187 Collins Drive
                    Merced, CA 95348



                    Licensing Professionals
                    PO Box 566
                    Lynden, WA 98264



                    LINK FREIGHT LINE INC
                    20 W COLLEGE PKW APT 154 M
                    Carson City, NV 89706



                    Links Insurance Services
                    6200 Village Parkway #203
                    Dublin, CA 94568
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                    LITTLE MAN MOVING SERVICES, LL
                    3761 N 298TH DRIVE
                    Buckeye, AZ 85396



                    LKW TRANSPORTATION
                    82560 AIRPORT BLVD
                    Sylmar, CA 91342



                    LLX GROUP INC
                    8595 MILLIKEN AVE
                    Temple City, CA 91780



                    LONDON EXPRESS, INC
                    3400 EAST 8 MILE
                    Fresno, CA 93722



                    LONNIE DUANE HICKEY
                    DBA RENEGADE LOGISTICS
                    108 S LONGHORN DR
                    Weatherford, TX 76085



                    LPL TRANSPORT INC
                    519 4TH ST PMB 118
                    Clovis, CA 93612



                    LU WAY TRANSPORTATION, LLC
                    6956 DUBLIN DR
                    Chino, CA 91710



                    Lubemer International Ins
                    11859 Inglewood Avenue
                    Hawthorne, CA 90250



                    Lubin-Bergman Organization
                    5 Revere Drive #370
                    Northbrook, IL 60062
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                    Lucila's Insurance Services
                    12116 Garfield Avenue
                    South Gate, CA 90280



                    LVL, LLC
                    DBA STARDUST TRANSPORTATION
                    DBA STARDUST TRANSPOR
                    Las Vegas, NV 89103



                    Lxtus Insurance Services
                    848 Clovis Avenue
                    Clovis, CA 93612



                    M AND I TRANSPORT
                    898 HERMAN AVE APT 109
                    Livermore, CA 94551



                    M G S TRUCKING
                    1200 ACACIA AVE
                    Sutter, CA 95982



                    MAA LOGISTICS INC
                    2572 S UNION RD
                    Fresno, CA 93703



                    MACHINERY TRANSPORT LLC
                    3397 HWY 259S
                    Henderson, TX 75653



                    MAGMATUS, LLC
                    1133 JUSTIN AVE #214
                    Glendale, CA 91201



                    MAHI LOGISTICS INC
                    6752 VINELAND RD
                    Bakersfield, CA 93307
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                    MAJ TRUCKING LLC
                    13500 MARLAY AVE
                    Fontana, CA 92337



                    MAJHA EXPRESS INC
                    1346 EAST TAYLOR STREET
                    San Jose, CA 95133



                    MALWA HAULIER INC
                    400 GANDY DANCER DR
                    Tracy, CA 95377



                    MAND LOGISTICS INC
                    3602 W SAN JOSE AVE APT 140
                    Fresno, CA 93722



                    MANJINDER SINGH DBA MANAK TRAN
                    555 S ARGYLE AVE APT 122
                    Fresno, CA 93727



                    MANJIT SINGH
                     DBA LOVEJOT TRANSPORT
                    19758 SANTA ANA AVE
                    Bloomington, CA 92316



                    MANPREET SINGH DBA M & M CARGO
                    6428 GREEN GARDEN DR
                    Bakersfield, CA 93313



                    MANUEL SALVADOR RODRIGUEZ
                     DBA SALS TRANSPORTATION
                    195 98TH AVE
                    Oakland, CA 94603



                    MARCO A RICO DBA IMPERIAL FREI
                    2712 MEADOWBRROK DR
                    Imperial, CA 92251
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                    MARCOS A GONZALEZ CERROS DBA M
                    1590 11TH ST
                    Mendota, CA 93640



                    Marquee Insurance Group LLC
                    1000 Holcomb Woods Pkwy #315A
                    Roswell, GA 30076



                    Marshall-Sutton & Associates
                    1209 N.Saginaw Blvd #G-251
                    Fort Worth, TX 76179



                    MARTIN & DANIE MORALES
                    DBA MORALES TRUCKING
                    11405 DOWNEY AVE
                    Downey, CA 90241



                    MARVIN ANTONIO DIAZ MENDOZA
                    DBA AM TRANSPORT
                    31901 SAN VICENTE RD
                    San Diego, CA 92121



                    MASSEYS TRANS INC
                    15794 Boyle Ave
                    Fontana, CA 92334



                    Matthew Hernandez
                    5410 Rainbow Lane
                    Atwater, CA 95301



                    MBT TRANSPORT INC
                    3139S H STREET APT 20
                    Robbins, CA 95676



                    MBT TRANSPORT INC
                    3139S H STREET APT 20
                    Bakersfield, CA 93304
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                    MCFARLAND LOGISTICS INC
                    8701 US 395
                    Hesperia, CA 92344



                    McGuire Transport LLC
                    9445 BELLEGRAVE AVE
                    Baker, CA 92309



                    McMillan Insurance Group
                    Division of World Ins. Assoc
                    656 Shrewsbury Avenue #200
                    Red Bank, NJ 07701



                    McMillan Insurance Group
                    5608 Malvey Ave #119
                    Fort Worth, TX 76107



                    MDM TRANS, INC
                    11475 Penrose St.
                    Sun Valley, CA 91352



                    Melissa DeKove
                    2710 Gateway Oaks Dr Ste 150N
                    Sacramento, CA 95833



                    Metro Express International LL
                    6531 Rhodes Ave
                    North Hollywood, CA 91606



                    MHOOPER TRANSPORTATION LLC
                    3525 ISLAND AVE #D
                    San Diego, CA 92102



                    MIA EXPRESS LLC
                    27441 N BLACK CANYON HWY UNIT
                    Stockton, CA 95205
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                    MIA EXPRESS LLC
                    27441 N BLACK CNYN HWY #T 107
                    Phoenix, AZ 85085



                    Michael Hasan, CPA
                    5927 Balfour Court 115
                    Carlsbad, CA 92008



                    Michael Kennedy Ins Agency
                    2295 Fletcher Parkway #100
                    El Cajon, CA 92020



                    Mickey and Sons Inc
                    11475 Penrose St.
                    Sun Valley, CA 91352



                    Millennium Finance Corp
                    PO Box 66501
                    Saint Louis, MO 63166



                    Mitel
                    PO Box 53230
                    Phoenix, AZ 85072



                    MK TRUCKLINES INC
                    1405 S POST ROAD
                    Indianapolis, IN 46239



                    MKS TRANS INC
                    2264 N MARKS AVE APT 234
                    Fresno, CA 93722



                    MMH Transport LLC
                    4162 Mission BLVD
                    Montclair, CA 91763
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                    MNATSAKAN MIKE GRIGORYAN
                    11475 Penrose St.
                    Sun Valley, CA 91352



                    MOHAMMAD BOOTA SHAHBAZ
                    DBA MAHER BROTHER
                    3645 EL DORADO ST
                    Stockton, CA 95206



                    Mohammad Ilkhani
                    dba Mozafari Trucking
                    115 S Wildwood Ave
                    Glendora, CA 91741



                    MOHAN SINGH DBA A&A TRUCK LINE
                    2375 INDUSTRIAL ROWE
                    Turlock, CA 95380



                    MOHI TRUCKING INC
                    6204 STINE RD APT C
                    Bakersfield, CA 93313



                    MPG TRANSPORTATION LLC
                    1030 COTTONWOOD ROAD
                    Bakersfield, CA 93307



                    MSD TRANPSORTATION, LLC
                    9508 185TH STREET CT
                    PUYALLUP, WA 98735



                    MST INS SVCS INC
                    5249 N CORNELIA AVE
                    CA 92722



                    MST Insurance Services, Inc.
                    2672 Amtchi Court
                    Tracy, CA 95304
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                    MT ON TIME, INC
                    11620 PEORIA ST
                    Sun Valley, CA 91352



                    MTA Transport Inc
                    5140 W Ramsey St
                    Banning, CA 92220



                    MTG Insurance
                    106 East 12th Street
                    Benton, KY 42025



                    MUHAMMAD ALI
                    11582 QUARTZ DR
                    95602
                    Auburn, CA 95602



                    MUKHPAL SINGH
                    DBA MUKHPAL FREIIGHT CARRIERS
                    2436 STAGECOACH RD
                    Stockton, CA 95215



                    MULTANI TRUCKING INC
                    4801 TULLY RD
                    Modesto, CA 95356



                    Mustang Enterprise
                    8474 Coyote Trail
                    Hesperia, CA 92344



                    MV Destiny Insurance
                    5629 N. Figarden Dr. #111
                    Fresno, CA 93722



                    MVP LOGISTICS, LLC
                    4325 E GUASTI ROAD
                    Ontario, CA 91761
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                    MY NORTH ARROW, INC
                    185 CAJON BLVD
                    San Bernardino, CA 92407



                    N & NB TRUCKING INC
                    2572 S UNION AVE
                    Bakersfield, CA 93307



                    N S K FREIGHTLINES INC
                    619 EMERALD PLACE
                    Manteca, CA 95336



                    NARWAL BROTHERS, INC
                    4449 N BRAWLEY AVE
                    Fresno, CA 93722



                    NATAN TRUCKING LLC
                    9221 AMBERTON PARKWAY #140
                    Dallas, TX 75243



                    National Insurance Agency
                    7120 Minstrel Way #205
                    Columbia, MD 21045



                    NAVJOT SINGH DBA GURNAV TRANSP
                    3661 W SHIELDS AVE
                    Fresno, CA 93722



                    NETWORK
                    24701 ARTHUR ROAD
                    Escalon, CA 95320



                    Network Truck Ins Svcs, Inc.
                    120 Main Street
                    Roseville, CA 95678
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                    NEW ERA LOGISTICS INC
                    11475 Penrose St.
                    Sun Valley, CA 91352



                    New Ray Insurance Brokers
                    780 West Grand Ave #C
                    Oakland, CA 94612



                    NEW RENAISSANCE ENTERPRISE, IN
                    11475 Penrose St.
                    Sun Valley, CA 91352



                    Newfront Insurance Svc Inc
                    101 2nd Street #525
                    San Francisco, CA 94105



                    NEXT LEVEL LOGISTICS, INC
                    1108 E PALMER AVE APT 19
                    Glendale, CA 91205



                    NIJJAR BROTHERS INC
                    2733 W PRINCETON AVE
                    Fresno, CA 93705



                    NIRMAL SINGH AUJLA DBA SSA TRU
                    2733 PRINCETON AVE
                    Meadow Vista, CA 95722



                    Noble West Insurance
                    205 Natoma Street
                    Folsom, CA 95630



                    NORTH TRANS, INC
                    10322 W LINNE RD
                    Tracy, CA 95376
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                    NORTHERN VALLEY TRUCKING INC
                    1651 E WHITMORE AVE
                    Ceres, CA 95307



                    NOW TRANSPORTATION, LLC
                    5330 WHEATON ST
                    La Mesa, CA 91942



                    NW TRANSPORTATION, LLC
                    5327 S RIMPAU BLVD
                    Los Angeles, CA 90043



                    OBAN TRANSPORTATION, INC
                    11475 PENROSE ST
                    Sun Valley, CA 91352



                    Old Kentucky Insurance Inc
                    915 Lily Creek Road
                    Blakenbaker Office Park
                    Louisville, KY 40243



                    On the Road Insurance Services
                    16225 Devonshire Street
                    Granada Hills, CA 91344



                    On Time Freight, Inc.
                    1607 DUSTY MILLER LANE
                    Ceres, CA 95307



                    ONKAR FREIGHT INC
                    3640 W NIELSEN AVE
                    Fresno, CA 93706



                    ONKAR TRANSPORT INC
                    3150 N. WEBER AVE
                    Fresno, CA 93722
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                    ORBIT TRNSPORT INC
                    8215 Beech Ave
                    Fontana, CA 92335



                    ORE LOGISTICS, LLC
                    6149 E BRICK DRIVE
                    Fresno, CA 93727



                    ORFILIA E LOPEZ DE OCHOA
                     DBA: KILL TRANSPORT
                    8589 ETIWANDA AVE
                    Rancho Cucamonga, CA 91739



                    ORNELAS TRANSPORT COMPANY
                    430 N SACRAMENTO ST
                    Lodi, CA 95240



                    OSP LOGISTICS INC
                    5925 MOONWOOD WAY
                    Bakersfield, CA 93313



                    Ovia Insurance Services
                    1809 Banks Road
                    Pompano Beach, FL 33063



                    OVSANNA KARAPETIAN DBA XTRA RO
                    10865 WALNUT DRIVE
                    Sunland, CA 91040



                    P GAT TRUCKING INC
                    2733 W PRINCETON AVE
                    Fresno, CA 93705



                    Pacific Coast Premium Finance
                    627 W. College Street
                    Grapevine, TX 76051
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                    Pacific Coast Truck Ins Svcs
                    18340 Yorba Linda Blvd
                    Suite 107-454
                    Yorba Linda, CA 92886



                    PACO MORALES PEREZ
                     DBA CHABELAS TRUCKING
                    2440 E IMPERIAL HWY
                    Selma, CA 93662



                    PAL GILL TRUCKING
                    2572 S Union Ave
                    Bakersfield, CA 93313



                    PAL GILL TRUCKING INC
                    2572 S UNION AVE
                    Bakersfield, CA 93313



                    PALMA TRUCKING LLC
                    525 FLINT AVE
                    Wilmington, CA 90744



                    PANNU CARGO INC
                    16900 Chatworth St Apt 102
                    Granada Hills, CA 91344



                    Paracorp, Inc.
                    dba Parasec
                    PO Box 160568
                    Sacramento, CA 95816



                    PARAMJIT SINGH BARRING
                    5888 S CHERRY AVE
                    Fresno, CA 93706



                    PARMINDERJEET SINGH DBA J&J TR
                    1717 SHAFT ST
                    Selma, CA 93662
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                    PATIALA TRUCKLINE INC
                    5510 N MILBURN AVE APT 146
                    Fresno, CA 93722



                    PAUL XPRESS, INC
                    1568 N DILBERT AVE
                    Fresno, CA 93722



                    PAVEL DOROSHUK
                    9815 ANTELOPE ROAD
                    Fresno, CA 93722



                    Peck & Peck Insruance Brokers
                    1724 Laurel Street
                    San Carlos, CA 94070



                    PELIA MULTANI TRANSPORT INC
                    3535S H STREET APT 51
                    Bakersfield, CA 93304



                    PERFECT TRANSPORT LLC
                    1227 Stricker Ave #100
                    Sacramento, CA 95834



                    PETRO TOPOV
                    4147 SIERRA GOLD DRIVE
                    Antelope, CA 95843



                    PLATINUM FREIGHT LINES, INC
                    1816 GOLDEN STATE AVE
                    Bakersfield, CA 93301



                    Platinum Premium Finance
                    PO Box 66501
                    Saint Louis, MO 63166
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                    PMSB SERVICES LLC
                    1716 BRIARCREST DRIVE SUITE 30
                    Bryan, TX 77802



                    PMSB SERVICES LLC
                    1716 BRIARCREST DRIVE
                    Bryan, TX 77802



                    POTATO EXPRESS, INC
                    1791 SCHULTE DRIVE
                    San Jose, CA 95133



                    POWAR TRANSPORT INC
                    2095 E SAINT ANDREW DRIVE
                    Fresno, CA 93730



                    POWER PROS HOT SHOT LLC
                    8742 HELMS AVE
                    Rancho Cucamonga, CA 91730



                    PRAB KIRPA
                    8700 ANTELOPE NORTH ROAD
                    Antelope, CA 95843



                    PRABHNOOR TRUCKING INC
                    2739 W PRINCETON AVE
                    Fresno, CA 93705



                    Preferred Transportation Ins.
                    12443 Lewis Street #102
                    Garden Grove, CA 92840



                    Premco Financial Corp
                    P Box 19367
                    Kalamazoo, MI 49019
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                    Premier Express
                    11461 Bartlett Way
                    Fontana, CA 92337



                    Prestige Insurance Group Inc
                    12750 SW 128th St. #210
                    Memphis, TN 38186



                    Prime Time Insurance Services
                    651 K Avenue
                    Plano, TX 75074



                    PRIME TRUCKLINES
                    15603 LUCILLE CT
                    Canyon Country, CA 91387



                    PRIORITY LOGISTICS INC
                    3640 W NIELSEN AVE
                    Fresno, CA 93706



                    PRK TRANS INC
                    6105 W CLINTON AVE
                    Fresno, CA 93723



                    Promaster
                    dba Discovery Pro Insurance
                    5050 Shatto Place #201
                    Los Angeles, CA 90020



                    Promminent Services Inc.
                    6912 NW 72 Avenue
                    Miami, FL 33166



                    Proper Trucking Inc
                    11475 Penrose St.
                    Sun Valley, CA 91352
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                    PTL TRANSPORTATION
                    8840 GLACIER POINT DRIVE
                    Stockton, CA 95212



                    QANAT RASUL
                    24831 SOLVANG LANE
                    Menifee, CA 92584



                    QUSAI SAAD ALBALAWI
                    140 EAST EL NORTE PKY 52
                    Sacramento, CA 95833



                    R & R TRUCK LINES LLC
                    DBA R & R TRUCK LINES
                    34755 SANDBURG CT
                    Union City, CA 94587



                    R BROTHERS TRANS INC
                    6753 W ALLUVIAL AVE
                    Fresno, CA 93722



                    R&B TRUCKLINES INC
                    4236 HWY 99
                    Stockton, CA 95215



                    R13 TRANSPORT INC
                    6701 E PITT AVE
                    Fresno, CA 93727



                    R7 TRUCKING LLC
                    70 EQUESTRIAN DRIVE
                    Burlington, NJ 08016



                    RAIYA TRANSPORT INC
                    3661 W SHEILDS AVE APT 194
                    Fresno, CA 93722
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                    RAJ KUMAR DBA KAMBOZ TRUCKING
                    5777 E ALTA AVE APT 216
                    Fresno, CA 93727



                    RAJINDER SINGH DHAMI DBA DHAMI
                    3716 COLUMBIA STREET
                    Selma, CA 93662



                    RAJPURA TRANSPORTATION INC
                    15740 SHERMAN WAY APT 207
                    Van Nuys, CA 91406



                    Ram Commercial Ins. Svcs.
                    15 West 5th St.
                    Morgan Hill, CA 95037



                    Ramirez Insurane Services
                    600 E. Market St. #105
                    Salinas, CA 93905



                    RANA CARRIER INC
                    2735 MOSSY CREEK STREET
                    Rowland Heights, CA 91748



                    RANJIT SINGH DBA SINGH TRUCKIN
                    600 HOSKING AVE #71B
                    Bakersfield, CA 93307



                    RANPINE TROKIN INC
                    531 FLINT AVE
                    Wilmington, CA 90744



                    RAPID AUTOS LLC
                    4225 W. Capital Ave
                    West Sacramento, CA 95691
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                    Rapid Insurance Services Inc
                    2319 North San Fernando Blvd.
                    Burbank, CA 91504



                    RATHI TRANSPORT INC
                    1446 E SUMNER AVE
                    Fowler, CA 93625



                    RATHONE TRUCKING INC
                    4417 N BRAWLEY AVE
                    Fresno, CA 93722



                    RAVI KANT SINGH BHULLAR
                     DBA B & N CARRIERS
                    8113 SLIDER DR
                    Bakersfield, CA 93313



                    Red Dog Underwriting LLC
                    4952 East Tudor Rose Glen
                    Stockton, CA 95212



                    Reindeer Insurance Services
                    14037 Pioneer Blvd
                    Norwalk, CA 90650



                    RELATION INSURANCE SERVICES
                    70 EQUESTRIAN DRIVE
                    Bethlehem, PA 18016



                    RENEGADE LOGISTICS, INC
                    11475 PENROSE ST
                    Sun Valley, CA 91352



                    RG TRUCKLINES INC
                    2832 GOLDEN STATE BLVD
                    Madera, CA 93637
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                    RICARDO RODRIGUEZ
                     DBA JR&J TRUCKING
                    Woodland, CA 95776



                    River Valley Capital Insurance
                    14868 West Ridge Lane #200
                    Dubuque, IA 52003



                    RJ7 TRANS INC
                    1931 W SUNNYVIEW AVE
                    Visalia, CA 93291



                    ROAD 66 TRUCKING INC
                    11475 Penrose St.
                    Sun Valley, CA 91352



                    ROAD CROWN INC
                    3506 W NIELSEN AVE
                    Fresno, CA 93706



                    Road Guard Insurance Svc
                    1110 S. Glendale Avenue, #F
                    Glendale, CA 91205



                    Road Star Insurance Service
                    10716 East Avenue R
                    Littlerock, CA 93543



                    ROAD VISION EXPRESS INC
                    11475 Penrose St.
                    Sun Valley, CA 91352



                    ROADLINK CARRIER
                    32665 BRENDA WAY APT 4
                    Union City, CA 94587
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                    Roadways Commercial Ins. Svcs
                    3941 Holly Drive
                    Tracy, CA 95304



                    Roanoke Insruance Group Inc
                    35079 Eagle Way
                    Chicago, IL 60678



                    ROBERT ALLEN GREGORY
                    DBA NO PROBLEM MOVIERS
                    Campbell, CA 95008



                    ROCK 10
                    3525 ISLAND AVE #D
                    San Diego, CA 92102



                    Rodriguez Insurance Agency LLC
                    901 Waterfall way #301
                    Richardson, TX 75080



                    ROYAL KING TRUCK LINE INC
                    3661 W SHEILDS AVE APT 247
                    Fresno, CA 93722



                    Royalty Truck Insuranc Svcs
                    14545 Victory Blvd #3072
                    Woodland Hills, CA 91367



                    S SIDHU FREIGHT INC
                    3390 Country Village Rd #2117
                    Riverside, CA 92509



                    S&T TRUCKLINES INC
                    1207 7TH STREET
                    Modesto, CA 95354
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                    S&Z TRANSPORTATION INC
                    10681 PRODUCTION AVE
                    Alhambra, CA 91801



                    Safeline Truck Insurance
                    2009 W. Burbank Blvd
                    Burbank, CA 91506



                    SAHIB TRUCK LINE INC
                    4768 W BURLINGAME AVE
                    Fresno, CA 93722



                    SAHOTA CARGO INC
                    6722 JERNO DR STE A
                    Bakersfield, CA 93313



                    SAMRATH TRUCKING INC
                    2787 S WILLOW VE
                    Fresno, CA 93725



                    SANDHU BROS
                    2323 N OXNARD BLVD



                    Sandhu Bros Ins. Agency Inc.
                    4337 No. Golden State Blvd.
                    Suite #104
                    Fresno, CA 93722



                    SANGHA ROADKING INC
                    4375 N GOLDEN STATE BLVD
                    Fresno, CA 93722



                    SAPPHIRE CARGO INC
                    1709 S WILLOW AVE
                    Rialto, CA 92376
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                    SATBIR SINGH BRAR DBA PRITAM R
                    445 S ARGYLE AVE APT 226
                    Mendota, CA 93640



                    SATNAM SINGH DBA NAGRA TRANSPO
                    5249 N CORNELIA AVE
                    Fresno, CA 93722



                    SERVERIANO PUENTE HERNANDEZ
                    9108 SUNLAND BLVD
                    Sun Valley, CA 91353



                    SESTIAGIA GONZALEZ TRANSPORT L
                    1720 W 25TH DRIVE
                    Glendale, CA 91201



                    SEVEN STAR CARGO INC
                    4594 W PALO ALTO AVE APT 103
                    Fresno, CA 93722



                    SGK EXPRESS, INC
                    8900 ELDER CREEK ROAD
                    Sacramento, CA 95828



                    SHAMINDER PAL SINGH DBA         CAT C
                    4453 N BRENT AVE
                    Fresno, CA 93723



                    SHANG YUN TRADING INC
                    1801 HIGHLAND AVE
                    Duarte, CA 91010



                    SHERAZ BAIG
                    10105 TIZIANO DR
                    Stockton, CA 95212
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                    SIERRA CARGO, INC
                    3626 N BLYTHE AVE APT 214
                    Fresno, CA 93722



                    SILVERLINE TEAM,LLC
                    4900 CALIFORNIA AVE 210 B
                    Bakersfield, CA 93309



                    SIMAR TRANSPORT INC
                    3715 W BARSTOW AVE APT 139
                    Fresno, CA 93711



                    Singh Best Insurance Agency
                    944 West 6th Street #113
                    Corona, CA 92882



                    SINGH LAND CARRIER
                    877 E D STREET
                    Lemoore, CA 93245



                    Skar Insurance Group LLC
                    1000 3-Mile Road NW #G
                    Marietta, GA 30064



                    Snapeee Corp
                    13039 Garris Ave
                    Granada Hills, CA 91344



                    SODHI SINGH KAUR
                    3640 W NIELSEN AVE
                    Fresno, CA 93706



                    SOGI TRANSPORT CORPORATION DBA
                    42633 NICKELINE LANE
                    Chantilly, VA 20152
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                    SOHAL EXPRESS INC
                    3632 CORAZON AVENUE
                    Clovis, CA 93619



                    Southern Truck Ins Svcs Inc
                    PO Box 1368
                    Monroe, NC 28111



                    SPS TRANSPORT INC
                    1601 S UNION AVE
                    Bakersfield, CA 93307



                    SRAN LOGISTICS, INC
                    11401 GREENSTONE AVE
                    Santa Fe Springs, CA 90670



                    SRD EXPRESS INC
                    11475 Penrose St.
                    Sun Valley, CA 91352



                    SRG TRANSPORT INC
                    15825 ROXFORD ST
                    Bakersfield, CA 93313



                    SSB XPRESS, INC
                    1848 ST IVES AVE
                    Long Barn, CA 95335



                    Standard Premium Finance
                    PO Box 522941
                    Miami, FL 33152



                    State Comptroller
                    PO Box 149356
                    Austin, TX 78714
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                    State Controllers Office
                    300 Capitol Mall #1600
                    Sacramento, CA 95814



                    State Farm Insurance
                    Insurance Support Center
                    PO Box 680001
                    Dallas, TX 75368



                    State of California
                    Enforcmnt Div 50561, MC 9999
                    PO Box 12030
                    Austin, TX 78711



                    State of California Controller
                    PO Box 1918
                    Sacramento, CA 95812



                    Stonemark, Inc.
                    8501 Wade Blvd #620
                    Frisco, TX 75034



                    Stoneroad Insurance Brokerage
                    6829 Lanershim Blvd
                    North Hollywood, CA 91605



                    Stratton, Wright & Ziemer
                    Insurance & Rish Mgt, Inc.
                    4587 FM 67
                    Grandview, TX 76050



                    Strong Tie Insurance Services
                    8135 Florence Ave #201
                    Downey, CA 90240



                    SUKCHAIN SINGH DBA DTC LOGISTI
                    1320 BURTON ROAD
                    Manteca, CA 95337
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                    SUKHDARSHAN SINGH BRAR DBA DB
                    5238 E GARRETT AVE
                    Fresno, CA 93725



                    SUKHMINDER SINGH DBA GSR EXPRE
                    2901 REDINGTON AVE
                    Clovis, CA 93619



                    SUKHWINDER SINGH AUJLA
                    DBA NEW ERA TRANSPORT
                    1732 CLEVELAND ST
                    Selma, CA 93662



                    SUPER KOI LOGISTICS INC
                    1935 BATSON AVE APT 89



                    Sure Tec
                    2103 City West Blvd. #1300
                    Houston, TX 77042



                    SURETEC INSURANCE COMPANY
                    2103 CITY WEST BLVD.
                    Houston, TX 77042



                    SURJEET SINGH
                    DBA KAMBOJ EXPRE
                    155 S ARGYLE AVE APT 204
                    Fresno, CA 93722



                    Surplus Line Assoc of Illinois
                    222 S. Riverside Plaza #2220
                    Chicago, IL 60606



                    Surplus Lines Stamping Office
                    805 Las Cimas Pkwy #300
                    Austin, TX 78746
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                    Susan Bremer
                    5410 Rainbow Lane
                    Atwater, CA 95301



                    Synerprise Ins. Group LLC
                    dba Rev Ins Div of Volaris Grp
                    3747 Foothll blvd. #D526
                    La Crescenta, CA 91214



                    T/H SERVICES INC




                    TAB Transport Inc
                    1436 W Washington Blvd
                    Montebello, CA 90640



                    TAMBER EXPRESS INC DBA TJ EXPR
                    5480 BUCKWOOD WAY
                    Sacramento, CA 95835



                    Tansrisk LLC
                    PO Box 966
                    Troy, AL 36081



                    TARA TRUCKING INC
                    9005 STACEY CT
                    Stockton, CA 95209



                    TARIKU KEBEDE
                    215 W MACARTHER BLVD APT 249
                    Oakland, CA 94611



                    TEAM JESUS TRUCKING, LLC
                    1803 KIMBERLY ROAD
                    Amarillo, TX 79111
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                    Ted J. Schultz Ins Agency
                    3014 N. Hayden Road #121
                    Scottsdale, AZ 85251



                    Tennessee Dept of Revenue
                    500 Deadrick Street
                    Andrew Jackson Office Bldg
                    Nashville, TN 37242



                    TESLA TRUCKING INC
                    5425 VISTA DEL MAR AVE
                    Bakersfield, CA 93311



                    Texas Comp of Puplic Accounts
                    805 Las Cimas Pkwy #300
                    78746



                    Texas Dept of Insurance
                    Enforcmnt Div 560851, AO 9999
                    PO Box 12939
                    Austin, TX 78711



                    Texas Dept of Insurance,
                    Regist Division 50561, MC 9999
                    PO Box 12030
                    Austin, TX 78711



                    TGD TRUCKING INC
                    11475 Penrose St.
                    Sun Valley, CA 91352



                    THAIRA TRANSPORT INC
                    2417 DUNN RD
                    Hayward, CA 94545



                    The Hays Group Inc.
                    80 South St. #700
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                    The Hilb Grou of NC
                    dba Charlotte Insurance
                    6400-B South Blvd
                    Charlotte, NC 28217



                    The Licona Insurance Group
                    5927 Gateway Blvd. West #B
                    El Paso, TX 79925



                    The Surplus LIne Assoc of AZ
                    14747 N. Northsight Blvd
                    Suite #111-449
                    Scottsdale, AZ 85260



                    The Surplus Line Assoc of CA
                    12667 Alcosta Blvd
                    San Ramon, CA 94583



                    THIND TRANS INC
                    7102 DOWNING AVE
                    Bakersfield, CA 93307



                    THOMAS BAKER
                    1925 ENTERPRISE BLVD
                    West Sacramento, CA 95691



                    THOMSONS LOGISTICS, INC
                    6808 W PARR AVE
                    Fresno, CA 93722



                    Timothy Staphanic
                    30985 Prestwick Avenu
                    Hayward, CA 94544



                    TIRATH PAL SINGH DBA MATTU BRO
                    4317 N CRESTA AVE
                    Fresno, CA 93723
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                    TITAN TRANS LOGISTICS INC
                    1930 S ROCHESTER AVE
                    ONTARIO, CA 92761



                    TIWANA & SONS TRUCKING INC
                    1125 TALARA DRIVE
                    Livingston, CA 95334



                    Tiwana Insurance Solutions Inc
                    dba Golden Land Transport Ins.
                    2459 Prescott Ave PO Box 662
                    Del Rey, CA 93616



                    TIWANA TRUCKING INC
                    26577 BANTA ROAD
                    Tracy, CA 95304



                    Top Premium Finance
                    PO Box 2277
                    Chatsworth, CA 91311



                    TOPWAY TRANSPORTATION LLC
                    13047 WATERLILY WAY
                    Chino, CA 91710



                    Toste Insurance Services
                    1501 F Street
                    Modesto, CA 95354



                    TOTAL NATIONAL EXPRESS
                    710 E D STREET
                    Wilmington, CA 90744



                    Trans Risk Insurance Services
                    660 N. Diamond Bar Blvd. #203
                    Diamond Bar, CA 91765
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                    TRANSCORP
                    6569 N RIVERSIDE DR. SUITE 102
                    Fresno, CA 93722



                    TransEleven Claims Mgrs.
                    700 Central Expressway S. #200
                    Allen, TX 75013



                    Transit Insurance Services Inc
                    1155 S. Milliken Avenue
                    Ontario, CA 91761



                    Transportation Ins. Advisors
                    113 Bellagio Circle
                    Sanford, FL 32771



                    Transwide Insurance Brokerage
                    3400 Inland Empire Blvd #120
                    Ontario, CA 91764



                    Triangle Transportation Agency
                    PO Box 1189
                    Enid, OK 73702



                    TRU LAND EXPRESS LTC
                    3165 W SHIELDS AVE APT 267
                    Fresno, CA 93722



                    Truck Smart Insurance Services
                    420 S. Grand Avenue
                    Covina, CA 91724



                    Trucking Specialistts LLC
                    3330 Southgate Court SW #172
                    Cedar Rapids, IA 52404
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                    TS CARGO INC
                    4594 W PALO ALTO AVE APT 103



                    TSH TRUCKING INC
                    11475 Penrose St.
                    Sun Valley, CA 91352



                    TURBO LOGISTICS
                    150 S GLENOAKS BLVD #8050
                    Burbank, CA 91502



                    U.S. Premium Finance
                    PO Box 924647
                    Norcross, GA 30010



                    UNIFIED EXPRESS INC
                    3354 E AMERICAN AVE
                    Fresno, CA 93727



                    UNITED CORE, INC
                    8455 SCHAEFER AVE
                    Ontario, CA 91761



                    UNITED STAR INC
                    175 S LINCOLN AVE UNIT 123
                    Addison, IL 60101



                    UPPAL FREIGHT
                    2955 OATES STREET
                    West Sacramento, CA 95691



                    US EAGLE TRANSPORT INC
                    250S CLOVIS AVE APT 136
                    Fresno, CA 93727
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                    US WEST TRUCKING INC
                    10825 S UNION AVE
                    Bakersfield, CA 93307



                    V4U TRANSPORT INC
                    3342 NORTH WEBBER AVE
                    Fresno, CA 93722



                    Valdez Insurance Agency Inc
                    dba BMV Insurance Services
                    3342 N. Texas St. #A2
                    Fairfield, CA 94533



                    VALENTIN ALONSO CASTRO HERRER
                    DBA C VASTRO TRANSPORT
                    822 MACKILHAFFY DRIVE
                    Patterson, CA 95363



                    VALENTIN CASTRO
                    DBA V CASTRO
                    822 MACKILHAFFY DRIVE
                    Patterson, CA 95363



                    Valiant General Ins Solutions
                    848 Clovis Avenue
                    Clovis, CA 93612



                    VANESSA'S TRUCKING SERVICES, I
                    3462 HARRISON ST
                    Riverside, CA 92503



                    VANTAGE INC
                    2201 FORESTLAKE DR
                    Rancho Cordova, CA 95670



                    VAS EXPRESS, INC
                    11475 PENROSE ST
                    Sun Valley, CA 91352
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                    Venbrook Insurance Services
                    63250 Canoga Avenue
                    12th Floor
                    Woodland Hills, CA 91367



                    Veracity Insurance Solutions
                    260 S. 2500 West #303
                    Pleasant Grove, UT 84062



                    Virgina Dept of Taxation
                    PO Box 1777
                    Richmond, VA 23218



                    Virginia Dept. of Taxation
                    1957 Westmoreland Street
                    Richmond, VA 23230



                    VIRK AND SONS TRANSPORTATION I
                    DBA dhv FREIGHTLINES
                    8442 24TH AVE
                    Sacramento, CA 95826



                    VISTA TRANSPORT LLC
                    2300 W Sahara Ave
                    Las Vegas, NV 89102



                    VL TRUCKING INC
                    11475 Penrose St.
                    Sun Valley, CA 91352



                    Vortex Pro Insurance Services
                    17628 Chatsworth Street
                    Granada Hills, CA 91344



                    W.I.S.E Underwriting Agency
                    Sean Bradshaw
                    28 Lime Street
                    Lonson, WX3M &HR
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                    WALIA TRANSPORT INC
                    1651 W WHITMORE AVE
                    Ceres, CA 95307



                    WAMENGS SONS TRANSPORTATION, I
                    2301 W BELMONT AVE
                    Fresno, CA 93728



                    Warriner & Associates Ins. Inc
                    11111 Wilcrest Green #101
                    Houston, TX 77042



                    WARYAM TRUCKLINES, INC
                    1791 SCHULTE DRIVE
                    San Jose, CA 95133



                    WB TRUCKING INC
                    3750 W SAN JOSE APT 101
                    Fresno, CA 93711



                    WEIGH TO GO TRANSPORT, INC
                    3129 MITCHELL ROAD
                    Ceres, CA 95307



                    WHITE HORSES TRUCKLINE INC
                    7203 NEW BOND CT
                    Bakersfield, CA 93311



                    Whiterock Insurance Agency LLC
                    221 N. Kansas Street #700
                    El Paso, TX 79901



                    Wilson, Elser, Moskowitz,
                    Elderman & Dicker Acct. Rec.
                    150 East 42nd Street
                    New York, NY 10017
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                    Wylie Insurance Services LLC
                    1729 Tully Rd #6
                    Modesto, CA 95350



                    YAPAYAO TRUCKKING INC
                    1856 N. BROADWAY AVE
                    Stockton, CA 95205



                    YASH TRUCKLINE INC
                    7091 W SAN BRUNO AVE
                    Fresno, CA 93723



                    YDKD INC
                    13461 12 St
                    Chino, CA 91710



                    You Safety Insurance Svcs.
                    230 S. Garfield Avenue #202C
                    Monterey Park, CA 91754



                    ZAMORA TRANSPORT LOGISTICS INC
                    2 STONY BROOK CIRCLE
                    `
                    Salinas, CA 93906



                    ZESHAN ALI KHAN
                    1835 GREENHEAD COURT
                    Gridley, CA 95948



                    ZIRA TRANSPORT INC
                    66240 7TH STREET
                    Desert Hot Springs, CA 92240



                    Zoom Imaging Solutionss
                    PO Box 846898
                    Los Angeles, CA 90084
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                    ZYP TRUCKING INC
                    2144 E JAMES AVE
                    West Covina, CA 91791
